     Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 1 of 155 Page ID
                                     #:1800



 1 GLANCY PRONGAY & MURRAY LLP
   Mark I. Labaton (SBN 159555)
 2 mlabaton@glancylaw.com
 3 Garth A. Spencer (SBN 335424)
   gspencer@glancylaw.com
 4 1925 Century Park East, Suite 2100
 5 Los Angeles, California 90067
   Telephone: (310) 201-9150
 6 Facsimile: (310) 201-9160
 7
      Attorneys for Qui Tam Plaintiff
 8
 9                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
10
11 UNITED STATES OF AMERICA,                  CASE NO.: 2:17-cv-01903-ODW-SS
   STATE OF CALIFORNIA,
12 STATE OF COLORADO,                         THIRD AMENDED COMPLAINT
13 STATE OF CONNECTICUT,                      FOR VIOLATION OF FEDERAL
   STATE OF DELAWARE,                         AND STATE FALSE CLAIMS
14 STATE OF FLORIDA,                          ACTS
15 STATE OF GEORGIA,
   STATE OF HAWAII,                           DEMAND FOR JURY TRIAL
16 STATE OF ILLINOIS,
17 STATE OF INDIANA,
   STATE OF IOWA,
18 STATE OF LOUISIANA,
19 COMMONWEALTH OF
   MASSACHUSETTS,
20 STATE OF MICHIGAN,
21 STATE OF MINNESOTA,
   STATE OF MONTANA,
22 STATE OF NEVADA,
23 STATE OF NEW JERSEY,
   STATE OF NEW MEXICO,
24 STATE OF NEW YORK,
25 STATE OF NORTH CAROLINA,
   STATE OF OKLAHOMA,
26 STATE OF RHODE ISLAND,
27 STATE OF TENNESSEE,
28
     Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 2 of 155 Page ID
                                     #:1801



 1 STATE OF TEXAS,
   STATE OF VERMONT,
 2 COMMONWEALTH OF VIRGINIA,
 3 STATE OF WASHINGTON,
   and DISTRICT OF COLUMBIA,
 4 ex rel. DR. KUO CHAO,
 5
                            Plaintiffs,
 6
 7          vs.

 8 MEDTRONIC PLC, MEDTRONIC
 9 VASCULAR, INC., MEDTRONIC
   USA, INC., COVIDIEN LP, and
10 COVIDIEN SALES LLC,
11
                       Defendants.
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 3 of 155 Page ID
                                     #:1802



 1          Plaintiff/Relator, Dr. Kuo Chao, submits this Complaint on behalf of the United
 2 States of America, the States of California, Colorado, Connecticut, Delaware, Florida,
 3 Georgia, Hawaii, Illinois, Indiana, Iowa, Louisiana, Massachusetts, Michigan,
 4 Minnesota, Montana, Nevada, New Jersey, New Mexico, New York, North Carolina,
 5 Oklahoma, Rhode Island, Tennessee, Texas, Vermont, Virginia, Washington, and the
 6 District of Columbia (collectively “the States and the District of Columbia”). This
 7 Complaint against Defendants Medtronic PLC; Medtronic Vascular, Inc.; Medtronic
 8 USA, Inc.; Covidien LP; and Covidien Sales LLC (collectively the “Defendants”).
 9                                   INTRODUCTION
10          1.    This is an action to recover damages and civil penalties on behalf of the
11 United States of America, the States and the District of Columbia, arising from false
12 and/or fraudulent records, statements, and claims made, used, or presented and caused
13 to be made, used, or presented, by the Defendants, and/or their agents, employees, and
14 co-conspirators, in violation of the federal False Claims Act (“FCA”), 31 U.S.C.
15 §3729 et seq., as amended, and the governing statutes of the States and the District of
16 Columbia.
17          2.    Beginning in or before 2011, and continuing to at least 2019, the
18 Defendants illegally promoted two medical devices – the Pipeline Embolization
19 Device (the “PED”) and the Pipeline Flex Embolization Device (the “PFED,” and
20 together with the PED the “Pipelines”).
21          3.    The Defendants promoted such illegal usage of Pipelines by paying
22 doctors throughout the United States prohibited kickbacks to induce their usage these
23 medical devices.
24          4.    A federal healthcare Anti-Kickback statute (“AKS”) strictly prohibits
25 such kickbacks. And the FCA imposes liability jointly and severally on both the heath
26 care provider giving the kickback and anyone soliciting such a kickback.
27
28
                                                1
     Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 4 of 155 Page ID
                                     #:1803



 1          5.    Pursuant to the FCA, liability for claims generated from kickbacks is
 2 automatic, and penalties and damages imposed by the FCA and state law for medical
 3 claims generated from such kickbacks are severe. The reason for is that kickbacks are
 4 presumed to taint the judgment of medical professionals. As a result, medical claims
 5 submitted to federal and state entities that are based on kickbacks are strictly
 6 presumed to be false claims for which both the provider and the recipient of such
 7 kickbacks are jointly and severally held strictly liable.
 8          6.    Here, as set forth in detail below, Defendants gave doctors throughout the
 9 United States egregious and plentiful kickbacks in many forms. Defendants paid these
10 kickbacks to induce doctors to use their Pipeline (and other) products. Defendants
11 liberally doled out such kickbacks to doctors throughout the United States – often
12 through Defendants’ sales department – to promote sales of Defendants’ Pipeline
13 medical products.
14          7.    The Defendants generally charged more than $12,500 for a single
15 Pipeline, and in some cases more than $15,000. During the time covered by this
16 action, Defendants sold thousands of Pipelines annually resulting in total sales of
17 hundreds of millions of dollars.
18          8.    According to SEC filings, the Defendants’ financial success was due
19 substantially to Pipeline sales tainted by kickbacks to prescribing physicians.
20          9.    A substantial portion of the Pipeline sales tainted by kickbacks have been
21 reimbursed by federal and state health insurance programs, including Medicaid and
22 Medicare. Defendants have caused these programs to pay millions of dollars of false
23 or fraudulent claims, including but without limitation claims identified in this
24 Complaint.
25          10.   Dr. Chao was never an employee of Defendants’ companies, much less
26 one in the claims department, and therefore does not have access to the claims
27 Defendants submitted, the billing statements, requests for payment, or other such
28
                                                2
     Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 5 of 155 Page ID
                                     #:1804



 1 documents but based on what he has learned from Defendant company employees,
 2 and what he pleads here, has strong factual reasons to believe that such kickbacks
 3 generated the submission at minimum of tens of millions of dollars in false claims to
 4 federal and state government entities.
 5          11.   The FCA was enacted during the Civil War and was substantially
 6 amended in 1986. Congress amended the FCA then to enhance the federal
 7 government’s ability to recover losses sustained from fraud against the United States
 8 after finding that fraud in federal programs was pervasive and that the FCA, which
 9 Congress characterized as the primary tool for combating fraud, needed
10 modernization. Congress intended that the amendments create incentives for
11 individuals with knowledge of fraud against the United States to disclose the
12 information without fear of reprisals or government inaction, and to encourage the
13 private bar to commit legal resources to prosecuting fraud on the United States’ behalf
14 and in partnership with the United States. Subsequently, many states enacted their
15 own false claims acts.
16          12.   The FCA provides that any person who knowingly submits, or causes the
17 submission of, a false or fraudulent claim to the United States for payment or approval
18 is liable for a civil penalty of up to $21,563 for each such false claim plus three times
19 the amount of the damages sustained. The FCA defines “knowledge” to include
20 “actual knowledge,” “deliberate ignorance” or “reckless disregard” of the truth or
21 falsity. Liability attaches when a defendant seeks, or causes others to seek, payment
22 that is unwarranted.
23          13.   The FCA allows any person having information about a false or
24 fraudulent claim against the United States to bring an action for himself and the
25 federal government, and to share in any recovery.
26          14.   The United States intervenes in only a fraction of the filed FCA cases,
27 and by law its decisions relating to intervention have no bearing, according to the
28
                                                3
     Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 6 of 155 Page ID
                                     #:1805



 1 Department of Justice and settled caselaw, on the merits of any particular action. In
 2 recent years, the United States has increasingly exercised its statutory authority to
 3 move to dismiss cases that it believed following an investigation to lack sufficient
 4 merit. It has not done so here.
 5          15.   The Defendants have violated the federal FCA. As set forth below, the
 6 Defendants’ acts also constitute violations of the California False Claims Act, Cal.
 7 Gov’t Code §12650 et seq.; the Colorado Medicaid False Claims Act, Colo. Rev. Stat.
 8 §25.5-4-303.5 et seq.; the Connecticut False Claims Act, Conn. Gen. Stat. §4-274 et
 9 seq.; the Delaware False Claims and Reporting Act, Del. Code tit. 6, §1201 et seq.; the
10 District of Columbia False Claims Act, D.C. Code §2-381.01 et seq.; the Florida False
11 Claims Act, Fla. Stat. §68.081 et seq.; the Georgia State False Medicaid Claims Act,
12 Ga. Code §49-4-168 et seq.; the Hawaii False Claims Act, Haw. Rev. Stat. §661-21 et
13 seq.; the Illinois False Claims Act, 740 Ill. Comp. Stat. 175 / 1 et seq.; the Indiana
14 Medicaid False Claims and Whistleblower Protection Act, Ind. Code §5-11-5.7 et
15 seq.; the Iowa False Claims Act, Iowa Code §685.1 et seq.; the Louisiana Medical
16 Assistance Programs Integrity Law, La. Rev. Stat. §46:437.1 et seq.; the
17 Massachusetts False Claims Act, Mass. Gen. Laws ch. 12, §5 et seq.; the Michigan
18 Medicaid False Claim Act, Mich. Comp. Laws §400.601 et seq.; the Minnesota False
19 Claims Act, Minn. Stat. §15C.01 et seq.; the Montana False Claims Act, Mont. Code
20 Ann. §17-8-401 et seq.; the Nevada False Claims Act, Nev. Rev. Stat. §357.010 et
21 seq.; the New Jersey False Claims Act, N.J. Rev. Stat. §2A:32C-1 et seq.; the New
22 Mexico Medicaid False Claims Act, N.M. Stat. Ann. §27-14-1 et seq.; the New York
23 False Claims Act, N.Y. State Fin. Law §187 et seq.; the North Carolina False Claims
24 Act, N.C. Gen. Stat. §1-605 et seq.; the Oklahoma Medicaid False Claims Act, Okla.
25 Stat. tit. 63, §5053 et seq.; the Rhode Island False Claims Act, R.I. Gen. Laws §9-1.1-
26 1 et seq.; the Tennessee Medicaid False Claims Act, Tenn. Code Ann. §71-5-181 et
27 seq.; the Texas Medicaid Fraud Prevention Act, Tex. Hum. Res. Code Ann. §36.001
28
                                                4
     Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 7 of 155 Page ID
                                     #:1806



 1 et seq.; the Vermont False Claims Act, Vt. Stat. Ann. tit. 32, §630 et seq.; the Virginia
 2 Fraud Against Taxpayers Act, Va. Code Ann. §8.01-216.1 et seq.; and the
 3 Washington State Medicaid Fraud False Claims Act, Wash. Rev. Code §74.66.005 et
 4 seq.
 5          16.   Dr. Chao seeks to recover damages and civil penalties arising from
 6 Defendants’ making or causing to be made false or fraudulent records, statements,
 7 and/or claims, in connection with the Defendants’ payment of kickbacks relating to
 8 Pipelines. The Defendants acted knowingly, deliberately, and recklessly in submitting
 9 false claims to federal and state health insurance programs for uses of Pipelines that
10 were not eligible for program reimbursement. Furthermore, Defendants knew, or
11 should have known, that government health care programs would not have paid for
12 Pipelines if these programs knew of the Defendants’ kickbacks.
13                                   PARTIES
14          17.   Dr. Kuo Chao is a resident of California. He has been practicing
15 medicine since graduating from the University of California, Los Angeles David
16 Geffen School of Medicine in 1995. Dr. Chao specializes in interventional
17 neuroradiology and is experienced in the treatment of aneurysms. He is affiliated with
18 Kaiser Permanente Los Angeles Medical Center.
19          18.   Dr. Chao learned of the Defendants’ kickbacks from the Defendants’
20 officers, clinical training staff, sales personnel, and physician proctors, which
21 kickbacks were paid to various doctors, in the course of his work as a practicing
22 physician and work-related relationship with Defendants’ employees. He is the
23 original source of information in this Complaint and is not aware of any public
24 disclosure of such information. As discussed below, Defendants’ kickbacks came in
25 various forms. Pursuant to the FCA and relevant caselaw, both the providing and
26 receiving of such kickbacks constitute false claims.
27
28
                                                5
     Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 8 of 155 Page ID
                                     #:1807



 1          19.   Defendant Covidien LP is a limited partnership organized under the laws
 2 of Delaware, with its principal office in Mansfield, Massachusetts. Defendant
 3 Covidien LP was a subsidiary of Covidien PLC (“Covidien”) until January 2015,
 4 when Covidien and its subsidiaries (including Covidien LP) were purchased by
 5 Defendant Medtronic. Covidien LP made numerous kickback payments to physicians
 6 to encourage use of Pipelines.
 7          20.   Defendant Covidien Sales LLC is a limited liability company organized
 8 under the laws of Delaware, with its principal office in Mansfield, Massachusetts.
 9 Defendant Covidien Sales LLC was a subsidiary of Covidien until January 2015,
10 when Covidien and its subsidiaries (including Covidien Sales LLC) were purchased
11 by Defendant Medtronic. Covidien Sales LLC made numerous kickback payments to
12 physicians to encourage use of Pipelines.
13          21.   Defendant Medtronic PLC (“Medtronic”) is a company organized under
14 the laws of Ireland, with its principal place of business in Dublin, Ireland, and its U.S.
15 headquarters in Minneapolis, Minnesota. Defendant Medtronic is among the world’s
16 largest medical technology companies. In fiscal year 2016 Medtronic employed more
17 than 88,000 people worldwide; its net sales were approximately $28.8 billion; and its
18 before-tax profits were approximately $4.3 billion. Defendants Covidien LP and
19 Covidien Sales LLC have been subsidiaries of Defendant Medtronic since
20 Medtronic’s acquisition of Covidien in January 2015. As a result of the acquisition of
21 Covidien and its subsidiaries, Defendant Medtronic is responsible for liabilities
22 resulting from any acts or omissions of Covidien and these subsidiaries, including acts
23 or omissions prior to the acquisition.
24          22.   Defendant Medtronic Vascular, Inc. is a corporation organized under the
25 laws of Delaware, with its principal office in Santa Rosa, California. Defendant
26 Medtronic Vascular, Inc. is a subsidiary of Defendant Medtronic. Medtronic Vascular,
27 Inc. made numerous kickback payments to physicians to encourage use of Pipelines.
28
                                                6
     Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 9 of 155 Page ID
                                     #:1808



 1          23.   Defendant Medtronic USA, Inc. is a corporation organized under the
 2 laws of Minnesota, with its principal office in Minneapolis, Minnesota. Defendant
 3 Medtronic USA, Inc. is a subsidiary of Defendant Medtronic. Medtronic USA, Inc.
 4 made numerous kickback payments to physicians to encourage the use of Pipelines.
 5          24.   The Defendants are often referred to collectively in this Complaint
 6 because they each are integrally involved in the marketing and sale of Pipelines, and
 7 because they have worked largely in concert and as a joint or common enterprise in
 8 marketing and selling Pipelines, and they have otherwise conspired in furtherance of
 9 and collectively engaged in the illegal acts described herein.
10                             JURISDICTION AND VENUE
11          25.   This Court has jurisdiction over the subject matter of this action pursuant
12 to 28 U.S.C. §1331, 28 U.S.C. §1367, and 31 U.S.C. §3732, the latter of which
13 specifically confers jurisdiction on this Court for actions brought pursuant to 31
14 U.S.C. §§3729 and 3730. Under 31 U.S.C. §3730(e), there has been no statutorily
15 relevant public disclosure of the “allegations or transactions” in this Complaint.
16          26.   This Court has personal jurisdiction over the Defendants pursuant to 31
17 U.S.C. §3732(a) because that section authorizes nationwide service of process and
18 because the Defendants have minimum contacts with the United States. Moreover, the
19 Defendants can be found in, reside, or transact or have transacted business in this
20 District.
21          27.   Venue is proper in this District pursuant to 31 U.S.C. §3732(a) because
22 the Defendants can be found in and transact or have transacted business in this
23 District. At all times relevant to this Complaint, the Defendants regularly conducted
24 substantial business within this District, maintained employees and offices in this
25 District, and made significant sales within this District. The statutory violations
26 alleged herein occurred in this District, as well as throughout the United States as part
27 of the Defendants’ nationwide fraudulent marketing scheme.
28
                                                7
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 10 of 155 Page ID
                                   #:1809



 1                                   BACKGROUND
 2         28.   Pipelines are approved by the Food and Drug Administration (“FDA”)
 3 for use in treating certain aneurysms.
 4         Aneurysms And Their Medical Treatment
 5         29.   An aneurysm is a blood-filled bulge in the wall of a blood vessel (such as
 6 an artery). Aneurysms result when the pressure of blood within the blood vessel
 7 causes a weak area of the vessel wall to expand and fill with blood. Below is an
 8 illustration of an aneurysm.
 9
10
11
12
13
14
15                           Figure 1. Aneurysm illustration
16         30.   Aneurysms can have varying symptoms, or no symptoms at all,
17 depending on their location within the body, as the aneurysm exerts pressure on
18 surrounding tissue and organs. If an aneurysm ruptures, breaking the wall of the blood
19 vessel, internal bleeding can result. Aneurysms can result in death, particularly in the
20 case of ruptured aneurysms. Although aneurysms can result in death, particularly in
21 the case of ruptured aneurysms, most aneurysms are asymptomatic and have low rates
22 of rupture and therefore do not need to be treated given the higher risk from
23 complications associated with various treatments.
24      31. Aneurysms can be treated in a variety of ways. Drugs or behavioral
25 changes to lower blood pressure can reduce the risks from an aneurysm. A common
26 treatment is “clipping,” an invasive surgical procedure in which a small metal clip is
27
28
                                               8
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 11 of 155 Page ID
                                   #:1810



 1 placed on the aneurysm’s neck (where the aneurysm opens from the blood vessel),
 2 sealing off the aneurysm from the blood vessel. Clipping is best suited for treatment of
 3 aneurysms that are easily accessed through open surgery. For more difficult to access
 4 aneurysms, such as those in the head, other forms of treatment are sometimes
 5 preferred.
 6        32.    Another common aneurysm treatment is “coiling,” which can treat
 7 aneurysms that are more difficult to access. Using this technique, a surgeon inserts a
 8 hollow plastic tube into an easily accessible artery and threads the tube through the
 9 patient’s body to the aneurysm. The surgeon then uses a guide wire to push a flexible
10 coiling wire through the tube and into the aneurysm. Once inside the aneurysm this
11 coiling wire bunches up and disrupts blood flow in the aneurysm, causing blood to
12 clot. This clotting effectively blocks off the aneurysm from the artery thereby
13 reducing the risk of rupture and shrinking the aneurysm over time.
14        Pipelines
15        33.    Pipelines represent an additional approach to aneurysm treatment. A
16 Pipeline is a flexible mesh cylinder that expands to take on and reinforce the shape of
17 the blood vessel in which it is placed.
18        34.    Like coils, Pipelines are also used to treat aneurysms in parts of the body
19 that are difficult to access through open surgery.
20        35.    When using a Pipeline, a surgeon inserts a hollow plastic tube into an
21 easily accessible artery and threads the tube through the patient’s body to the
22 aneurysm. The surgeon then uses a guide wire to push the Pipeline through the tube,
23 positioning the Pipeline across the neck of the aneurysm (as illustrated below).
24
25
26
27
28
                                               9
 Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 12 of 155 Page ID
                                  #:1811



 1
 2
 3
 4
 5
 6
 7
 8
                  Figure 2. Pipeline placed across wide-necked aneurysm
 9
           36.    Once in place, the Pipeline decreases blood flow into the aneurysm,
10
     causing blood to clot. This clotting effectively blocks off the aneurysm from the
11
     artery, thereby reducing the risk of rupture and shrinking the aneurysm over time.
12
           37.    The Defendants refer to the use of Pipelines as “flow diversion”
13
     treatment because it diverts blood flow away from the aneurysm, toward the normal
14
     pathway of the blood vessel.
15
           38.    The FDA approved the PED in 2011 and the PFED in 2015. The PFED is
16
     an updated, second-generation version of the PED.
17
           39.    In February 2019 Medtronic announced that it had received FDA
18
     approval for an expanded indication for the PFED based on clinical data from its
19
     Prospective Study on Embolization of Intracranial aneurysms with the Pipeline Device
20
     (“PREMIER”) trial.
21
           40.    Pipelines were originally developed by Chestnut Medical Technologies,
22
     Inc., which was acquired by ev3, Inc. Covidien acquired ev3, Inc. in July 2010.
23
           RELEVANT HEALTH CARE PROGRAMS AND APPLICABLE LAW
24
           41.    Where a company promotes a device with kickbacks, related sales of the
25
     device are not eligible for reimbursement by Medicaid, Medicare, or other federal and
26
     state health care programs. Therefore, during the period of the Defendants’ kickback
27
28
                                               10
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 13 of 155 Page ID
                                   #:1812



 1 scheme, any related claims for reimbursement for Pipelines from Medicaid, Medicare,
 2 or other federal or state health care programs constituted false claims. Seeking
 3 reimbursement for such ineligible uses of Pipelines constitutes a false claim.
 4         42.   The Defendants, together with hospitals and physicians involved in the
 5 kickback-induced use of Pipelines, expressly certified compliance with applicable
 6 laws on numerous provider agreements and claim forms submitted to Medicare,
 7 Medicaid, and other federal and state health care programs. Such provider agreements
 8 and claim forms constitute false records in support of false claims.
 9         43.   The decision of whether to perform an operation using a medical device
10 is made by a doctor in consultation with a patient. Once an operation using a medical
11 device has scheduled, the hospital where the operation will be performed purchases
12 the device from its manufacturer. Following an operation, the doctor bills government
13 health care programs for the doctor’s provision of services, and the hospital bills these
14 programs for costs including reimbursement for the medical device.
15         44.   Under Medicare, hospitals submit claims for services delivered to
16 Medicare beneficiaries on Form CMS-1450 (for interim reimbursements with respect
17 to individual beneficiaries) and Form CMS-2552, also known as a Hospital Cost
18 Report (the hospital’s final claim for payment from Medicare for the period covered
19 by the report). Doctors obtain payment from Medicare for their services by submitting
20 Form CMS-1500.
21         45.   Although doctors determine which medical devices will be purchased,
22 they have little or no reason to consider a device’s cost, because the device will be
23 purchased by a hospital. The hospital has little reason to prevent excessive device
24 costs, where these costs will be reimbursed by government health care programs.
25         46.   Because doctors effectively make purchasing decisions, device
26 manufacturers are motivated to persuade them to use their products. Because
27 physicians often might not be sensitive to the costs of devices they use (and hospitals
28
                                               11
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 14 of 155 Page ID
                                   #:1813



 1 also lack incentives to act as a check on these costs), device manufacturers can find it
 2 advantageous to increase sales by sharing a device’s sale proceeds with the treating
 3 doctors in the form of kickback payments.
 4         47.   Where a device manufacturer attempts to persuade physicians to use its
 5 products through kickbacks, the resulting sales of the device are not eligible for
 6 reimbursement under government health care programs.
 7         48.   Medicare is a public assistance program providing for payment of
 8 medical expenses for patients with certain disabilities and those 65 years old and
 9 older. The Medicare program subsidizes certain purchases of medical devices.
10         49.   Medicare is funded and administered by the federal government. Federal
11 statutes and regulations restrict the medical devices and their uses that the federal
12 government will pay for through Medicare. Under Medicare, “no payment may be
13 made” for a device that is not “reasonable and necessary” for the treatment of illness.
14 42 U.S.C. § 1395y(a)(1)(A). Similarly, “Medicare payment is not made for medical
15 and hospital services that are related to the use of a device that is not covered because
16 CMS determines the device is not ‘reasonable’ and necessary’.” 42 C.F.R. §
17 405.207(a). The use of devices tainted by kickbacks is not “reasonable and
18 necessary.”
19         50.   The kickback-tainted uses of Pipelines promoted by the Defendants were
20 not eligible for reimbursement under Medicare.
21         51.   Medicaid is a public assistance program providing for payment of
22 medical expenses for low-income patients. The Medicaid program subsidizes certain
23 purchases of medical devices.
24         52.   Funding for Medicaid is shared by the federal government and state
25 governments. Although Medicaid is administered on a state-by-state basis, the state
26 programs adhere to federal guidelines. Federal statutes and regulations restrict the
27 medical devices and their uses that the federal government will pay for through its
28
                                               12
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 15 of 155 Page ID
                                   #:1814



 1 funding of state Medicaid programs, in a manner like the restriction of payments
 2 under Medicare.
 3         53.   The kickback-tainted uses of Pipelines promoted by the Defendants were
 4 not eligible for reimbursement under Medicaid.
 5         54.   Besides Medicaid and Medicare, the federal government reimburses a
 6 portion of the cost of medical devices under several other federal health care
 7 programs, including but not limited to TRICARE, CHAMPVA and the Federal
 8 Employees Health Benefit Program.
 9         55.   TRICARE, administered by the United States Department of Defense, is
10 a health care program for individuals and dependents affiliated with the armed forces.
11 CHAMPVA, administered by the United States Department of Veterans Affairs, is a
12 health care program for the families of veterans with 100 percent service-connected
13 disability. The Federal Employee Health Benefit Program, administered by the United
14 States Office of Personnel Management, provides health insurance for federal
15 employees and retirees.
16         56.   The kickback-tainted uses of Pipelines promoted by the Defendants did
17 not qualify for reimbursement under any of the federal health care programs.
18         The Anti-Kickback Statute
19         57.   Pursuant to the FCA and relevant caselaw, kickbacks taint medical
20 judgment and claims made based on kickbacks are false for which both the giver and
21 recipient of such kickbacks are held strictly liable.
22         58.   The AKS, 42 U.S.C. §1320a-7b(b), arose from Congressional concern
23 that payoffs to those who can influence health care decisions will result in goods and
24 services furnished to patients that are medically unnecessary, of poor quality, or
25 harmful to a vulnerable patient population. To protect the integrity of federal health
26 care programs from these difficult to detect harms, Congress enacted a prohibition
27
28
                                               13
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 16 of 155 Page ID
                                   #:1815



 1 against the payment of kickbacks in any form, regardless of whether the kickback
 2 gives rise to overutilization or poor quality of care.
 3         59.    The AKS prohibits any person or entity from making or accepting
 4 payment to induce or reward any person for referring, recommending, or arranging for
 5 the purchase of any item for which payment may be made under a federally funded
 6 health care program. 42 U.S.C. §1320a-7b(b). Pursuant to this statute, companies may
 7 not offer or pay (and doctors may not accept) any remuneration, in cash or kind,
 8 directly or indirectly, to induce doctors or others to order or recommend medical
 9 devices that may be paid for by Medicaid, Medicare, or other federal health care
10 programs.
11         60.    A claim for payment from a government health care program that
12 includes items or services resulting from a violation of the AKS constitutes a false or
13 fraudulent claim for purposes of the FCA. 42 U.S.C. §1320a-7b(g).
14         61.    The law not only prohibits outright bribes and rebate schemes, but also
15 prohibits any payment by a company to a doctor which has as one of its purposes the
16 inducement of the physician to increase sales of the company’s medical devices. Such
17 payments are viewed as tainting the doctor’s judgment.
18         62.    Kickbacks are viewed as particularly egregious when a medical device
19 supplier selects the physician, as here, based on its belief that the physician is likely to
20 prescribe the company’s products. The medical anti-kickback statute is designed to
21 deter healthcare providers from using such personal benefits and enticements as a
22 means of tainting the medical judgment of physicians.
23         63.    Concern about improper marketing practices like those alleged in this
24 Complaint prompted the Inspector General of the Department of Health and Human
25 Services to issue a Special Fraud Alert concerning marketing practices that violated
26 the AKS. Special Fraud Alert: Prescription Drug Marketing Schemes, 59 Fed. Reg.
27
28
                                                14
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 17 of 155 Page ID
                                   #:1816



 1 65,376 (Dec. 19, 1994). Among the improper practices cited by the Inspector General
 2 are companies’ payments to doctors where payments are made to generate business.
 3         64.   The AKS provides a severely limited “safe harbor” for personal service
 4 arrangements which requires, among other things, that:
 5         The aggregate compensation paid to the agent over the term of the
 6         agreement is set in advance, is consistent with fair market value in arms-
           length transactions and is not determined in a manner that takes into
 7         account the volume or value of any referrals or business between the
 8         parties for which payment may be made in whole or in part under
           Medicare, Medicaid or other Federal health care programs.
 9
     42 C.F.R. § 1001.952(d)(5). This safe harbor also requires that:
10
11         The aggregate services contracted for do not exceed those which are
           reasonably necessary to accomplish the commercially reasonable
12         business purpose of the services.
13      42 C.F.R. § 1001.952(d)(7).
14         65.   This safe harbor is an affirmative defense for which the Defendant, not
15 the Relator, bears a heavy burden of establishing that its actions are covered by this
16 limited and narrow safe harbor.
17         66.   The Defendants do not meet these strict Safe Harbor requirements
18 because, among other reasons: a) they offered incentives to doctors based on the
19 volume or value of business the doctor generates or that they expect the doctor to
20 generate; b) the benefits were dispensed largely at the discretion of Defendants’ sales’
21 personnel for such reasons; c) the Defendants did not pay physicians consistent with
22 fair market value in arms’ length transactions; and d) the Defendants did not engage
23 physicians for commercially reasonable business purposes.
24
           67.   Compliance with the AKS is a condition to participation as a health care
25
     provider under the Medicaid, Medicare, and other federal health care programs.
26
27
28
                                               15
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 18 of 155 Page ID
                                   #:1817



 1        68.    With Medicaid, for example, each physician that participates in the
 2 program must sign a provider agreement with his or her state. Although there are
 3 variations in the agreements among the states, the agreement typically requires the
 4 prospective Medicaid provider to agree that he or she will comply with all Medicaid
 5 requirements, which include the anti-kickback provisions of the law. In numerous
 6 states, the Medicaid claim form itself contains a certification by the provider that the
 7 provider has complied with all aspects of the Medicaid program, including compliance
 8 with federal laws.
 9        69.    With Medicare, hospitals and doctors sign Provider Agreements with the
10 Center for Medicare and Medicaid Services (“CMS”) to establish their eligibility to
11 seek reimbursement from Medicare. As part of that agreement, without which the
12 hospitals and physicians may not seek reimbursement from federal health care
13 programs, the provider must sign the following certification:
14        I agree to abide by the Medicare laws, regulations and program
15        instructions that apply to [this provider]. The Medicare laws, regulations,
          and program instructions are available through the [Medicare] contractor.
16        I understand that payment of a claim by Medicare is conditioned upon the
17        claim and the underlying transaction complying with such laws,
          regulations, and program instructions (including, but not limited to, the
18        Federal anti-kickback statute and the Stark law), and on the [provider’s]
19        compliance with all applicable conditions of participation in Medicare.
20 Medicare Enrollment Application Form CMS-855A; Form CMS-855I.
21      70. When a hospital or physician submits a claim for payment under
22 Medicare, it does so subject to and under the terms of its certification to the United
23 States that the services for which payment is sought were delivered in accordance with
24 federal law, to include without limitation the AKS.
25       71. Every Hospital Cost Report also contains a Certification which must be
26 signed by the chief administrator of the provider or a responsible designee of the
27 administrator.
28
                                               16
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 19 of 155 Page ID
                                   #:1818



 1         72.    The Form CMS-2552 Hospital Cost Report certification page includes
 2 the following statement:
 3         Misrepresentation or falsification of any information contained in this
 4         cost report may be punishable by criminal, civil and administrative
           action, fine and/or imprisonment under federal law. Furthermore, if
 5         services identified in this report provided or procured through the
 6         payment directly or indirectly of a kickback or where otherwise illegal,
           criminal, civil and administrative action, fines and/or imprisonment may
 7         result.
 8 The cost-report signatory is also required to certify that:
 9
          To the best of my knowledge and belief, this report and statement are
10        true, correct, complete and prepared from the books and records of the
11        provider in accordance with applicable instructions, except as noted. I
          further certify that I am familiar with the laws and regulations regarding
12        the provision of health care services, and that the services identified in
13        this cost report were provided in compliance with such laws and
          regulations.
14
          73. By signing Form CMS-2552, a hospital administrator is required to and
15
   does certify that its cost report (i) is truthful, i.e., that the cost information contained in
16
   the report is true and accurate; (ii) is correct, i.e., that it is entitled to reimbursement
17
   for the reported costs in accordance with applicable instructions; (iii) is complete, i.e.,
18
   that the cost report is based upon all information known to the provider; and (iv) does
19
   not include any services that resulted from an illegal kickback, or from any other
20
   violation of health care laws and regulations.
21
          74. Physicians and hospitals that participate in a federal health care program
22
   generally must certify (via provider agreements and claim forms) that they have
23
   complied with applicable federal rules and regulations, including the AKS.
24
          75. Because of the systematic payment of kickbacks to physicians made with
25
   the intent and effect of inducing them to use Pipelines, the Defendants caused
26
   physicians and hospitals to submit claims in violation of conditions of payment and
27
28
                                                  17
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 20 of 155 Page ID
                                   #:1819



 1 claims with false certifications to the United States. All claims tainted by the
 2 Defendants’ kickbacks are false claims.
 3                            GENERAL ALLEGATIONS
 4        76.    While working as a doctor, Dr. Chao learned of the Defendants’ kickback
 5 practices from the Defendants’ proctoring course, personnel, clinical training staff,
 6 salespersons, Defendants’ proctors, and others employed by and associated with
 7 Defendants. Dr. Chao learned further relevant facts through his independent research
 8 and analysis regarding Defendants’ kickback payments.
 9        77.    Dr. Chao has had conversations with Defendants’ employees, particularly
10 sales employees, and with doctors who used Pipeline products, and has attended
11 Pipeline training sessions at various locations and with doctors throughout the county
12 who used Pipeline products.
13      78. Prior to the filing of his action, Dr. Chao had not seen any public
14 disclosure of the allegations upon which he bases this action and has no basis to
15 believe there has been any.
16        79.    Dr. Chao also is the original source of this Complaint’s allegations about
17 Defendants’ false claims that come from his personal knowledge and interactions and
18 from his own research and analysis.
19        80.    As indicated in Defendants’ SEC filings, Pipelines are a valuable
20 business line and a driver of corporate profits that have been important to the
21 Defendants’ growth.
22        81.    The Defendants maintained a bloated and well-compensated sales
23 operation. And Defendants paid sales staff through generous, largely incentive-based
24 compensation awarded to aggressively expand Pipeline usage. Simultaneously,
25 Defendants treated compliance with kickback regulations as a low priority.
26
27
28
                                               18
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 21 of 155 Page ID
                                   #:1820



 1        82.    Consistent with Defendants’ aggressive sales push, the Defendants’ sales
 2 staff largely oversaw “clinical” or “educational” aspects of the business including the
 3 proctor program and had a disproportionate say in the awarding of perquisites to
 4 doctors whom they perceived as their premier Pipeline customers.
 5        83.    During much of the period covered by this action, the Neurovascular
 6 division of Defendant Medtronic, which sold Pipelines, employed approximately 150
 7 sales personnel during the relevant period. John Zehren served as Vice President of
 8 Sales for North America. Chris Weaver, who managed Eastern U.S. sales, and Doug
 9 Jones, who managed Western U.S. sales reported to Zehren. Reporting to Weaver and
10 Jones were approximately ten regional managers, a Pipeline clinical team, and a stroke
11 products unit. Each regional manager oversaw approximately ten sales employees,
12 known as territory managers.
13        84.    Dr. Chao dealt primarily, though not exclusively, with Medtronic’s
14 Southern California sales team. Medtronic’s Southern California region includes Los
15 Angeles, San Diego, and Orange County. For much of the period covered by this
16 action, the regional manager for Southern California was Jason Roberts. Roberts
17 oversaw seven sales staff, including Justin Vance and Annie Joseph. Dr. Chao also
18 dealt with Medtronic’s Pipeline clinical team led by Joel Harris, who managed six
19 clinical staff members.
20        85.    Medtronic’s sales staff were highly compensated, with most of their
21 compensation being incentive-based. Medtronic sets sales goals for its staff, and if
22 those goals are met the staff can expect to earn their “target” compensation, or more.
23 Medtronic’s pushed its sales employees hard to meet rigorous monthly, quarterly, and
24 annual targets. And incentive compensation was based on and designed to encourage
25 sales of products that Medtronic deemed important including Pipelines. For example,
26 for Medtronic’s fiscal year ended April 29, 2016 target compensation for territory
27 managers was $295,000, and more than forty territory managers achieved their targets.
28
                                              19
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 22 of 155 Page ID
                                   #:1821



 1 For that year, target compensation for regional managers was $325,000. Salary
 2 comprises approximately one-third of target compensation, with the bulk of target
 3 compensation consisting of incentive pay for achieving aggressive sales goals.
 4 Employees who exceeded target sales were paid handsomely. For example, in
 5 Medtronic’s fiscal year ended April 29, 2016 one regional manager earned $685,000.
 6         86.   Defendants’ generous compensation and focus on incentive pay
 7 predictably led sales personnel to aggressively pursue sales and to abet the unlawful
 8 conduct referred to herein.
 9         87.   As part of the Defendants’ aggressive marketing, all sales representatives
10 in Medtronic’s Neurovascular division received weekly emails notifying them of
11 Pipeline proctoring promotional events for the upcoming week. These emails listed
12 the date, the trainee physician, physician proctor, hospital, and sales representative,
13 associated with each event. These emails also admonish sales representatives to turn
14 in timely reports regarding their attendance and participation in Pipeline promotional
15 proctoring events, which included medical training events relating to Pipeline usage
16 whenever possible. The idea was to aggressively market the Pipeline device to
17 doctors.
18         88.   A document created by the Defendants for use by their clinical sales
19 personnel to track Pipeline promotional activities (reproduced in Exhibit 5) shows that
20 Defendants’ “clinical” staff and the proctor program events were viewed by the
21 Defendants as a prime opportunity to market Defendants’ Pipeline product. This
22 document, titled “2017 Pipeline Clinical Specialist Strategic Account Activities –
23 [Plan of Action] Worksheet,” lists various promotional tasks and the corresponding
24 amount of “case coverage credit” that the Defendants’ employees would receive for
25 participating in such marketing events. Among the activities for which Defendants’
26 personnel receive credit toward their sales activity quotas is “Schedule a Proctor to
27 visit for Grand Rounds.” The Defendants’ personnel are instructed to submit these
28
                                               20
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 23 of 155 Page ID
                                   #:1822



 1 worksheets to various employees of the Defendants, including local and regional sales
 2 managers, as well as “Pipe Mgr/Sales Ops.” This oversight of proctors-related
 3 activities by the Defendants’ sales operations personnel reveals that the Defendants
 4 viewed the proctor program as integral to their sales efforts.
 5        89.    Significantly, although the Defendants’ proctor program was officially
 6 billed as an educational program, it was in fact primarily managed by the Defendants’
 7 sales personnel, not by the Defendants’ clinical education specialists. For example,
 8 although Fred Gunderman, the Defendants’ Director of Physician and Clinical
 9 Education, was “nominally” in charge of this program, Joel Harris, the Defendants’
10 National Sales Manager for Pipelines, and sales personnel reporting to Mr. Harris, in
11 fact, managed most components of the proctor program.
12        90.    Sales personnel involved in the kickback scheme alleged herein took
13 steps to conceal the kickback scheme. For example, Defendants’ chief sales executive
14 John Zehren kept two phones, and would text doctors from his personal, non-company
15 issued phone when he wanted to avoid discovery of the text messages. Zehren’s work
16 phone number was 312-590-XXXX, and his personal phone number was 949-838-
17 XXXX. (Part of Mr. Zehren’s phone numbers have been redacted to protect his
18 privacy.)
19        91.    Additionally, to conceal overly aggressive and illicit sales conduct
20 Zehren instructed Defendants’ employees including Pipelines West Coast sales
21 director Bob Bushok, Pipelines National Sales Manager Joel Harris, and Pipelines
22 East Coast sales director Dan Hughes to use personal phones to communicate for
23 company business. Some of Defendants’ personnel further used phone applications
24 designed to encrypt or otherwise conceal text messages to further conceal their work-
25 related sales communications, using apps such as Viber, WhatsApp and Dust.
26 Defendants’ East Coast sales director Dan Hughes used WhatsApp and Dust to
27 communicate with his sales team members.
28
                                               21
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 24 of 155 Page ID
                                   #:1823



 1        92.    Concerned that their sales practices violated applicable law, following the
 2 filing of this action, Defendants have recently terminated the employment of most of
 3 the sales staff who were at the heart of the Defendants’ kickback scheme as alleged
 4 herein. Defendants terminated sales employees Bob Bushok, Dan Hughes, Joel Harris,
 5 and John Zehren, and restructured their sales department. Based on information and
 6 belief, these terminations resulted from the terminated employees’ involvement in
 7 Defendants’ illegal kickback scheme.
 8               THE DEFENDANTS’ ILLEGAL KICKBACKS
 9        93.    Through numerous means discussed in detail below, the Defendants
10 knowingly gave kickbacks to doctors to promote usage of their Pipeline devices.
11 These kickbacks resulted in the submission of tens of millions of dollars in false
12 claims.
13        94.    During his interactions with the Defendants’ employees and agents, Dr.
14 Chao learned of such expensive kickbacks that Defendants gave to doctors to promote
15 usage of Pipelines, which Pipelines were then often paid for by federal and state
16 healthcare agencies. Such kickbacks came in a variety of forms specified below.
17        Defendants’ Misuse of The Proctoring Program to Promote Pipeline Sales
18        95.    Pursuant to the FCA, a company that sells products paid for the by
19 taxpayer can legally market its products. But it cannot provide kickbacks to induce
20 such sales. Deciding whether a given payment constitutes legitimate marketing or
21 amounts to a kickback often is a fact issue that requires line drawing. To increase or
22 maintain sales, some providers have misused legitimate medical, marketing, or other
23 problems to provide kickbacks in specific instances. As alleged below, that is what
24 Defendants have done here.
25        96.    In 2011, the FDA approved the commercial use of Pipelines. Then, the
26 FDA only permitted Defendants to use Pipelines solely in extraordinarily limited
27 circumstances because Pipeline failed in its application with the FDA to be approved
28
                                              22
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 25 of 155 Page ID
                                   #:1824



 1 to be used except in very limited circumstances. The FDA limited such usage to
 2 certain huge aneurysms located in certain blood vessels in the head. Specifically, the
 3 FDA approved Pipelines for “the endovascular treatment of adults (22 years of age
 4 and older) with large or giant wide-necked intracranial aneurysms in the internal
 5 carotid artery from the petrous to the superior hypophyseal segments.”
 6         97.   Endovascular treatment refers to introduction of the device from within a
 7 blood vessel, as opposed to open surgery. Intracranial aneurysms are those occurring
 8 in brain arteries. Large or giant aneurysms have a diameter greater than10 mm wide.
 9         98.   Wide-necked aneurysms have a neck 4 mm wide or greater and have a
10 neck that is more than half the size of the aneurysm’s maximum diameter.
11         99.   The internal carotid arteries are a pair of arteries on either side of the
12 head and neck. The internal carotid arteries supply blood to the brain and eyes and
13 send branches to the forehead and nose. Below is an illustration showing the location
14 of the internal carotid arteries.
15
16
17
18
19
20
21
22
23
24                    Figure 3. Location of the internal carotid artery
           100. In clinical settings the internal carotid artery is typically classified into
25
26 the following seven segments: cervical (C1), petrous (C2), lacerum (C3), cavernous
27
28
                                                 23
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 26 of 155 Page ID
                                   #:1825



 1 (C4), clinoid (C5), ophthalmic (C6), and communicating (C7). These segments are
 2 labeled in the following illustration.
 3
 4
 5
 6
 7
 8
 9
10
11
12
                     Figure 4. Segments of the internal carotid artery
13
14         101. Pipelines’ initial FDA-approved use was from the petrous segment (C2)

15 to the superior hypophyseal segment. The superior hypophyseal artery is located
16 within the ophthalmic segment (C6).
17         102. Chestnut Medical Technologies, Inc. (the original developer of the PED,

18 acquired by ev3, Inc. in June 2009) submitted a Sponsor Executive Summary to the
19 FDA on February 1, 2011 in support of its PMA application for the PED (the
20 “Chestnut Report”). The Chestnut Report estimated that in the United States each year
21 only 2,079 aneurysms occur that (i) have diameter equal to or greater than 10 mm, and
22 (ii) are in the internal carotid artery. Of these estimated 2,079 cases per year, some of
23 the aneurysms do not have wide necks. Others could be in areas of the internal carotid
24 artery outside of Pipelines’ approved C2-C6 range.
25        103. Therefore, each year at most only 2,079 Americans developed the types

26 of aneurysms that initially qualified in 2011 for the approved-FDA usage. Later, the
27 FDA expanded its categories of uses, but by then defendants faced potentially stiff
28
                                               24
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 27 of 155 Page ID
                                   #:1826



 1 marketplace competition from companies developing comparable medical devices.
 2         104. The numbers of aneurysms that (i) have diameter less than 10 mm, (ii)
 3 have necks smaller than 4 mm wide, or (iii) are not located in the C2-C6 range of the
 4 internal carotid artery, greatly exceeds the minuscule number of aneurysms that meet
 5 all FDA-required conditions in 2011 for FDA-approved commercial usages of the
 6 Pipelines.
 7         105. Ninety-three percent of intracranial aneurysms have diameter from 0 to
 8 10 mm and based on the Chestnut Report 82% of aneurysms located in the head are in
 9 arteries other than the internal carotid artery. Therefore, more than10 times as many
10 aneurysms that do not fall within Pipelines’ originally FDA-approved indication occur
11 in the United States each year compared to aneurysms within that indication.
12         106. Still, when the FDA approved usage of Pipelines for commercial
13 purposes in 2011, there were relatively few doctors in the United States who had
14 sufficient experience with Pipelines to independently perform Pipeline procedures in a
15 safe and effective manner compared with European doctors, who had been using
16 Pipeline devices since 2009. But the medical and practical need for such proctoring
17 rapidly decreased over time. Nonetheless, while the medical and practical need for the
18 proctoring program substantially decreased since its inception, instead of reducing
19 their utilization of the program, Defendants ramped up such usage and increasingly
20 put spending decisions in the hands of Defendants’ marketing department. Defendants
21 did so for one reason: to generate and increase Pipeline sales.
22         107. Through their Proctoring Program, the Defendants rapidly expanded the
23 number of Pipeline-trained doctors such that in short order the Proctoring Program
24 either was no longer necessary or could have been seriously phased down.
25 Nonetheless, the Defendants did just the opposite; they cranked up the program. They
26 did this to increase their Pipeline sales despite the small number of Pipeline-eligible
27 aneurysms occurring in the United States each year, and due to increased competition
28
                                               25
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 28 of 155 Page ID
                                   #:1827



 1 in the marketplace. In this way, Defendants misused an otherwise legitimate program
 2 in specific instances as a vehicle to provide kickbacks to promote and induce sales of
 3 Defendants’ Pipeline products.
 4        108. When Defendants first introduced the Pipeline, it was a novel device. As
 5 such, it required training for doctors to use safely and effectively. Defendants and
 6 their affiliates started a program for doctors experienced in using Pipelines to train
 7 other doctors to use the device. Such training meant that experienced doctors would
 8 supervise, or proctor, less experienced doctors in their initial usage of the Pipelines.
 9 Relator does not question that such training served a purpose at the outset. But he also
10 alleges that such training became increasingly unnecessary over time and used to
11 promote the off-label usage of Pipeline devices. And over time, Defendants
12 increasingly paid for proctoring or paid excessive proctoring expenses as kickbacks to
13 increase Pipeline sales for both on and off-label usages.
14        109. In addition, over time Defendants drastically increased the amounts of
15 Proctoring payments for no good reason other than to provide kickbacks to doctors.
16 This included the Defendants’ drastic four or five-fold increases in proctoring
17 payments over time for the same proctoring work. For example, in 2011, Defendants
18 typically paid proctors approximately on average $1,000 for overseeing a Pipeline
19 operation.
20        110. Yet, by 2015, Defendants inexplicably increased such payments for
21 overseeing the same procedures four or five times to approximately on average $4,000
22 to $5,000 per Pipeline operation. There is no good reason for this, and such four- and
23 five-fold boosts in payments can only be seen one way – as kickbacks. The amount of
24 work was the same. Inflation cannot account for such massive increases. Defendants’
25 boosting of proctoring payments represents to a significant degree Defendants’
26 increased use of kickbacks to promote Pipeline sales.
27
28
                                               26
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 29 of 155 Page ID
                                   #:1828



 1        111. Defendants also misused their Proctoring Program in other ways to
 2 increase Pipeline sales for usages not approved by the FDA.
 3        112. After the FDA approved Pipelines for commercial usage in 2011,
 4 Defendants asked the FDA to expand permissible commercial uses for Pipelines. But
 5 the FDA did not grant that request until years later. Nonetheless, immediately after the
 6 FDA approved the Pipeline for very limited uses in 2011 and long before the FDA
 7 expanded the instances for which it approved such Pipeline usage, Defendants sought
 8 through their proctoring program efforts to increase Pipeline off-label (non-FDA
 9 approved) commercial sales through the proctoring program.
10        113. Defendants misused their proctoring and marketing programs to expand
11 and encourage such usage. For example, in sales pitches to Dr. Chao and other
12 doctors, Defendants’ sales agents touted the benefits that the proctoring program
13 provided for both on, and off-label (unapproved), uses of Pipeline devices. In
14 addition, at proctoring training sessions, Defendants’ sales agents promoted the off-
15 label uses to doctors and even provided training material for off-label (unapproved)
16 uses to both proctors and doctors being proctored. Sales agents further told doctors
17 that the benefits of proctoring extended to both on and off-label usage of Pipeline
18 products.
19        114. Illustrative of Defendants’ overly broad usage of the proctoring program
20 to encourage off-label sales of Pipelines is correspondence Dr. Chao uncovered from
21 one of the Defendants’ competitors to the FDA. There, the competitor complains that
22 “an experienced Pipeline proctor relayed that only 40% of the cases he currently
23 proctors are on label.” This is confirmed by the data from the IntrePED trial which
24 reflect 65.4% of procedures were for off-label procedures. Pushed by aggressive
25 marketing and by high-usage proctors, the percentage of off-label procedures
26 increased dramatically over time.
27
28
                                              27
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 30 of 155 Page ID
                                   #:1829



 1        115. The percentage of off-label cases increased over time as most of the
 2 potential on label cases were treated. In fact, Dr. Ricardo Hanel stated at a Society of
 3 Neurointerventional Surgery event in 2019 that “we’ve treated 10 mm cavernous
 4 aneurysm to extinction.” Cavernous aneurysms are the predominant type of
 5 aneurysms within the FDA’s originally approved indication for Pipelines.
 6        116. Similarly, two of the Defendants’ proctors informed Dr. Chao that they
 7 use Pipelines for almost all aneurysms they treated regardless of an aneurysm’s
 8 location. Dr. Moran made this statement while proctoring a Pipeline operation in 2015
 9 at Kaiser Permanente Los Angeles Medical Center. Dr. Edoardo Boccardi made this
10 statement during a Pipeline training meeting in 2011 at the Green Valley Ranch, a
11 luxury resort-spa-casino near Las Vegas, Nevada. Both doctors also touted Pipelines’
12 safety for such uses during these encounters.
13        117. Because Defendants wanted to use the proctoring program to encourage
14 broader use of Pipelines beyond their original indication, Defendants chose doctors for
15 training in the proctor program and for proctoring assignments based in part on the
16 doctors’ willingness to help with Defendants’ goal of encouraging broader use of
17 Pipelines beyond their original indication.
18        118. Dr. Chao knows of such non-indicated Pipeline usage through the
19 Proctoring Program from personal experience. For example, in 2014 the Defendants
20 asked him to proctor a procedure at the Kaiser Foundation Hospital in Fontana, and
21 Defendants’ sales employees Jason Roberts and Justin Vance told Dr. Chao to keep
22 this that operation “off the books” because it involved a Pipeline usage outside of the
23 FDA’s approved indications.
24        119. Sometimes doctors, however, refused to proctor Pipeline operations
25 outside of approved indications. Once, for example, Dr. Peter Kim Nelson refused to
26 proctor such a case in Oklahoma. Joel Harris, the Defendants’ National Sales Manager
27 for Pipelines, pushed Dr. Nelson to change his mind. When Dr. Nelson held his
28
                                                 28
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 31 of 155 Page ID
                                   #:1830



 1 ground, Mr. Harris found a different proctor, and the proctoring went ahead as
 2 planned, without Dr. Nelson.
 3        120. Since the start of the proctor program in 2011 the Defendants and their
 4 affiliates have maintained a three-physician panel to consider and approve proposed
 5 uses of Pipelines, and to determine whether the Defendants and their affiliates should
 6 send a proctor to assist with such a proposed Pipeline case. The Defendants pay the
 7 members of this panel for their work evaluating proposed Pipeline cases.
 8        121. The three physicians initially involved in approving use for the proctor
 9 program were Dr. Adam Arthur, Dr. John Gaughen, and Dr. Tibor Becske. In 2013,
10 however, Dr. Gaughen resigned from this role because he was uncomfortable with the
11 high volume of non-indicated uses approved for inclusion in the proctor program. Dr.
12 Woodward (who reaped more than $250,000 in payments from the Defendants in
13 2013-2015 and an additional $380,000 to companies under his control) replaced him.
14        122. In 2011, the physician panel used the Defendants’ email system to
15 document their decisions as to whether to allow and proctor non-indicated Pipeline
16 procedures. But in time, the Defendants stopped using this email system to document
17 off-label (non-FDA approved) usages of Pipelines and proctoring assignments and
18 instead tracked such procedures and assignments through a password-protected
19 website (https://pipelineportal.covidien.com), which they call the Pipeline Portal. The
20 Defendants euphemistically referred to proctored cases outside of Pipelines’
21 indication as “compassionate use,” “emergency use,” and “special use” cases. The
22 Defendants made this change to conceal use of the Proctoring Program to expand
23 usage, including off-label (non-FDA approved) usage of their Pipeline products.
24        123. Through the Pipeline Portal, a doctor in training for Pipeline use can
25 upload information about a proposed case, including a brief medical history and
26 images of the aneurysm to be treated. The Defendants’ three-doctor panel reviews this
27 information and determines whether the case is suitable for use of a Pipeline, and
28
                                              29
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 32 of 155 Page ID
                                   #:1831



 1 whether the Defendants should send a proctor. In this way the Defendants and their
 2 doctor panel frequently approved non-indicated uses of Pipelines and often sent paid
 3 proctors to assist in such cases.
 4        124. Defendants’ Pipeline Proctor Program also provided special “advanced
 5 training” courses in non-indicated use, beginning in or around 2013. Such uses of
 6 Pipelines frequently involve complications not encountered in standard, indicated uses
 7 of Pipelines. As such, non-indicated Pipeline cases are ideal for “advanced” proctor
 8 training; in fact, almost all the cases presented at advanced proctor training were off-
 9 label. To be eligible for advanced training, Defendants required a doctor to first
10 perform five Pipeline operations under the supervision of a proctor.
11        125. Such advanced training was overseen by highly compensated proctors at
12 their home institutions. These training courses were held at the University of Buffalo
13 in New York (under the supervision of Drs. Elad Levy and Adnan Siddiqui), the
14 Mayo Clinic in Jacksonville, Florida (Dr. Ricardo Hanel), New York University (Drs.
15 Tibor Becske and Peter Nelson), the University of Utah (Dr. Philipp Taussky), and in
16 Knoxville, Tennessee (Dr. Britton Keith Woodward).
17        126. Although the Defendants’ Proctoring Program apparently served
18 legitimate purposes in some circumstances – especially early on – Defendants also
19 misused this program and on specific occasions misused the program to give doctors
20 kickbacks. In addition to the promotional practices and marketing practices that cross
21 the line as discussed above, another means by which Defendants consistently misused
22 this program was to give and disguise the kickbacks as compensation for services
23 performed by proctor physicians such as overseeing Pipeline procedures or
24 performing Pipeline-related research or for travel related to such procedures. In
25 particular cases, Defendants often intentionally overpaid proctors for their work and
26 for their travel expenses and for work that was medically not necessary.
27
28
                                               30
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 33 of 155 Page ID
                                   #:1832



 1         127. Because of the cash payments, travel, and other kickbacks received by
 2 proctors from the Defendants, doctors had strong incentives to become proctors.
 3 Becoming a proctor was a means to obtain a variety of such perquisites. The
 4 arrangements Defendants devised were profitable both for doctors and for Defendants
 5 and tainted the doctors’ medical judgments.
 6         128. By design, these arrangements went far beyond mere marketing
 7 practices. To start with, to become a proctor the Defendants required a doctor to
 8 perform a minimum of ten Pipeline procedures. Making doctors proctors was
 9 profitable for Defendants because on average each procedure required 1.6 Pipelines
10 that each cost approximately $14,000. So, certifying a single proctor resulted in
11 approximately $224,000 worth in Defendant sales.
12         129. Once a doctor satisfies the Defendants’ ten-procedure requirement to
13 become a proctor, that doctor can then become eligible to receive lucrative cash
14 payments from Defendants of approximately $4,000 to $5,000 per procedure, roughly
15 one-third of the Defendants’ revenue from the sale of each Pipeline. According to Dr.
16 Chao’s conversations with Defendants’ sales employees the system was designed to
17 reward doctors for using Pipelines.
18         130. The Defendants started their Proctoring Program in with approximately
19 fifty-five doctors. Exhibit 1 contains a list of fifty-eight doctors who received a total
20 of $5.2 million relating to “pipelines” or “flow diversion” from the Defendants during
21 2013-2015. Twenty-two of these doctors received more than $100,000 each of such
22 Pipeline-related payments. Many of the doctors listed in Exhibit 1 are proctors for the
23 Defendants, including Dr. Philipp Taussky (who received $219,310 during 2013-
24 2015); Dr. John Gaughen (who received $332,167); Dr. Alexander Coon (who
25 received $280,866), and Dr. Britton Keith Woodward (who received $257,583).
26         131. According to the CMS Open Payments Data Defendants made large cash
27 payments to numerous doctors from at least 2013 through at least 2019 (the period
28
                                                31
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 34 of 155 Page ID
                                   #:1833



 1 currently covered by the publicly available Open Payments Data). Between 2013-
 2 2019 Defendants paid a total of $12.4 million to doctors recorded as relating to
 3 “pipelines” or “flow diversion.” The total of such payments exceeded $1 million in
 4 each year in this period. Individual doctors received large amounts of these payments.
 5 During this time, Defendants paid thirty-four doctors each more than $100,000 and
 6 paid Dr. Christopher Moran alone more than $500,000.
 7         132. Exhibit 2 is a detailed list of Pipeline-related payments made by the
 8 Defendants during 2013-2015 to Dr. Moran. These 340 separate payments total more
 9 than $200,000. As set forth in Exhibit 2, Dr. Moran traveled frequently at Defendants’
10 expense to posh vacation destinations throughout the United States such as Miami and
11 San Francisco, and to posh international destinations such as Buenos Aires, Argentina;
12 Nice, France; and Madrid, Spain.1 At each of these international destinations the
13 Defendants provided free travel and lodging for Dr. Moran. The Defendants also paid
14 for multiple physicians to attend a Pipeline “training meeting” in 2011 at the Green
15 Valley Ranch, a luxury resort-spa-casino near Las Vegas, Nevada. There was no
16 reason to have “training” sessions at posh national, much less international, luxury
17 resorts other than as a pretext to provide one of many forms of kickbacks.
18         Defendants Intentionally Overpaid Proctors for Work Never Performed
19         133. Defendants’ IntrePED study (see Ex. 9) reported a mean Pipeline
20 procedure time of 101 minutes and 30 seconds. Defendants’ ASPIRe study (see Ex.
21 13) reported a mean Pipeline procedure time of 112.9 minutes. Yet, Defendants
22
           1
23            CMS’ data set lists the city, state, and country of travel associated with a
24   particular payment. For the Defendants’ payments to Dr. Moran listing Buenos Aires
     as the city, the state listed is California and the country listed is the U.S., however this
25   appears to be an error as there is no city of Buenos Aires in California. Presumably
26   this was a data entry error and the payment for travel in Buenos Aires, Argentina.
     Similarly, payments relating to the city Madrid also list locations of California and the
27   United States, though there is no locale known as Madrid in California.
28
                                                 32
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 35 of 155 Page ID
                                   #:1834



 1 routinely paid proctors for a full eight hour day per procedure, or more than four times
 2 the reported average procedure duration. The Defendants often gave doctors
 3 kickbacks by habitually and systematically overpaying doctors $3,200 for a full, eight-
 4 hour day of work regardless of how little time the proctor worked. In fact, most
 5 proctoring procedures took place at the hospital where the proctor worked and
 6 required less than two hours of work, less than a fourth of the inflated rate that the
 7 Defendants paid the proctors. In addition, Defendants would routinely pay proctoring
 8 doctors a $1,400 kickback as a “travel” stipend even when the doctor worked at his or
 9 her home hospital and did not travel. Such “travel” payments violated Defendants’
10 written policies but nonetheless were promoted or solicited as kickbacks and
11 knowingly paid by Defendants to proctors.
12        134. Defendants, however, knowingly routinely overpaid their proctors –
13 particularly proctors whose employers purchased large amounts of Pipelines – for a
14 full day of work even when the doctors worked substantially less than a full day. In
15 addition, Defendants routinely paid for travel time when the doctor incurred no travel
16 expenses. These excessive payments were kickbacks.
17        135. This is confirmed by the CMS Open Payments database. This database
18 contains information relating to payments from medical device companies to
19 physicians, along with data about the products to which these payments relate. Most
20 payments listed as being paid from Defendants and relating to Pipelines do not relate
21 to proctoring. But of those that do appear to be compensation for proctoring, in close
22 to thirty percent of such instances Defendants paid doctors their maximum amount for
23 a full eight-hour day along with travel time of $4,600, and in close to twenty percent
24 of such instances Defendants paid their maximum amount for a full eight-hour day
25 without travel of $3,200.
26        136. Consistent with this trend, in 2013-2015, Dr. Britton Keith Woodward
27 alone received at least twenty separate payments from the Defendants in the precise
28
                                               33
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 36 of 155 Page ID
                                   #:1835



 1 amount of $4,600, amounting to $92,000. Dr. Alexander Coon also received at least
 2 twenty separate payments from the Defendants over 2013-2015 in the precise amount
 3 of $4,600, amounting to $92,000.
 4         137. Thus, while proctors during this time worked on average of less than two
 5 hours and frequently did not travel, Defendants intentionally grossly overpaid their
 6 proctors routinely as a pattern and practice of kickbacks designed to generate product
 7 sales. Clearly, a substantial percentage of Pipeline proctoring related payments
 8 reflected in the Open Payments Data were paid at Defendants’ maximum rates;
 9 Defendants could not have routinely overpaid such proctoring fees by accident and
10 this was not an industry practice, either. The co-founder of one of Defendants’
11 competitors and a senior executive of another competitor told Dr. Chao that their
12 companies had trouble competing with Defendants to hire doctors as consultants
13 because unlike Defendants their companies paid doctors solely for the time their
14 proctors worked. And the co-founder also said his company unlike that of the
15 Defendants paid their proctors solely on a “wheels up, wheels down” basis for travel
16 time.
17         Specific Excessive Payment to Dr. Teitelbaum
18         138. According to Defendants’ Southern California regional manager, Dr.
19 George Teitelbaum proctored a Pipeline procedure in or around mid-2016 for trainee
20 Dr. Yaser Badr at Glendale Adventist Hospital in Glendale, California.
21         139. According to this manager, Dr. Teitelbaum proctored this procedure for
22 approximately two hours or less. Although this regional sales manager was not there
23 at the time, he recalls that this proctoring event occurred when it did and for the
24 duration that it did based on his contemporaneous conversations with the Defendants’
25 sales representative working under him who was there.
26
27
28
                                               34
 Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 37 of 155 Page ID
                                  #:1836



 1         140. Proctoring procedures lasting two hours or less typically would not
 2 require much pre-procedure preparation or post-procedure review time on the part of
 3 the proctoring doctor.
 4         141. Open Payments Data reveals that Defendant Medtronic USA, Inc. paid
 5 Dr. Teitelbaum $18,505.44 in 2016 in connection with Pipeline-related work and does
 6 not reveal any other Pipeline-related payments by Defendants or their affiliates to Dr.
 7 Teitelbaum in 2016. The Open Payments Data detail those 2016 Pipeline-related
 8 payments from Defendant Medtronic USA, Inc. to Dr. Teitelbaum as follows:
 9     total amount of        date of
10     payment (US dollars) payment     nature of payment or transfer of value
                       132.55  1/3/2016 Food and Beverage
11                     851.93 2/11/2016 Travel and Lodging
                                        Compensation for services other than consulting,
12                                      including serving as faculty or as a speaker at a venue
                    3,200.00   3/1/2016 other than a continuing education program
13                                      Compensation for services other than consulting,
14                                      including serving as faculty or as a speaker at a venue
                    4,600.00 4/20/2016 other than a continuing education program
15                                      Compensation for services other than consulting,
                                        including serving as faculty or as a speaker at a venue
16                  3,320.96 6/22/2016 other than a continuing education program
17                                      Compensation for services other than consulting,
                                        including serving as faculty or as a speaker at a venue
18                  3,200.00 7/27/2016 other than a continuing education program
                                        Compensation for services other than consulting,
19                                      including serving as faculty or as a speaker at a venue
                    3,200.00 12/7/2016 other than a continuing education program
20
           142. As noted above, Defendants paid Dr. Teitelbaum the maximum daily
21
     rates of $3,200 for eight hours of labor at $400 per hour.
22
23         Defendants’ Failure to File Transparency Reports Disclosing Payments to
           Drs. Teitelbaum and Alexander
24
           143. Manufacturers for medical devices approved for Medicare or Medicaid
25
     usage are required to report to the U.S. Department of Health and Human Services
26
     (“HHS”) all payments they make to doctors. HHS posts all such disclosed payments
27
28
                                                   35
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 38 of 155 Page ID
                                   #:1837



 1 on its publicly available CMS Open Payments Database. There is good reason for
 2 this: to avoid fraud and abuse, Congress and HHS established the CMS Open
 3 Payments Database to promote a transparent and accountable health care system.
 4        144. Specifically, the Patient Protection and Affordable Care Act, Pub. L. No.
 5 111-148 (the “ACA”), was signed into law on March 23, 2010. Section 6002 of the
 6 ACA, codified at 42 U.S.C. § 1320a–7h, requires manufacturers of medical devices to
 7 make “transparency reports” to HHS disclosing their payments to physicians
 8 beginning in 2013, and requires that HHS make such reports available to the public.
 9 Final rules regarding such transparency reports were adopted and published in the
10 Federal Register on February 8, 2013 (78 F.R. 9521), codified at 42 C.F.R. §§
11 403.900 - 403.914. HHS has implemented these statutes and regulations by publishing
12 the Open Payments Data (see https://www.cms.gov/openpayments).
13        145. This law required the Defendants to report all payments made to doctors
14 on or after August 1, 2013 for Pipeline proctoring services. Yet, as noted herein,
15 overwhelming evidence indicates that Defendants flouted these important rules and
16 regulations and failed to report certain of their Pipeline proctoring payments.
17        146. Dr. Chao learned from Defendants’ regional sales manager for Southern
18 California that Dr. George Teitelbaum proctored approximately one to five Pipeline
19 procedures during 2014.
20        147. According to the Southern California regional sales manager, when a
21 doctor proctored a Pipeline procedure, it was Defendants’ practice to pay the doctor
22 for his proctoring services. And if there was an isolated instance when a doctor within
23 the sales territory of the regional sales manager for Southern California provided
24 proctoring services for a Pipeline procedure and was not timely compensated by the
25 Defendants, the regional sales manager was as a matter of practice made aware of
26 such non-payment.
27
28
                                              36
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 39 of 155 Page ID
                                   #:1838



 1        148. Open Payments Data shows that Defendant Covidien LP paid Dr.
 2 Teitelbaum $503.89 in 2014 and does not reveal additional payments by Defendants
 3 or their affiliates to Dr. Teitelbaum in 2014. The Open Payments Data detail those
 4 2014 payments from Defendant Covidien LP to Dr. Teitelbaum as follows:
          total                                                             name of
 5        amount of                                                         associated
 6        payment      date of      nature of payment or transfer of        covered device or
          (US dollars) payment      value                                   medical supply
 7              160.25  5/2/2014    Food and Beverage                       Ablation
 8               96.59 5/18/2014    Food and Beverage                       Coils
                  16.6 7/18/2014    Food and Beverage                       Coils
 9                                  Compensation for services other
                                    than consulting, including serving as
10                                  faculty or as a speaker at a venue
11                                  other than a continuing education
                68.12   7/21/2014   program                                 Flow Diversion
12                                  Compensation for services other
                                    than consulting, including serving as
13                                  faculty or as a speaker at a venue
                                    other than a continuing education
14               8.13   7/21/2014   program                                 Flow Diversion
15                                  Compensation for services other
                                    than consulting, including serving as
16                                  faculty or as a speaker at a venue
                                    other than a continuing education
17              79.03   8/17/2014   program                                 Flow Diversion
18              32.92   8/25/2014   Food and Beverage                       Flow Diversion
                                                                            Neurovascular
19              42.25   9/23/2014 Food and Beverage                         Access Delivery
20        149. Defendants’ standard payment rate for Pipeline proctoring was
21 approximately $400 dollars per hour. Typically, a Pipeline procedure lasted
22 approximately two hours.
23        150. According to Defendants’ Southern California regional manager, Dr.
24 Michael Alexander proctored a Pipeline procedure in or about mid-2016 for trainee
25 Dr. Marcel Maya at Cedars-Sinai Hospital in Los Angeles, California.
26
27
28
                                                 37
 Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 40 of 155 Page ID
                                  #:1839



 1          151. Although this regional sales manager was not there at the time, he recalls
 2 that this proctoring event occurred when it did based on his contemporaneous
 3 conversations with the Defendants’ sales representative working under him who was
 4 there.
 5          152. The regional sales manager for Southern California has no present
 6 recollection of Defendants failing to timely compensate Dr. Alexander for this mid-
 7 2016 Pipeline proctoring at Cedars-Sinai Hospital.
 8          153. Open Payments Data shows that Defendant Medtronic USA, Inc. paid
 9 Dr. Alexander $5,292.34 in 2016, and does not reveal any other payments by
10 Defendants or their affiliates to Dr. Alexander in 2016. The Open Payments Data
11 detail those 2016 payments from Defendant Medtronic USA, Inc. to Dr. Alexander as
12 follows:
13           total amount                                            name of drug or
             of payment     date of     nature of payment or         biological or device or
14           (US dollars)   payment     transfer of value            medical supply
                     275.96 8/11/2016   Travel and Lodging           Pipeline
15
                      171.7 8/11/2016   Travel and Lodging           Pipeline
16                                      Compensation for
                                        services other than
17                                      consulting, including
                                        serving as faculty or as a
18                                      speaker at a venue other
19                                      than a continuing
                      4600 8/31/2016    education program            Pipeline
20                  172.79 9/20/2016    Food and Beverage            Solitaire
                     15.24 9/20/2016    Food and Beverage            Solitaire
21
                     56.65 11/15/2016   Food and Beverage            Solitaire
22
            154. This data reveals only one payment that could potentially have been
23
     compensation for proctoring (i.e., that in the “compensation for services” category).
24
            155. Defendants have informed Dr. Chao that the $4,600 payment made on
25
     August 31, 2016 to Dr. Alexander related to a Pipeline proctoring scheduled for
26
     August 11, 2016 of trainee Dr. Bonovich in Castro Valley, California.
27
28
                                                 38
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 41 of 155 Page ID
                                   #:1840



 1         156. In correspondence between counsel for the parties, Relator’s counsel
 2 asserted that Dr. Alexander supervised a Pipeline proctoring for Dr. Maya at Cedars-
 3 Sinai Hospital in or about mid-2016. Defendants’ counsel did not deny that assertion,
 4 but instead argued that the $4,600 payment made on August 31, 2016 to Dr.
 5 Alexander related to Dr. Bonovich’s proctored procedure, not Dr. Maya’s.
 6         157.       This information indicates that Defendants did not report to the
 7 Department of Health and Human Services a payment for Pipeline proctoring services
 8 made to Dr. Alexander in connection with his mid-2016 proctoring at Cedars-Sinai.
 9         158. The Defendants’ apparent concealment of such information supports the
10 Relator’s proctoring fraud allegations. It also supports the fact that Defendants have
11 violated the laws imposing a duty on them to openly disclose such payments by filing
12 transparency reports in this instance.
13         159. Tellingly, the very same company, Defendant Medtronic USA Inc. just
14 agreed to a $1.1 million settlement with the Department of Justice in conjunction with
15 a False Claims Act case to resolve claims relating to violating the Open Payments
16 Program by failing to accurately report payments made to a doctor. See Press Release,
17 Department of Justice, Oct. 29, 2020, Medtronic to Pay Over $9.2 Million To Settle
18 Allegations of Improper Payments to South Dakota Neurosurgeon.2 Because Dr.
19 Chao has not yet had the benefit of discovery in his action, the extent to which
20 Defendants have violated this law aside from any payments to Dr. Alexander or Dr.
21 Teitelbaum is unclear.
22
23
24
25
26         2
               https://www.justice.gov/opa/pr/medtronic-pay-over-92-million-settle-allegations-
27 improper-payments-south-dakota-neurosurgeon.
28
                                                      39
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 42 of 155 Page ID
                                   #:1841



 1        Defendants Rewarded Favored Doctors with Medically Unnecessary
          Proctoring Assignments
 2
 3        160. The Defendants used such kickbacks to maximize favored proctors’

 4 compensation. For example, Dr. Moran regularly called the Defendants’ sales
 5 department to solicit proctoring assignments, and the sales department obliged such
 6 that between 2013 and 2019 Defendants paid him more than $500,000 for such
 7 assignments. Similarly, at the request of Dr. Alexander Coon, Defendants repeatedly
 8 flew him across the country for proctoring assignments. These included multiple trips
 9 from Maryland to California even though there were many qualified proctors at the
10 time in California. Specifically, according to the CMS Open Payments database,
11 during 2013-2019 Defendants made payments to Dr. Coon related to “Flow
12 Diversion” in connection with travel to Irvine, California on January 29, 2014;
13 February 10, 2014; February 10-11, 2015; April 25, 2015, April 28, 2015; May 15,
14 2015; May 19, 2015; August 10, 2015; August 12, 2015; and July 13, 2016.
15       161. Defendants also flew Dr. Moran to Nice and Madrid to proctor even
16 though many European doctors were qualified as proctors and had even more
17 experience using the Pipeline devices than Dr. Moran did. And according to Dr.
18 Chao’s conversations with Defendants’ sales employee Annie Joseph, Defendants
19 paid Dr. Moran to proctor for doctors who did not need proctoring, including
20 proctoring assignments in Europe even though there were many experienced proctors
21 available in Europe. Dr. Moran received such assignments because of his demands
22 and to placate and keep him happy and using Pipeline devices.
23        Defendants’ Kickbacks Under the Proctoring Program Do Not Qualify for the
24        AKS Personal Services Safe Harbor

25        162. The AKS is an affirmative defense that the Defendants by law bear the
26 burden of establishing. It is a fact issue not amenable to being decided on a Motion to
27
28
                                              40
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 43 of 155 Page ID
                                   #:1842



 1 Dismiss. Nonetheless, false claims that Defendants caused to be submitted in
 2 conjunction with their Proctoring Program would not qualify for the narrow AKS safe
 3 harbor protection under any circumstances.
 4         163. The Defendants recognized that the large cash payments under their
 5 Proctor Program risked exposing them to FCA kickback claims. Accordingly, to
 6 maintain the illusion that proctors were paid only reasonable compensation for
 7 services rendered, and to conceal their actual conduct, and to limit their exposure for
 8 the certain proctor related claims to the extent possible, Defendants included a
 9 provision in their consulting agreements with proctors that theoretically imposed a
10 $60,000 per year maximum on compensation paid to a given proctor. Yet, despite this
11 stated cap, the Defendants regularly permitted proctors to exceed this maximum by
12 executing amendments to the consulting agreements. These amendments made the cap
13 theoretical rather than real, and therefore meaningless; it was little more than a fig-leaf
14 to disguise Defendants’ behavior. For example, the Defendants paid Dr. Moran more
15 than $100,000 in 2013 for his Pipeline-related work. The Defendants likewise paid Dr.
16 Woodward more than $130,000 in 2015 for his Pipeline-related work.
17         164. As discussed above, the AKS provides a severely limited “safe harbor”
18 for personal service arrangements which requires, among other things, that:
19         The aggregate compensation paid to the agent over the term of the
20         agreement is set in advance, is consistent with fair market value in arms-
           length transactions and is not determined in a manner that takes into
21         account the volume or value of any referrals or business between the
22         parties for which payment may be made in whole or in part under
           Medicare, Medicaid or other Federal health care programs.
23
     42 C.F.R. § 1001.952(d)(5). This safe harbor also requires that:
24
25         The aggregate services contracted for do not exceed those which are
           reasonably necessary to accomplish the commercially reasonable
26         business purpose of the services.
27
28
                                                41
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 44 of 155 Page ID
                                   #:1843



 1 42 C.F.R. § 1001.952(d)(7).
 2        165. The Defendants do not meet these strict Safe Harbor requirements in
 3 connection with their payments for Pipeline proctoring services, for several reasons,
 4 each of which is sufficient by itself to preclude safe harbor protection.
 5        166. First, the aggregate compensation paid to proctors over the terms of their
 6 agreements with Defendants was not set in advance, because although it was
 7 ostensibly subject to an annual cap Defendants paid doctors more than these caps and
 8 amended the agreements to increase the caps.
 9        167. Second, the aggregate compensation paid to proctors over the terms of
10 their agreements with Defendants was not consistent with fair market value in arms-
11 length transactions, because although the agreements ostensibly limited payment to
12 hours of work performed and travel undertaken, Defendants paid proctors for hours of
13 work never performed and or travel never undertaken. Paying substantial amounts for
14 work or travel never performed is not consistent with fair market value in arms-length
15 transactions. Furthermore, these doctors eagerly sought these proctoring assignments
16 even getting angry when they felt they did not get enough assignments as the
17 proctoring hourly compensation was far higher than their salaried positions.
18        168. Third, the aggregate compensation paid to proctors over the terms of their
19 agreements with Defendants was determined in a manner that considered the volume
20 or value of referrals or business between the doctors and the Defendants for which
21 payment was made in whole or in part under Medicare, Medicaid and other Federal
22 health care programs. Defendants selected doctors to become Pipeline proctors based
23 on criteria including the value of business those doctors and/or their home institutions
24 generated for Defendants.
25        169. Fourth, Defendants contracted with Pipeline proctor doctors for services
26 that exceeded those which were reasonably necessary to accomplish the commercially
27 reasonable business purpose of the Pipeline proctoring services. For example, as
28
                                               42
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 45 of 155 Page ID
                                   #:1844



 1 discussed above, Defendants contracted for excessive and commercially unreasonable
 2 services by having Dr. Coon proctor in Irvine, California, and by having Dr. Moran
 3 proctor in Europe.
 4        Defendants’ Misuse of Data Collection Registries to Provide Kickbacks to
          Doctors
 5
          170. The Defendants’ data collection program provided additional kickbacks
 6
   to doctors using Pipelines. Through this “program,” the Defendants paid doctors
 7
   between $1,000 and $1,500 for small amounts of patient data. Very little of this data
 8
   had any market value at all. In fact, as explained below due to deliberate flaws in the
 9
   studies based on these data registries, approximately eighty percent of this data had
10
   absolutely no market value at all because it was unnecessary for the studies’ ostensible
11
   purposes.
12
          171. These payments were disguised as compensation for useful services
13
   rendered by the physicians, but like payments under the proctor program constituted
14
   kickbacks to encourage Pipeline usage.
15
          172. The Defendants required physicians to record only a small amount of
16
   data to be eligible for these payments, such as the size and location of the aneurysm,
17
   and the outcome of the operation. Recording the data did not take a significant amount
18
   of a physician’s time. The large payments made to physicians were disproportionate to
19
   the minimal services provided and had little practical value.
20
          173. Ostensibly, the Defendants’ data registry was a way for the Defendants to
21
   obtain information to track Pipelines’ performance. In fact, this program operated
22
   primarily as a marketing tool and a vehicle to give more money to doctors using
23
   Pipelines. The Defendants likely had little need for much of this data from doctors
24
   because the Defendants’ sales personnel attended nearly all procedures using
25
   Pipelines, and these sales personnel made detailed reports to the Defendants about the
26
   uses of Pipelines in such procedures. Thus, virtually all data obtained from physicians
27
28
                                              43
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 46 of 155 Page ID
                                   #:1845



 1 through the Defendants’ data collection program was already in the Defendants’
 2 possession.
 3         174. Whereas the more substantial kickbacks the Defendants gave to
 4 incentivize the doctors using the most Pipelines amount individually to hundreds of
 5 thousands of dollars, those given to doctors using the registry were smaller but were
 6 handed out to doctors who used a few or even a single pipeline. For each use of a
 7 single $14,000 Pipeline, the Defendants would pay a kickback of between $1,000 and
 8 $1,500 for “data collection.”
 9         175. Most problematic, though, much of the data had absolutely no market
10 value based on deliberate, built-in, Defendant-constructed design flaws in the studies
11 using the registries’ data.
12         176. The Defendants’ data collection kickbacks related to two so-called
13 studies conducted by the Defendants – the IntrePED (Exhibit 9) and ASPIRe (Exhibit
14 13) studies, both of which employed data registries. Collectively, Defendants paid
15 doctors for the data for close to 1,000 patients in conjunction with these two studies.
16 (And the doctors who benefitted most (as the purported authors of Defendants’
17 published studies based on this data) were the doctors who often used Pipeline devices
18 such as Dr. Woodward, Dr. Orlando Diaz, and Dr. Josser Delgado Almandoz).
19         177. Providing information for use in the IntrePED study required little work
20 of the participating doctors.
21         178. IntrePED was a retrospective study, meaning that the treatment of
22 patients had already been completed, and the data from these treatments had already
23 been recorded in the patients’ medical files. Indeed, 38% of the patients reported on in
24 the study had been previously reported in existing medical literature. And the study
25 stated that “[t]he study sponsor [i.e., Covidien] was responsible for site management,
26 data management, statistical analysis, and safety re- porting.” The IntrePed study
27 required “no systematic imaging of patients . . . because sites were required to follow
28
                                               44
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 47 of 155 Page ID
                                   #:1846



 1 their standard procedures.” Nor did it require a follow-up protocol. To participate, a
 2 doctor, or that doctor’s assistant, merely needed to submit pre-existing patient data.
 3        179. Likewise, the ASPIRe study required little work from participating
 4 doctors. For it, the published study states that “vascular imaging was evaluated at an
 5 independent core laboratory for assessment of aneurysm occlusion and parent artery
 6 stenosis.” And furthermore, that the “observational registry was funded and supported
 7 by Covidien, with scientific oversight of the study steering committee members.”
 8        180. Furthermore, as discussed further below, the objectivity and scientific
 9 value of the ASPIRe study was further compromised by the fact that Defendants hired
10 conflicted companies owned by Pipeline proctor Dr. Britton Keith Woodward to
11 provide the imaging core lab services for it. As Ms. Pugh told Dr. Chao at a Society of
12 NeuroInterventional Surgery conference in 2017 at the Broadmoor luxury resort in
13 Colorado Springs, Colorado, the true purpose of these studies was to encourage
14 doctors to use more Pipelines.
15        181. One of the most revealing and egregious design flaws in these two
16 registries is that they were set up without any power study to determine how many
17 patients were needed to make the studies and their information statistically useful or
18 relevant. This was done intentionally by Defendants to justify payments to doctors for
19 all patient data even though if the studies had been properly designed, Defendants
20 would have known that approximately eighty percent of the data they paid doctors to
21 obtain had zero market value because it was unnecessary.
22        182. Based on his background, Dr. Chao is fully knowledgeable about what is
23 necessary to make a study statistically and otherwise useful. This background includes
24 Dr. Chao’s decades-long work at the FDA relating significantly to validating more
25 than 200 scientific studies – all of which unlike Defendants’ studies contained the
26 necessary power studies. Dr. Chao’s academic background also includes biology and
27 economics majors from Yale University, where Dr. Chao graduated summa cum
28
                                               45
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 48 of 155 Page ID
                                   #:1847



 1 laude, an MBA from New York University focused on finance and a public health
 2 degree from Columbia University. During this time, he took eight statistics classes,
 3 and is therefore highly familiar if not an expert in what constitutes a valid study based
 4 on statistical data. Based on his experience and expertise, Defendants’ studies were
 5 largely useless, and Defendants paid for far more data than they could possibly have
 6 made good use of.
 7         183. Before a medical device company undertakes a clinical trial, it must
 8 perform what is known as a power study. It does this to evaluate the number of
 9 patients it will need to obtain a statistically significant result in the trial. Otherwise,
10 the trial is worthless if too few patients enroll to demonstrate statistical significance,
11 and places patients in unnecessary danger if too many patients enroll.
12         184. Here, concerned about the efficacy of Defendants’ trials, Dr. Chao asked
13 Defendants’ employee Vitas Sipelis whether Medtronic ever performed a power study
14 for the IntrePED or ASPIRe studies. Sipelis told Dr. Chao that they did not.
15         185. That Defendants enrolled nearly 1,000 patients (and 1,113 aneurysms) in
16 these two studies without performing a power study to determine if that was an
17 appropriate number of patients is further evidence that these were not legitimate
18 studies, but instead operated to provide cover to give kickbacks to doctors who used
19 Pipelines.
20         186. Another reason to use a power study is that in most cases medical device
21 companies want to limit the number of subjects in a study because of the high cost of
22 performing a study. For many legitimate studies of experimental devices, companies
23 pay participating hospitals $10,000-$15,000 per subject, and the companies do not
24 receive compensation for the devices. But because IntrePED and ASPIRe were post-
25 market studies, meaning that Pipeline was already FDA approved, Defendants and
26 their affiliates received approximately $15,000 in sales revenue per Pipeline deployed
27 and only had to pay $1,000 per subject or per aneurysm. As many cases required
28
                                                 46
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 49 of 155 Page ID
                                   #:1848



 1 multiple Pipelines (most commonly from one to three per patient), Defendants were
 2 obtaining a substantial profit from each case enrolled in the IntrePED and ASPIRe
 3 studies despite their payments to participating doctors.
 4        187. Had Defendants done power studies, they would have learned that at least
 5 eighty percent of the data they paid doctors for had no market value whatsoever.
 6 Moreover, this conclusion that the IntrePED and ASPIRe studies operated to provide
 7 cover to give kickbacks to doctors who used Pipelines is further reinforced by the fact
 8 that Defendants and their affiliates began these two substantially overlapping studies
 9 at almost the exact same time.
10        188. Regarding the excessive data for each study, for comparison purposes,
11 other studies of products potentially competing with or comparable to Pipeline
12 enrolled approximately 100-200 patients each not the close to 1,000 patients (or 1,113
13 aneurysms) whose largely unnecessary data Defendants paid doctors to obtain.
14 Defendants and their affiliates’ own Pipeline study, Pipeline for Uncoilable or Failed
15 Aneurysms (PUFS), begun in October 2008, enrolled only 108 patients. Defendants’
16 competitor Stryker began its Safety and Effectiveness of an Intracranial Aneurysm
17 Embolization System for Treating Large or Giant Wide Neck Aneurysms (SCENT)
18 study in October 2012, which enrolled only 213 patients. Defendants’ competitor
19 Microvention-Terumo, Inc. began its Pivotal Study of the FRED Stent System in the
20 Treatment of Intracranial Aneurysms (FRED) study in July 2013 and enrolled only
21 145 patients. Microvention also performed the Safety and Efficacy Analysis of
22 FRED® Embolic Device in Aneurysm Treatment (SAFE) study beginning in July
23 2014 and enrolled only 100 patients. Defendants’ own Pipeline Flex With SHield
24 Technology Embolization - An International MulticEnter ObservationaL Post Market
25 StuDy (SHIELD) study, begun in March 2016, enrolled only 205 patients. And
26 Defendants’ Prospective Study on Embolization of Intracranial Aneurysms With
27
28
                                              47
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 50 of 155 Page ID
                                   #:1849



 1 Pipeline™ Embolization Device (PREMIER) study, begun in July 2014, enrolled only
 2 197 patients.
 3         189. Measured against these other studies of Pipelines or comparable
 4 products, IntrePED’s 793 patients (and 906 aneurysms) is a clearly excessive outlier,
 5 and more so when combined with the 191 patients of the largely redundant ASPIRe
 6 study. IntrePED could have demonstrated statistical significance with a small fraction
 7 of the patients enrolled.
 8         190. The PUFS study provides an informative comparison. PUFS began in
 9 2008, prior to Pipelines’ FDA approval. Therefore, in PUFS Defendants and their
10 affiliates did not receive any payment for each Pipeline used, and in fact had to pay
11 $10,000-$15,000 per subject. As such, Defendants and their affiliates performed a
12 power analysis to demonstrate that only 108 patients were needed to meet the study’s
13 goals to prove efficacy and safety at statistically significant levels. Thus, even if these
14 studies had any marginal purpose aside from their use in paying doctors, most of the
15 data accumulated as Defendants knew had no market value.
16         191. Additional limitations of the IntrePed and ASPIRe studies further
17 illustrate their limited value. Beyond the foregoing allegations regarding the
18 unnecessarily large patient enrollment in IntrePED and ASPIRe, additional facts
19 demonstrate the limited value of these two studies.
20         192. The IntrePED study began in March 2012 and ASPIRe in May 2012. The
21 IntrePED study enrolled 793 patients with 906 aneurysms. ASPIRe enrolled 191
22 patients with 207 aneurysms. Thus, in addition to being based on far too much data,
23 these two studies also were largely redundant because both related to similar subject
24 matter and had overlapping authors, and the same lead author Dr. David F. Kallmes.
25         193. Information pertaining to about 38% of the patients enrolled in IntrePED
26 had already been published in prior studies, calling into question the value of re-
27 publishing this data in the IntrePED study. Defendants essentially paid doctors to
28
                                               48
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 51 of 155 Page ID
                                   #:1850



 1 resubmit the same data provided in other publications for many of the cases.
 2 Furthermore, unlike other studies which study both effectiveness and safety, IntrePED
 3 only studied safety. And IntrePED did not seek to test a hypothesis as many studies
 4 do, but merely collected and published data.
 5        194. ASPIRe was published in a journal called Interventional Neurology
 6 which accepts almost all articles submitted for publication and is not highly regarded
 7 within the profession. And the ASPIRe publication in Interventional Neurology
 8 indicated no disclosures for conflict of interest (“The authors declare that there are no
 9 conflicts of interest to disclose”) when all the authors had received payments from
10 Defendants for submitting patient data. This is a glaring omission by the studies’
11 authors.
12        195. The Defendants also misused the IntrePed Registry to overcome doctors’
13 safety concerns and broaden Pipeline uses beyond those approved by the FDA. After
14 Pipeline was FDA approved in April 2011, doctors who were Pipelines’ first users
15 experienced relatively high stroke complications when using Pipelines. Some doctors
16 such as Dr. David Fiorella, the principal investigator for the COCOA (Complete
17 Occlusion of Coilable Aneurysms) study of Pipelines begun by Chestnut Medical
18 Technologies in October 2008, voiced concern over Pipeline safety because of high
19 bleed rates. Therefore, when Pipeline was eventually approved by the FDA in 2011, it
20 obtained only a very limited indication, which had the potential to severely limit use
21 and sales of Pipeline. Defendants utilized registry studies in part to encourage doctors
22 to overcome their safety concerns and to expand the use of Pipelines from its narrow,
23 approved indication.
24        196. The Defendants misuse of their registries to pay kickbacks to induce
25 Pipeline usage and promote sales appears to be part of a pattern of conduct. In or
26 about December 2018, Covidien agreed to pay $13 million to resolve civil liability for
27 allegedly paying kickbacks to induce the use of its Solitaire mechanical thrombectomy
28
                                              49
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 52 of 155 Page ID
                                   #:1851



 1 device. The Solitaire device is intended to restore blood flow and retrieve a blood clot
 2 in certain stroke patients.
 3        197. According to the Department of Justice press release relating to the
 4 settlement:
 5        The United States alleged that Covidien caused false claims to be
          submitted to Medicare and Medicaid by paying kickbacks to hospitals and
 6        institutions to induce them to use Covidien’s Solitaire device. Specifically,
 7        the United States alleged that after receiving FDA clearance for the
          Solitaire device, Covidien launched a registry to pay hospitals and
 8        institutions to collect data about user experiences with the device. For
 9        about two years beginning in August 2014, Covidien paid a fee to hospitals
          and institutions that participated in a registry each time they used a new
10        Solitaire device and reported certain clinical data about their practices for
11        treating stroke patients to Covidien. Covidien solicited certain hospitals
          and institutions for the registry in order to convert their business from the
12        competitor’s product and/or persuade them to continue using Covidien
13        products, and knowingly and willfully used the registry as a means of
          increasing device sales.
14
          198. According to a statement published by Medtronic at the time, the conduct
15
   at issue related to the Systematic Evaluation of Patients Treated With Stroke Devices
16
   for Acute Ischemic Stroke (STRATIS) study. That study began in August 2014 and
17
   enrolled 984 patients.
18
          199. Like IntrePED and ASPIRe, the STRATIS study was an observational
19
   registry dedicated to one of Defendants’ products, and medical providers were offered
20
   payments to participate.
21
          200. The Defendants payments of kickbacks through their IntrePED and
22
   ASPIRe registries does not qualify for AKS Safe Harbor Protection. As discussed
23
   above, the Anti-Kickback statue provides a severely limited “safe harbor” for personal
24
   service arrangements which requires, among other things, that:
25        The aggregate compensation paid to the agent over the term of the
26        agreement is set in advance, is consistent with fair market value in arms-
          length transactions and is not determined in a manner that takes into
27
28
                                              50
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 53 of 155 Page ID
                                   #:1852



 1         account the volume or value of any referrals or business between the
           parties for which payment may be made in whole or in part under
 2         Medicare, Medicaid or other Federal health care programs.
 3 42 C.F.R. § 1001.952(d)(5). This safe harbor also requires that:
 4         The aggregate services contracted for do not exceed those which are
 5         reasonably necessary to accomplish the commercially reasonable
           business purpose of the services.
 6
     42 C.F.R. § 1001.952(d)(7).
 7
           201. The Defendants do not meet these strict Safe Harbor requirements in
 8
     connection with their payments for doctors’ participation in the IntrePED or ASPIRe
 9
     registries, for at least two reasons, either of which is sufficient by itself to preclude
10
     safe harbor protection.
11
           202. First, the aggregate compensation paid to proctors was not consistent
12
     with fair market value in arms-length transactions, because, as described above,
13
     providing data for these studies required minimal work from the participating doctors.
14
     This is particularly true in the case of IntrePED, which was a retrospective study in
15
     which doctors provided information that had already been recorded from previous
16
     patient encounters. Paying $1,000-$1,500 per patient enrolled under these
17
     circumstances is not consistent with fair market value in arms-length transactions.
18
           203. Second, Defendants contracted with doctors for services that exceeded
19
     those which were reasonably necessary to accomplish the commercially reasonable
20
     business purpose of the IntrePED and ASPIRe studies. As discussed above,
21
     Defendants contracted for excessive and commercially unreasonable services by
22
     enrolling far more patients than was necessary in order to achieve statistically
23
   significant study results.
24        Defendants’ Awarding of Kickbacks to Favored Doctors as a Side or
25        Incidental Benefit to its Business-Driven Purchase of Lazarus Effect
26        204. In or about September 2015 Defendant Medtronic acquired Lazarus
27 Effect (“Lazarus”) for $100 million in an all-cash transaction. Although there appear
28
                                                  51
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 54 of 155 Page ID
                                   #:1853



 1 to have been some independent business purposes for this purchase, incidental to it,
 2 the Defendants provided kickbacks to select doctors.
 3        205. Then, Lazarus was developing a medical device called the Lazarus Cover
 4 device, “designed to wrap stent retriever devices with a novel nitinol mesh cover that
 5 folds over the retreiver [sic] during clot retrieval and ‘candy wraps’ the stent with the
 6 clot contained.” In simplified terms, the purpose of the device was to reduce the
 7 likelihood that blood clots would be released into a patient’s bloodstream during the
 8 process of removing a stent previously placed in a patient’s blood vessel.
 9        206. The Lazarus Cover device obtained CE approval in Europe in November
10 2014. At the time of Medtronic’s September 2015 acquisition of Lazarus, the Lazarus
11 Cover had not been FDA approved. The medical device regulatory approval process is
12 much different in Europe than in the United States. In Europe, devices don’t need
13 clinical data for CE approval. CE approval generally only requires lab testing and not
14 use in humans. Therefore, device companies often first get CE approval, and then
15 later try to get FDA approval. In fact, Lazarus was taken off the market in Europe in
16 or about 2018.
17        207. Medtronic announced its agreement to acquire Lazarus in a September
18 28, 2015 press release.
19        208. The CMS Open Payments database identifies 28 doctors as receiving
20 substantial “Royalty or License” payments from Medtronic Neurovascular on
21 September 24, 2015, totaling more than $28 million.
22        209. At the time of its acquisition, Lazarus had approximately 28 physician
23 investors, many of whom received shares in the company in exchange for their
24 involvement, work, or consulting with Lazarus and not because they had invested
25 money into Lazarus, and many of whom came to own their interests in Lazarus shortly
26 before its acquisition by Medtronic. Among the doctors who received payments in
27
28
                                               52
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 55 of 155 Page ID
                                   #:1854



 1 connection with Defendant Medtronic’s acquisition of Lazarus were Dr. J. Mocco, Dr.
 2 Adnan Siddiqui, Dr. David Levy, and Dr. Aquilla Turk.
 3         210. There is no practical reason for a company such as Lazarus to have 28
 4 physician advisors. Moreover, these physician advisors were involved in the fields of
 5 interventional neuroradiology, neurosurgery, interventional cardiology, neurology and
 6 radiology.
 7         211. Lazarus’ product was a neurological device so it is unclear why
 8 interventional cardiologists would be involved with the company. Moreover,
 9 approximately one-quarter of the physician advisors involved had no expertise in the
10 medical fields most relevant to Lazarus’ product.
11         212. Nonetheless, all of these “physician advisors” were in positions to be able
12 to cause or recommend the use of Medtronic products, either in their own practices or
13 at their affiliated institutions, and several of these doctors promoted the Lazarus
14 device to the broader medical community through publications. For example, Dr.
15 Siddiqui and Dr. Mocco performed and published a study purporting to demonstrate
16 the superiority of using the Lazarus cover device over stroke treatment with stent
17 retrievers without the Lazarus cover. The study, published in 2015, was titled “Stent
18 retriever thrombectomy with the Cover accessory device versus proximal protection
19 with a balloon guide catheter: in vitro stroke model comparison” and was published in
20 the Journal of NeuroInterventional Surgery (“JNIS”). There, Drs. Siddiqui and Mocco
21 both disclosed that they were consultants for Lazarus, and Dr. Siddiqui but not Dr.
22 Mocco disclosed “financial interests” in Lazarus.
23         213. Upon Medtronic’s purchase of Lazarus, Dr. Mocco received more than
24 $2 million and Dr. Siddiqui received almost $600,000.
25         214. In their article published in JNIS, Dr. Mocco and Dr. Siddiqui, using lab
26 models, described their methodology as follows: “after introducing fresh clot into the
27 middle cerebral artery, we compared rates of target vessel recanalization and
28
                                               53
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 56 of 155 Page ID
                                   #:1855



 1 embolization in new territories (areas in which clot had not been introduced) achieved
 2 with the Solitaire Flow Restoration (FR) stent retriever (Covidien, Irvine, California)
 3 in conjunction with the use of a conventional guide catheter (control group), a balloon
 4 guide catheter (BGC group), and the Cover device (Cover group).”
 5         215. The two doctors claimed to demonstrate that “[s]uccessful recanalization
 6 . . . was achieved in 50% of control cases, 45% of BGC cases, and 91% of Cover
 7 device cases,” i.e., that the Lazarus device has a 91% rate of good clot retrieval versus
 8 45%-50% when using the Solitaire stent retriever without the Lazarus Cover, or
 9 double the success rate. But, in fact, human studies near the same time with the
10 Solitaire stent retriever observed over 88% good recanalization. Furthermore,
11 removing blood clot from lab models is much easier than from real humans because of
12 the complexity of human anatomy and real clots.
13         216. Any company performing its due diligence on Lazarus as a potential
14 acquisition would have realized that the Mocco and Siddiqui study was unreliable,
15 because its reported 45%-50% successful recanalization using the Solitaire stent
16 retriever without the Lazarus Cover in a lab setting was absurdly low given that
17 human studies observed 88% good recanalization for the Solitaire without the Lazarus
18 Cover.
19         217. Any company performing its due diligence on Lazarus as a potential
20 acquisition would also have realized that the Cover was likely far less effective than
21 portrayed in the Mocco and Siddiqui study, in part due to the authors’ financial
22 conflicts of interest.
23         218. The conflicted Mocco and Siddiqui study was not the only reason to
24 doubt the effectiveness of the Lazarus Cover device. According to Defendants’
25 executive Stacy Pugh, doctors in Europe had serious problems with the Lazarus
26 device and particularly were not able to cover stent retrievers well using the device.
27 Since the Lazarus device received CE approval in Europe in November 2014,
28
                                               54
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 57 of 155 Page ID
                                   #:1856



 1 Medtronic should have known of these problems for almost a year by the time of the
 2 September 2015 Lazarus acquisition.
 3        219. At the outset of Medtronic’s negotiations to purchase Lazarus, Medtronic
 4 planned to pay an upfront fee of $15 million for the company, an additional $15
 5 million milestone payment if Lazarus earned $10 million in annual revenue, and an
 6 additional $20 million milestone payment if Lazarus earned $25 million in annual
 7 revenue.
 8        220. Based on the agreement as conceived, if – and only if – Lazarus met both
 9 milestones Medtronic would pay $50 million. But Medtronic then abruptly changed
10 its approach and agreed to purchase Lazarus for twice that amount, $100 million, with
11 the payment upfront for cash and with no contingencies or milestones based on FDA
12 approval, revenues, or any other metrics (which contingencies or milestones were
13 often included in acquisitions of medical device startup companies).
14        221. Brett Wall, who at the time was President of Medtronic’s neurovascular
15 division made the arrangements for this purchase. Based on what Medtronic personnel
16 told Dr. Chao, Mr. Wall had authority to make acquisitions of up to $100 million
17 without obtaining approval from Medtronic’s board.
18        222. According to Dr. Chao’s conversations with Medtronic personnel,
19 Medtronic budgeted $100 million for the acquisition, which it had to spend. This
20 budgeting consideration arose partially in connection with Medtronic’s acquisition of
21 Covidien and later corporate restructuring and was partially driven by tax reasons.
22        223. On September 28, 2015, several months after the Covidien acquisition
23 was completed, Medtronic announced that “it has completed an internal restructuring
24 of the ownership of certain legacy Covidien businesses that reduces the cash and
25 investments held by Medtronic’s U.S.-controlled non-U.S. subsidiaries . . . As a result
26 of the Restructuring, approximately $9.8 billion (or approximately $9.3 billion net of
27 tax) of cash, cash equivalents and investments in marketable debt and equity securities
28
                                              55
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 58 of 155 Page ID
                                   #:1857



 1 previously held by U.S.-controlled non-U.S. subsidiaries is available for general
 2 corporate purposes.”
 3        224. Medtronic’s earlier acquisition of Covidien and the ensuing corporate
 4 restructuring involved a tax inversion, whereby Medtronic’s headquarters for tax
 5 purposes was moved from Minneapolis, Minnesota to Dublin, Ireland, to obtain lower
 6 corporate tax rates.
 7        225. As such, Medtronic had been planning to acquire Lazarus, but also had a
 8 budget surplus that it felt it had to be spent. To make use of these funds, Medtronic
 9 therefore raised its purchase price for Lazarus to $100 million upfront, in order to
10 achieve the secondary goal of inducing Lazarus’ physician advisors to cause or
11 recommend the use of Medtronic products including Pipelines.
12        226. Judging by the subsequent use of Medtronic products by Lazarus
13 physician advisors and their institutions, Medtronic’s attempt to induce doctors to use
14 its products through the generous acquisition price for Lazarus was successful.
15        227. According to an internal Medtronic presentation titled “FY17Q1 Sales
16 Region meeting,” Medtronic neurovascular (the Medtronic business unit that acquired
17 Lazarus) was the fastest growing business within Medtronic during its 2016 fiscal
18 year, growing revenue at 34% or $81.6 million.
19        228. Dr. Yves Gobin, who received almost $13 million in the Lazarus
20 acquisition, is the senior neuro-interventional radiologist at Cornell New York
21 Hospital which is part of the New York Presbyterian system. Dr Athos Patsalides
22 trained and later worked at Cornell New York Hospital, and also received over $300k
23 from Medtronic’s Lazarus acquisition. Medtronic neurovascular sales to New York
24 Presbyterian increased 338% (or $3.3 million) in the 2016 fiscal year. Medtronic
25 neurovascular Pipeline sales to New York Presbyterian increased 224% (or $1.4
26 million) in the 2016 fiscal year, and Axium coil sales increased 1902% (or $392,000).
27
28
                                               56
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 59 of 155 Page ID
                                   #:1858



 1        229. The increases in Medtronic neurovascular sales to New York
 2 Presbyterian are likely attributable to Cornell New York Hospital. Columbia
 3 Presbyterian Medical Center is the other major hospital in the New York Presbyterian
 4 system. According to Dr Meyers, most of the aneurysms treated at Columbia
 5 Presbyterian Medical Center are still clipped instead of using coils or Pipelines.
 6 Therefore, Columbia Presbyterian Medical Cen likely maintained stable purchase
 7 volume from Medtronic neurovascular in the 2016 fiscal year.
 8        230. Other medical centers affiliated with the physician advisors who received
 9 large payments from Medtronic in the Lazarus acquisition also had notable increases
10 in Medtronic neurovascular product usage in Medtronic’s 2016 fiscal year.
11        231. The University of Tennessee (affiliated with Dr. Adam Arthur, who
12 received over $70,000 in the Lazarus acquisition) had Medtronic neurovascular “Core
13 – NP” sales increase 241% (or $589,000) in the 2016 fiscal year.
14        232. Mount Sinai (affiliated with Drs. J Mocco, Alejandro Berenstein,
15 Johanna Fifi, and Joshua Bederson, who respectively received $2.2 million, $1.6
16 million, $98,000, and $571,000 in the Lazarus acquisition) had Medtronic
17 neurovascular “Core – NP” sales increase 81% (or $419,000) in the 2016 fiscal year.
18        233. Methodist Hospital (affiliated with Drs. John Gurian and Walter Zink,
19 who respectively received $357,000 and $140,000 in the Lazarus acquisition) had
20 Medtronic neurovascular total sales increase 83% (or $1.5 million), and “Core – NP”
21 sales increase 87% (or $813,000) in the 2016 fiscal year.
22        234. Northwestern (affiliated with Dr. Harish Shownkeen, who received over
23 $280,000 in the Lazarus acquisition) had Medtronic neurovascular Pipeline sales
24 increase 133% (or $505,000) in the 2016 fiscal year.
25        235. Kaleida Health-Buffalo General (affiliated with Dr. Adnan Siddiqui, who
26 received over $593,000 in the Lazarus acquisition) had Medtronic neurovascular
27
28
                                               57
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 60 of 155 Page ID
                                   #:1859



 1 Pipeline sales increase 35% (or $226,000), and stroke products sales increase 107%
 2 (or $305,000) in the 2016 fiscal year.
 3        236. Long Beach Memorial (affiliated with Dr. Satoshi Tateshima, who
 4 received over $44,000 in the Lazarus acquisition) had Medtronic neurovascular stroke
 5 products sales increase 65% (or $308,000) in the 2016 fiscal year.
 6        237. This partial list of substantial sales increases to the home institutions of
 7 Lazarus physician advisors shows that such institutions collectively increased
 8 Medtronic purchases by millions of dollars in Medtronic’s fiscal year 2016, following
 9 the September 2015 Lazarus acquisition.
10        238. The “Core” devices referred to above were wires, catheters, and
11 Medtronic’s Onyx product. There were no significant changes in these “core” devices
12 in 2015 and 2016. Therefore, the sales growth observed for these devices at University
13 of Tennessee and Mount Sinai suggests a significant shift in these institutions’ device
14 usage to Medtronic and away from competitors’ products. Similarly coils such as
15 Defendants’ Axium product are essentially interchangeable commodities without
16 significant variation among competing manufacturers, and therefore the dramatic
17 1902% ($392,000) increase in Medtronic’s fiscal year 2016 coil sales to New York
18 Cornell suggests a pronounced shift from Cornell using competitors’ coils to
19 Medtronic’s.
20        239. The Lazarus Cover device never even obtained FDA approval. And in
21 2018, only three years after acquiring Lazarus, Medtronic shelved its previously stated
22 plans to develop Lazarus’ products or technology.
23        240. Ms. Pugh and other Medtronic employees attributed the failure of
24 Lazarus to the fact that most doctors came to use longer stent retrievers (such as 40
25 mm length stent retrievers), for which the Lazarus Cover device was less effective.
26 But that explanation is not persuasive because if the Lazarus device did in fact double
27 the effectiveness of clot retrieval (as promoted by the 2015 Mocco and Siddiqui
28
                                               58
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 61 of 155 Page ID
                                   #:1860



 1 study), doctors would have continued to use shorter 30 mm stent retriever devices to
 2 obtain the enormous benefits of the Lazarus Cover.
 3         Other Benefits That Defendants Gave to Doctors
 4         241. Defendants also distributed kickbacks to doctors to induce Pipeline usage
 5 through fellowships, grants, and other means.
 6         242. Defendants claimed that their decisions to award such perquisites were
 7 made by an independent NeuroVascular Medical Board. But this board’s decisions
 8 were primarily influenced by Defendants’ sales personnel particularly Mr. Zehren and
 9 Ms. Pugh.
10         243. As an example of Defendants’ doling out of research roles as a form of
11 kickback payment, Defendants gave Dr. Ricardo Hanel the role of principal
12 investigator in Defendants’ Prospective Study on Embolization of Intracranial
13 Aneurysms with Pipeline Embolization Device (PREMIER) study as a reward for
14 using Defendants’ products. As another example, Defendants gave companies
15 controlled by Dr. Britton Keith Woodward the role of core lab for the PREMIER
16 study as a reward for Dr. Woodward’s use of Defendants’ products.
17         244. Similarly, Defendant sales’ personnel were largely responsible for the
18 funding of other perquisites to doctors and hospitals identified as likely to use their
19 products, including $700,000 for a seven-year fellowship funded by Defendants and
20 awarded to Dr. Reza Jahan and UCLA Health.
21         245. Defendants also funded neurointerventional fellowships for University of
22 Colorado, the Barrow Neurological Institute in Phoenix, the Harborview Medical
23 Center in Seattle, and to institutions affiliated with proctors Dr. Christopher Moran
24 (Washington University in St. Louis) and Dr. Demetrius Lopes (in Chicago).
25         246. If a fellowship host institution that was funded by Defendants decreased
26 its usage of Defendants’ Pipelines, the Defendants would decrease or decline to renew
27
28
                                               59
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 62 of 155 Page ID
                                   #:1861



 1 their funding for such fellowships. In addition to providing funding for fellowships,
 2 Defendants also provided funds to doctors or institutions through grants.
 3        247. In short, Defendants used grants to encourage use of Pipelines and other
 4 of Defendants’ products, and Defendants would decrease the amount of a grant if an
 5 applicant used fewer of Defendants’ products.
 6        248. In addition, as demonstrated in Exhibit 12, hospitals affiliated with
 7 Pipeline proctors were among the Defendants’ best customers.3 Furthermore, a
 8 comparably large portion of all hospitals that purchased any Pipelines were affiliated
 9 with at least one proctor. Hospitals affiliated with proctors such as Dr. Woodward
10 (Fort Sanders Regional Medical Center) and Dr. Moran (Barnes-Jewish Hospital) also
11 purchased substantial amounts of Pipelines. Medtronic’s data regarding its top 20
12 customers for its 2016 and 2015 fiscal years (reproduced in Exhibit 11) confirms that
13 proctors’ home institutions were consistently among the top Pipeline purchasers.
14        249. Besides Defendants’ kickback payments made directly to physicians, the
15 Defendants provided lucrative compensation to at least two companies owned and
16 operated by a Pipeline proctor, Dr. Woodward, one of which was retained to fill the
17 role of an ostensibly unbiased, independent adjudicator to assess the results of a study
18 performed by the Defendants.
19        250. Aside from the hundreds of thousands of dollars in kickbacks Defendants
20 paid to his companies, between 2013 and 2015, defendants directly paid Dr.
21 Woodward more than $250,000 from Defendants broken down as follows: $40,353,47
22 in 2013; $83,588.62 in 2014; and $133,641.23 in 2015.
23        251. During this three-year period alone, Dr. Woodward’s companies also
24 received more than $380,000 from Defendants for the ostensible purpose of
25
          3
26         NYU Langone Medical Center, Westchester County Medical Center,
   Jefferson Hospital for Neuroscience, Rush University Medical Center, Medical
27 University Hospital Authority, St. Joseph’s Hospital and Medical Center.
28
                                              60
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 63 of 155 Page ID
                                   #:1862



 1 performing core image lab services related to Pipeline studies. Through the
 2 Defendants’ substantial kickback payments made to Dr. Woodward (directly as a
 3 proctor and indirectly through his companies) and putting him and Defendants in an
 4 ethically conflicted position, the results of this study could have been compromised
 5 and endangered patients.
 6        252. Dr. Britton Keith Woodward works in Knoxville, Tennessee, where he is
 7 affiliated with Fort Sanders Regional Medical Center, the Neurovascular Research
 8 Center of East Tennessee, and Vista Radiology, P.C.
 9        253. Besides serving as a Pipeline proctor, Dr. Woodward has been a paid
10 speaker for the Defendants. In or about 2012 Dr. Woodward spoke at Covidien’s
11 national sales meeting at the luxury resort Pelican Hill in Newport Beach, California.
12 He also spoke at the Defendants’ national training courses at Green Valley Ranch, a
13 luxury resort-spa-casino near Las Vegas, Nevada. Moreover, Dr. Woodward has
14 financial interests in two companies that have provided image core lab services to
15 medical device companies, including the Defendants.
16        254. An imaging core lab is a laboratory that provides centralized quality
17 control and assessment of medical images. Imaging core labs are frequently used by
18 medical device manufacturers to aid in evaluating results of clinical studies, which
19 may include images received from numerous testing sites. The imaging core lab
20 serves the useful function of providing expert and consistent image interpretation.
21        255. An imaging core lab also is supposed to provide independent analysis,
22 which Woodward’s companies did not provide here. Academic studies have
23 demonstrated that bias in interpreting clinical study results can be extreme,
24 particularly regarding company-sponsored studies. Such bias results in significant
25 over-reporting of a product’s efficacy, and significant under-reporting of a product’s
26 safety risks.
27
28
                                              61
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 64 of 155 Page ID
                                   #:1863



 1        256. Dr. Woodward founded Cascade Medical, LLC (“Cascade”), a Tennessee
 2 limited liability company. Organized in June 2010, Cascade became inactive in
 3 August 2014. Cascade had two members, one of whom was Dr. Woodward, and
 4 provided imaging core lab services to medical device companies. From March 31,
 5 2014 through October 30, 2014, Cascade received $101,790 in payments from
 6 Defendant Covidien LP reported as relating to “flow diversion,” i.e., Pipelines. These
 7 payments related to Cascade’s work on two of the Defendants’ studies, PUFS
 8 (Pipeline for Uncoilable or Failed Aneurysms) and ASPIRe (Aneurysm Study of
 9 Pipeline in an Observational Registry).
10        257. In August 2014, Dr. Woodward founded Oculus Imaging, LLC
11 (“Oculus”), a Tennessee limited liability company, whose two members apparently
12 were Woodward and his wife. In 2014 and 2015, Defendants Covidien LP and
13 Medtronic (through its Medtronic Neurovascular division) paid Oculus close to
14 $300,000 for several studies of Defendants’ devices.
15        258. One study, the PREMIER study, was conducted at two clinical sites:
16 Baptist Medical Center in Jacksonville, Florida, and Tampa General Hospital in
17 Tampa, Florida. The study’s enrollment was 197 patients. To be included in the study,
18 patients must have had an intracranial aneurysm located in the anterior or posterior
19 circulation, and the aneurysm must have a wide neck.
20        259. The PREMIER study targeted a much wider group of aneurysms than
21 were approved for Pipeline use under the FDA’s prior indication, which required an
22 aneurysm to be (i) located in the C2-C6 segment of the internal carotid artery, (ii)
23 wide necked, and (iii) 10 mm in diameter or greater. The aim of the broader focus was
24 to support Defendants’ request to the FDA to approve this device for an expanded
25 indication for Pipelines, which the FDA granted in February 2019.
26        260. The Defendants hired Oculus as the study’s “independent” core lab
27 adjudicator. In this role, Oculus was supposed to serve as an unbiased interpreter of
28
                                               62
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 65 of 155 Page ID
                                   #:1864



 1 the images produced by the study’s clinical sites, to determine the effectiveness of
 2 Pipelines in treating the aneurysms observed in the study.
 3         261. The Defendants’ payment of substantial kickbacks to Dr. Woodward,
 4 including payments under the proctor program, casts serious doubt on whether Oculus
 5 acted as an independent adjudicator.
 6         262. Substantial monetary payments to Dr. Woodward stemming from his
 7 cozy relationship with Defendants likely resulted in millions of dollars in FCA claims
 8 (due to Dr. Woodward’s high volume of Pipeline use over many years).
 9         DEFENDANTS CAUSED THE SUBMISSION OF FALSE CLAIMS TO
10         FEDERAL AND STATE HEALTH CARE PROGRAMS
11         263. Defendants knowingly caused to be submitted thousands of false claims
12 to federal and state agencies because of the Defendants’ payment of illegal kickbacks.
13        264. A defendant is liable under the FCA and corresponding state laws where
14 the following elements are present: (i) a claim that defendants caused to be made to
15 the government, or a record related to a claim, (ii) which claim or record is false, (iii)
16 which claim or record defendants knew was false, and (iv) which claim or record is
17 material. Knowingly under the FCA means with actual knowledge, acting in
18 deliberate ignorance or acting in reckless disregard of the truth. Here, any claim for
19 payment from a government health care program that includes Pipelines or related
20 services resulting from the Defendants’ payment of kickbacks constitutes a false claim
21 for purposes of the FCA. See 42 U.S.C. §1320a-7b(g).
22         265. Any certification of compliance with the Anti-Kickback statute made on

23 a Provider Agreement (Form CMS-855) or Hospital Cost Report (Form CMS-2552)
24 for Medicare, and any similar certification made to Medicaid or other government
25 health care programs, constituted a false record if made by a physician or institution in
26 connection with a use of Pipelines tainted by kickback payments from the Defendants.
27
28
                                                63
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 66 of 155 Page ID
                                   #:1865



 1        266. Defendants knew, or were deliberately ignorant or reckless in not
 2 knowing, the falsity of these claims and records. As large, legally sophisticated
 3 medical device companies the Defendants are experienced with applicable laws
 4 regarding the AKS.
 5        267. The Defendants’ knowledge of their violation of the AKS is
 6 demonstrated in part by their attempts to conceal kickbacks and to disguise kickbacks
 7 as legitimate compensation for services provided by doctors.
 8        268. Defendants’ false claims and records are material because they have a
 9 natural tendency to influence the decisions of the United States whether to reimburse
10 kickback-induced uses of Pipelines, and whether to accept physicians’ and hospitals’
11 certifications of compliance with applicable laws including the AKS.
12        Value of False Claims Submitted to Medicare And Medicaid
13        269. The Defendants’ Pipeline sales have been paid for approximately 25% by
14 Medicaid, approximately 25% by Medicare, and approximately 50% either privately
15 or by other federal and state health care programs.
16        270. The Defendants’ kickback practices have caused the submission of false
17 claims.
18        271. Each year covered by this action, Medicare and Medicaid paid at least
19 hundreds of thousands of dollars of false claims relating to at least hundreds of
20 Pipelines that are tainted by kickbacks. In addition, Defendants caused the submission
21 of false statements in support of such claims and doctors affiliated with Defendants
22 submitted false claims and statements in support of false claims as well.
23        272. While it is not feasible to describe all such false claims in detail in this
24 Complaint, and the details of many such claims are not entirely in Dr. Chao’s
25 possession, clear cut indicia that Defendants submitted such claims and representative
26 examples of the claims illustrate the Defendants’ pattern of causing physicians and
27
28
                                               64
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 67 of 155 Page ID
                                   #:1866



 1 hospitals to make false claims and to submit false records, both of which are subject to
 2 FCA liability.
 3        273. For example, Dr. Moran is a participant in the proctor program. While
 4 proctoring a Pipeline operation in 2015 at Kaiser Permanente Los Angeles Medical
 5 Center, Dr. Moran told Dr. Chao that he uses Pipelines for almost all aneurysms
 6 regardless of the aneurysm’s location, and that he uses Pipelines for almost all his
 7 aneurysm patients.
 8        274. Records from the Center for Medicare and Medicaid Services show that
 9 Dr. Moran performed and supervised numerous operations using Pipelines during
10 2012-2014.
11        275. CMS maintains a database reflecting medical procedures provided to
12 Medicare beneficiaries. This database lists information regarding types of procedures
13 performed, number of procedures performed, and the physician performing the
14 procedure. The CMS database assigns numerical codes to different procedures using
15 the Healthcare Common Procedure Coding System (“HCPCS”), which itself is based
16 on a code set called Current Procedural Terminology (“CPT”).
17        276. The code 61624 is the CPT and HCPCS code used for performance of a
18 procedure that seeks to occlude, or block off, an aneurysm, such as a procedure using
19 a Pipeline. The code 75894 is the CPT and HCPCS code used for radiological
20 supervision and interpretation of such a procedure (i.e. the use of imaging technology
21 to monitor the placement of a Pipeline in a patient).
22        277. The Defendants publish a Pipeline Embolization Device Coding and
23 Reimbursement Guide, which lists various medical billing codes commonly
24 associated with use of Pipelines. This guide is intended as a reference for physicians
25 and hospital staff tasked with obtaining reimbursement for use of Pipelines. The guide
26 lists different CPT codes applicable to use of Pipelines. The most prominently
27 featured code in the guide is 61624 relating to “Transcatheter permanent occlusion or
28
                                              65
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 68 of 155 Page ID
                                   #:1867



 1 embolization” Another code listed by the guide is 75894-26 relating to “Transcatheter
 2 therapy, embolization, any method, radiological supervision and interpretation” (the “-
 3 26” modifier code denotes services performed by a physician, as opposed to a
 4 different technician).
 5        278. The CMS database indicates that during 2012-2014 Dr. Moran performed
 6 68 services billed to Medicare under the HCPCS code 61624, for “Occlusion of
 7 abnormal artery” and 75 services billed to Medicare under the HCPCS code 75894,
 8 for “Radiological supervision and interpretation.” The annual figures are broken out in
 9 the table below.
10        Code Procedure                                    2012 2013 2014 Total
          61624 Occlusion of abnormal artery                  18   34   16   68
11
          75894 Radiological supervision and                  22   34   19   75
12              interpretation
13        Table 1. Medicare procedures billed by Dr. Moran during 2012-2014
14        279. It is common for a single operation to be billed under multiple codes.
15 Most or all the 68 “occlusion” cases reflected above probably relate to the same
16 patients and operations as the 75 “supervision” cases.
17        280. Based on these 75 operations billed to Medicare by a participant in the
18 Defendants’ proctor program, and based on the proctor’s statement to Dr. Chao that he
19 uses Pipelines in almost all his aneurysm cases, Dr. Moran performed or assisted in
20 roughly 70 operations billed to Medicare during 2012-2014 that used Pipelines.
21        281. Each of these roughly 70 Pipeline operations was tainted by kickbacks,
22 due to Dr. Moran’s receipt of hundreds of thousands of dollars from the Defendants.
23 As discussed above, using the proctor program and data collection program, the
24 Defendants made payments to participating physicians. Data on these payments is
25 available from the CMS Open Payments database, which collects information on
26 payments from medical device companies to physicians, along with data about the
27 products that these payments relate to.
28
                                             66
 Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 69 of 155 Page ID
                                  #:1868



 1         282. The Open Payments data show that during 2013-2015 Dr. Moran
 2 received 340 payments relating to “pipeline” or “flow diversion” devices, totaling
 3 over $200,000 from Defendants Covidien LP, Covidien Sales LLC, Medtronic
 4 Vascular, Inc., and Medtronic (through its Medtronic Neurovascular division). Most
 5 of these payments relate to Dr. Moran’s participation in the proctor program. The
 6 following table summarizes the payments to Dr. Moran by the Defendants.
 7       Payor                                 2013      2014      2015      Total
         Covidien LP                         969.68 30,892.71         0 31,862.39
 8
         Covidien Sales LLC              107,064.57 21,134.44         0 128,199.01
 9       Medtronic Neurovascular                  0         0 45,050.75 45,050.75
10       Medtronic Vascular, Inc.                 0         0    598.13     598.13
         Total                           108,034.25 52,027.15 45,648.88 205,710.28
11
        Table 2. Defendants’ Pipeline payments to Dr. Moran
12
           283. Exhibit 2 contains a more detailed table showing each of the 340
13
     payments received by Dr. Moran from the Defendants during this period that are listed
14
     as relating to “flow diversion” or “pipelines.” The payments occur frequently, and
15
     many are in the thousands of dollars.
16
           284. As shown in Exhibit 2, these 340 documented payments fall under the
17
     following categories: (i) food and beverage (total $5,817), (ii) compensation for
18
     services (total $117,329), (iii) travel and lodging (total $60,222), (iv) royalty or
19
     license payments (total $1,200), and (v) consulting fees (total $21,140).
20
           285. Dr. Moran traveled frequently in trips paid for by the Defendants,
21
     including to popular vacation and resort destinations. Dr. Moran’s travel for the
22
     Defendants took him throughout the United States to popular vacation destinations
23
     such as Miami and San Francisco, and to exotic international destinations such as
24
     Buenos Aires, Argentina; Nice, France; and Madrid, Spain.4 At each of these
25
26
           4
27             See supra note 1 regarding international travel data.
28
                                                  67
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 70 of 155 Page ID
                                   #:1869



 1 international destinations the Defendants provided travel and lodging. A primary
 2 purpose for such travel was to provide a substantial personal benefit to Dr. Moran in
 3 exchange for his use and promotion of Pipelines.
 4        286. The above two tables confirm the relationship between Pipeline related
 5 procedures performed by a physician and payments by the Defendants to that
 6 physician. The Medicare billing data in Table 1 show that Dr. Moran performed
 7 roughly twice the number of Pipeline procedures in 2013 as in 2014. The payments
 8 data in Table 2 show that the Defendants paid Dr. Moran roughly twice as much in
 9 2013 as in 2014.
10        287. Further confirming that these payments relate to Dr. Moran’s use of
11 Pipelines, the payments to Dr. Moran from Covidien entities ceased and payments
12 from Medtronic entities began at the beginning of 2015, precisely when Medtronic
13 acquired Covidien and the Pipelines business.
14        288. Dr. Moran began receiving payments from Defendant Medtronic USA,
15 Inc. in 2016 and continued to receive such payments through at least 2019. Dr. Moran
16 received $129,289.25 in payments from Medtronic USA, Inc. listed as relating to
17 “Pipeline” or “Flow Diversion” in 2016 alone.
18        289. Dr. Moran received kickbacks from the Defendants, and performed
19 numerous operations using Pipelines. Medicare (and almost certainly other federal and
20 state health care programs) paid substantial amounts for Dr. Moran’s Pipeline-related
21 services, and for the Pipelines used in these operations, all of which were tainted by
22 the Defendants’ kickbacks.
23        290. Medicare’s payment for Dr. Moran’s Pipeline related services can be
24 easily verified and documented by the false records Defendants caused to be
25 submitted to Medicare. First, each of the approximately 70 Pipeline operations billed
26 by Dr. Moran to Medicare under HCPCS codes 61624 and 75894 during 2012-2014 is
27 almost certainly recorded in a Form CMS-1500 submitted to Medicare. In addition to
28
                                               68
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 71 of 155 Page ID
                                   #:1870



 1 identifying Dr. Moran as the physician and the relevant Pipeline related HCPCS
 2 codes, these forms include information about the patient, the date of the procedure, the
 3 hospital, and the patient’s insurance coverage. These Forms CMS-1500 are rendered
 4 false by Dr. Moran’s receipt of kickback payments, and by the Defendants’ payment
 5 of kickback payments.
 6         291. Each of these approximately 70 Pipeline operations is would be reflected
 7 in interim hospital reimbursement forms (Form CMS-1450) and Hospital Cost
 8 Reports (Form CMS-2552). While Dr. Moran may have performed Pipeline
 9 operations at different hospitals, it appears that he performed many such procedures at
10 his home institution of Barnes-Jewish Hospital in St. Louis, Missouri.
11         292. Medtronic’s sales data show that Barnes-Jewish Hospital is among the
12 largest purchasers of Pipelines, accounting for $163,900 of Pipeline sales in the fiscal
13 quarter ended April 29, 2015, and $242,600 of Pipeline sales in the fiscal quarter
14 ended April 29, 2016 (see Exhibit 12).
15         293. Because of the Defendants’ kickback scheme, any interim hospital
16 reimbursement forms and Hospital Cost Reports submitted by Barnes-Jewish Hospital
17 that reflect Pipeline procedures performed by Dr. Moran are false claims. Such
18 Hospital Cost Reports contain express falsehoods, because they require the signatory
19 to certify that the services represented in the report comply with health care laws and
20 regulations, including the Anti-Kickback statute.
21         294. Any Medicare Provider Agreements (Form CMS-855I) in effect for Dr.
22 Moran during the 2012-2014 period when these approximately 70 Pipeline operations
23 were billed to Medicare also constitute false records that give rise to false claims. Like
24 the Hospital Cost Report, the Provider Agreement requires its signatory to certify
25 compliance with Medicare laws, including the Anti-Kickback statute. Because of Dr.
26 Moran’s participation in the Defendants’ kickback scheme, these Provider
27 Agreements represent false claims.
28
                                               69
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 72 of 155 Page ID
                                   #:1871



 1         295. Dr. Moran is one of many doctors who received kickbacks from the
 2 Defendants and used Pipelines in their medical practice. CMS data indicates that
 3 during 2013-2015 alone the Defendants made 8,484 payments related to “flow
 4 diversion” or “pipelines,” to hundreds of different doctors (including Dr. Moran),
 5 totaling more than $5.7 million. Exhibit 1 contains a list of likely proctors with the
 6 total dollar amounts paid to them by the Defendants during 2013-2015. The Pipeline
 7 related claim forms and provider agreements submitted by these proctor physicians
 8 and their hospitals are additional false records that the Defendants caused to be
 9 submitted to Medicare, and the claims submitted by these physicians and hospitals are
10 additional false claims that Defendants caused to be made to Medicare.
11         296. Similarly to Dr. Moran, publicly available Medicare data shows that
12 other doctors who participated in Defendants’ Pipeline proctor program received large
13 payments from the Defendants relating to Pipelines, and very likely billed Pipeline
14 related procedures to Medicare.
15         297. For example, the following table shows payments from the Defendants to
16 Dr. Woodward over 2013-2017 relating to “Pipelines” or “Flow Diversion”:
17      Payor                     2013      2014      2015      2016       2017    Total
        Covidien LP                 $0       $48        $0        $0         $0      $48
18      Covidien Sales LLC     $40,353   $83,541        $0        $0         $0 $123,895
        Medtronic
19      Neurovascular               $0        $0 $133,641          $0        $0 $133,641
20      Medtronic USA, Inc.         $0        $0       $0     $27,753    $3,706 $31,459
        Total                  $40,353   $83,589 $133,641     $27,753    $3,706 $289,042
21
           298. And the following table shows procedures performed by Dr. Woodward
22
     and billed to Medicare during 2013-2017 that likely involved the use of Pipelines
23
     based on their HCPCS procedure codes:
24
25
26
27
28
                                               70
 Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 73 of 155 Page ID
                                  #:1872



 1              Code / Procedure             2013     2014    2015    2016     2017 Total
                61624 Occlusion of
 2              abnormal artery                 0        0      13      14      14          41
                75894 Radiological
 3              supervision and
 4              interpretation                  0        0      13      14      16          43

 5         299. As another example, the following table shows payments from the

 6 Defendants to Dr. Coon over 2013-2017 relating to “Pipelines” or “Flow Diversion”:
        Payor                         2013     2014          2015      2016          2017    Total
 7      Covidien LP                   $268   $1,180            $0        $0            $0   $1,449
 8      Covidien Sales LLC         $62,868 $122,229            $0        $0            $0 $185,097
        Medtronic
 9      Neurovascular                  $0       $0       $94,321          $0         $0          $94,321
        Medtronic USA, Inc.            $0       $0            $0     $54,755    $16,976          $71,731
10
        Medtronic Vascular,
11      Inc.                            $0       $0           $0          $0        $66      $66
        Total                      $63,136 $123,409      $94,321     $54,755    $17,041 $352,663
12
           300. And the following table shows procedures performed by Dr. Coon and
13
     billed to Medicare during 2013-2017 that likely involved the use of Pipelines based on
14
     their HCPCS procedure codes:
15      Code / Procedure             2013     2014           2015      2016          2017         Total
16      61624 Occlusion of
        abnormal artery                53       37             40        41            36           207
17      75894 Radiological
18      supervision and
        interpretation                  0       37             40        40            36           153
19
           301. Dr. Moran, Dr. Woodward, and Dr. Coon are merely examples of doctors
20
     who (i) received large Pipeline related payments from the Defendants, (ii) very likely
21
     billed Pipeline related procedures to Medicare, and (iii) participated in Defendants’
22
     proctor program. Many other doctors, some of which are discussed in this Complaint,
23
     also fit this same pattern.
24
           A.     Evidence Of False Claims Submitted To State Health Care Programs
25
           302. Medicaid is a partnership between state and federal government, and
26
     Medicaid claims are reimbursed jointly by the states and the United States. As such,
27
28
                                                    71
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 74 of 155 Page ID
                                   #:1873



 1 when false claims relating to Pipelines are submitted to Medicaid, these claims
 2 constitute false claims for purposes of the relevant state health care programs.
 3        303. Payments under the proctor program from the Defendants to physicians
 4 residing in different states establish that the Defendants’ kickback scheme was active
 5 in each of the states discussed in this Complaint. Therefore, it is highly likely that the
 6 health care programs run by these states paid false claims for Pipelines as a direct
 7 result of the Defendants’ fraudulent conduct.
 8        304. As discussed above, the Defendants made kickback payments to
 9 physicians participating in the proctor program and the data collection program. Data
10 on some of these payments is available from the CMS Open Payments database.
11        305. The following table shows the amounts of payments made from the
12 Defendants to doctors in each relevant state during 2013-2015, reported as relating to
13 Defendants’ “flow diversion” and “pipeline” products. States not discussed in this
14 complaint are omitted from the table.
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                72
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 75 of 155 Page ID
                                   #:1874



 1       State                     Total             State              Total
                                   Payments                             Payments
 2       California                 184,369.01       Minnesota              259,602.11
 3       Colorado                   109,899.58       Montana                     460.09
         Connecticut                  2,901.17       Nevada                    7,324.90
 4       Delaware                        190.39      New Jersey               45,866.51
 5       District of Columbia        35,839.65       New Mexico                  886.74
         Florida                    785,761.24       New York               992,112.97
 6       Georgia                      6,339.69       North Carolina         150,361.41
 7       Hawaii                          384.75      Oklahoma                  8,168.97
         Illinois                    49,080.04       Rhode Island                 93.92
 8
         Indiana                         490.65      Tennessee              324,949.00
 9       Iowa                         5,376.67       Texas                  182,466.29
10       Louisiana                   15,744.07       Vermont                     703.69
         Massachusetts               34,527.99       Virginia               212,532.33
11       Michigan                    21,535.82       Washington               53,979.63
12     Table 3. Defendants’ payments to doctors by state 2013-2015
13         306. In addition to the evidence of the Defendants’ multi-state kickback
14 scheme presented in Table 3, likely participants in the Defendants’ proctor program
15 have resided in most of these states as demonstrated in Exhibit 1. Also, likely proctors
16 are affiliated with hospitals in most of these states, and such hospitals are known to
17 purchase large amounts of Pipelines (as shown in Exhibit 12).
18         307. As discussed above, Medicaid paid an unknown but large amount,
19 believed to be at least in the hundreds of thousands of dollars, for Pipeline uses that
20 were tainted by the Defendants’ kickbacks.
21         308. Based on these figures, and the nationwide scope of the Defendants’
22 proctor program, (i) physicians in each of these states received kickbacks from the
23 Defendants, (ii) these physicians used Pipelines as intended by the Defendants, and
24 (iii) these physicians and their hospitals made related false claims to their respective
25 state governments.
26
27
28
                                               73
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 76 of 155 Page ID
                                   #:1875



 1                                          Count I
 2                                 Federal False Claims Act
 3                         31 U.S.C. §3729(a)(1)(A) and (a)(1)(B)
 4        309. Dr. Chao re-alleges and incorporates by reference the allegations
 5 contained in the paragraphs above.
 6        310. This is a claim for treble damages and penalties for each false claim and
 7 each false statement under the False Claims Act, 31 U.S.C. §3729, et seq., as
 8 amended.
 9        311. Because of the acts described above, the Defendants knowingly
10 presented or caused to be presented, false or fraudulent claims to the United States
11 Government for payment or approval.
12        312. Because of the acts described above, the Defendants knowingly made,
13 used, or caused to be made or used false records and statements, and omitted
14 material facts, to induce the Government to approve and pay such false and
15 fraudulent claims.
16        313. Each sale of Pipelines that resulted from the Defendants’ illegal
17 kickbacks represents a false or fraudulent record or statement. Each claim form,
18 provider agreement, cost report, or other such form submitted to the Government
19 from Pipeline sales resulting from the Defendants’ illegal kickbacks is also a false or
20 fraudulent record or statement. Each claim for reimbursement for such kickback-
21 induced sales submitted to a federal health insurance program represents a false or
22 fraudulent claim for payment.
23        314. Dr. Chao cannot now identify each and every false claim for payment
24 that was caused by the Defendants’ conduct. The false claims were presented by
25 hundreds or thousands of separate entities, across the United States, and over several
26 years. Dr. Chao has no control over or dealings with such entities and has no access
27 to the records in their possession.
28
                                              74
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 77 of 155 Page ID
                                   #:1876



 1        315. The Government, unaware of the falsity of the records, statements and
 2 claims made or caused to be made by the Defendants, paid and continues to pay the
 3 claims that would not be paid but for the Defendants’ illegal kickbacks.
 4        316. Because of Defendants’ acts, the United States has been damaged, and
 5 continues to be damaged, in substantial amount to be determined at trial. Federal
 6 health insurance programs have paid at least hundreds of claims amounting to at
 7 least hundreds of thousands of dollars, for sales that were illegally induced by the
 8 Defendants’ kickbacks.
 9                                          Count II
10                               California False Claims Act
11                        Cal. Gov’t Code §12561(a)(1) and (a)(2)
12        317. Dr. Chao re-alleges and incorporates by reference the allegations
13 contained in the paragraphs above.
14        318. This is a claim for treble damages and penalties under the California
15 False Claims Act.
16        319. Because of the acts described above, the Defendants knowingly
17 presented or caused to be presented, false or fraudulent claims to the California State
18 Government for payment or approval.
19        320. Because of the acts described above, the Defendants knowingly made,
20 used or caused to be made or used false records and statements, and omitted material
21 facts, to induce the California State Government to approve and pay such false and
22 fraudulent claims.
23        321. The California State Government, unaware of the falsity of the records,
24 statements and claims made, used, presented or caused to be made, used or presented
25 by the Defendants, paid and continues to pay the claims that would not be paid but
26 for the Defendants’ illegal kickbacks.
27
28
                                               75
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 78 of 155 Page ID
                                   #:1877



 1          322. Because of the Defendants’ acts, the State of California has been
 2 damaged, and continues to be damaged, in substantial amount to be determined at
 3 trial.
 4                                          Count III
 5                           Colorado Medicaid False Claims Act
 6                       Colo. Rev. Stat. §25.5-4-305(1)(a) and (1)(b)
 7          323. Dr. Chao re-alleges and incorporates by reference the allegations
 8 contained in the paragraphs above.
 9          324. This is a claim for treble damages and penalties under the Colorado
10 Medicaid False Claims Act.
11          325. Because of the acts described above, the Defendants knowingly
12 presented or caused to be presented, false or fraudulent claims to the Colorado State
13 Government for payment or approval.
14          326. Because of the acts described above, the Defendants knowingly made,
15 used or caused to be made or used false records and statements, and omitted material
16 facts, to induce the Colorado State Government to approve and pay such false and
17 fraudulent claims.
18          327. The Colorado State Government, unaware of the falsity of the records,
19 statements and claims made, used, presented or caused to be made, used or presented
20 by the Defendants, paid and continues to pay the claims that would not be paid but
21 for the Defendants’ illegal kickbacks.
22          328. Because of the Defendants’ acts, the State of Colorado has been
23 damaged, and continues to be damaged, in substantial amount to be determined at
24 trial.
25
26
27
28
                                               76
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 79 of 155 Page ID
                                   #:1878



 1                                         Count IV
 2                              Connecticut False Claims Act
 3                         Conn. Gen. Stat. §4-275(a)(1) and (a)(2)
 4          329. Dr. Chao re-alleges and incorporates by reference the allegations
 5 contained in the paragraphs above.
 6          330. This is a claim for treble damages and penalties under the Connecticut
 7 False Claims Act.
 8          331. Because of the acts described above, the Defendants knowingly
 9 presented or caused to be presented, false or fraudulent claims to the Connecticut
10 State Government for payment or approval.
11          332. Because of the acts described above, the Defendants knowingly made,
12 used or caused to be made or used false records and statements, and omitted material
13 facts, to induce the Connecticut State Government to approve and pay such false and
14 fraudulent claims.
15          333. The Connecticut State Government, unaware of the falsity of the
16 records, statements and claims made, used, presented or caused to be made, used or
17 presented by the Defendants, paid and continues to pay the claims that would not be
18 paid but for the Defendants’ illegal kickbacks.
19          334. Because of the Defendants’ acts, the State of Connecticut has been
20 damaged, and continues to be damaged, in substantial amount to be determined at
21 trial.
22                                         Count V
23                        Delaware False Claims and Reporting Act
24                          Del. Code tit. 6, §1201(a)(1) and (a)(2)
25          335. Dr. Chao re-alleges and incorporates by reference the allegations
26 contained in the paragraphs above.
27
28
                                               77
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 80 of 155 Page ID
                                   #:1879



 1          336. This is a claim for treble damages and penalties under the Delaware
 2 False Claims and Reporting Act.
 3          337. Because of the acts described above, the Defendants knowingly
 4 presented or caused to be presented, false or fraudulent claims to the Delaware State
 5 Government for payment or approval.
 6          338. Because of the acts described above, the Defendants knowingly made,
 7 used or caused to be made or used false records and statements, and omitted material
 8 facts, to induce the Delaware State Government to approve and pay such false and
 9 fraudulent claims.
10          339. The Delaware State Government, unaware of the falsity of the records,
11 statements and claims made, used, presented or caused to be made, used or presented
12 by the Defendants, paid and continues to pay the claims that would not be paid but
13 for the Defendants’ illegal kickbacks.
14          340. Because of the Defendants’ acts, the State of Delaware has been
15 damaged, and continues to be damaged, in substantial amount to be determined at
16 trial.
17                                          Count VI
18                          District of Columbia False Claims Act
19                           D.C. Code §2-381.02(a)(1) and (a)(2)
20          341. Dr. Chao re-alleges and incorporates by reference the allegations
21 contained in the paragraphs above.
22          342. This is a claim for treble damages and penalties under the District of
23 Columbia False Claims Act.
24          343. Because of the acts described above, the Defendants knowingly
25 presented or caused to be presented, false or fraudulent claims to the District of
26 Columbia Government for payment or approval.
27
28
                                               78
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 81 of 155 Page ID
                                   #:1880



 1          344. Because of the acts described above, the Defendants knowingly made,
 2 used or caused to be made or used false records and statements, and omitted material
 3 facts, to induce the District of Columbia Government to approve and pay such false
 4 and fraudulent claims.
 5          345. The District of Columbia Government, unaware of the falsity of the
 6 records, statements and claims made, used, presented or caused to be made, used or
 7 presented by the Defendants, paid and continues to pay the claims that would not be
 8 paid but for the Defendants’ illegal kickbacks.
 9          346. Because of the Defendants’ acts, the District of Columbia has been
10 damaged, and continues to be damaged, in substantial amount to be determined at
11 trial.
12                                         Count VII
13                                 Florida False Claims Act
14                             Fla. Stat. §68.082(2)(a) and (2)(b)
15          347. Dr. Chao re-alleges and incorporates by reference the allegations
16 contained in the paragraphs above.
17          348. This is a claim for treble damages and penalties under the Florida False
18 Claims Act.
19          349. Because of the acts described above, the Defendants knowingly
20 presented or caused to be presented, false or fraudulent claims to the Florida State
21 Government for payment or approval.
22          350. Because of the acts described above, the Defendants knowingly made,
23 used or caused to be made or used false records and statements, and omitted material
24 facts, to induce the Florida State Government to approve and pay such false and
25 fraudulent claims.
26          351. The Florida State Government, unaware of the falsity of the records,
27 statements and claims made, used, presented or caused to be made, used or presented
28
                                               79
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 82 of 155 Page ID
                                   #:1881



 1 by the Defendants, paid and continues to pay the claims that would not be paid but
 2 for the Defendants’ illegal kickbacks.
 3          352. Because of the Defendants’ acts, the State of Florida has been damaged,
 4 and continues to be damaged, in substantial amount to be determined at trial.
 5                                        Count VIII
 6                        Georgia State False Medicaid Claims Act
 7                          Ga. Code §49-4-168.1(a)(1) and (a)(2)
 8          353. Dr. Chao re-alleges and incorporates by reference the allegations
 9 contained in the paragraphs above.
10          354. This is a claim for treble damages and penalties under the Georgia State
11 False Medicaid Claims Act.
12          355. Because of the acts described above, the Defendants knowingly
13 presented or caused to be presented, false or fraudulent claims to the Georgia State
14 Government for payment or approval.
15          356. Because of the acts described above, the Defendants knowingly made,
16 used or caused to be made or used false records and statements, and omitted material
17 facts, to induce the Georgia State Government to approve and pay such false and
18 fraudulent claims.
19          357. The Georgia State Government, unaware of the falsity of the records,
20 statements and claims made, used, presented or caused to be made, used or presented
21 by the Defendants, paid and continues to pay the claims that would not be paid but
22 for the Defendants’ illegal kickbacks.
23          358. Because of the Defendants’ acts, the State of Georgia has been
24 damaged, and continues to be damaged, in substantial amount to be determined at
25 trial.
26
27
28
                                               80
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 83 of 155 Page ID
                                   #:1882



 1                                          Count IX
 2                                Hawaii False Claims Act
 3                        Haw. Rev. Stat. §661-21(a)(1) and (a)(2)
 4        359. Dr. Chao re-alleges and incorporates by reference the allegations
 5 contained in the paragraphs above.
 6        360. This is a claim for treble damages and penalties under the Hawaii False
 7 Claims Act.
 8        361. Because of the acts described above, the Defendants knowingly
 9 presented or caused to be presented, false or fraudulent claims to the Hawaii State
10 Government for payment or approval.
11        362. Because of the acts described above, the Defendants knowingly made,
12 used or caused to be made or used false records and statements, and omitted material
13 facts, to induce the Hawaii State Government to approve and pay such false and
14 fraudulent claims.
15        363. The Hawaii State Government, unaware of the falsity of the records,
16 statements and claims made, used, presented or caused to be made, used or presented
17 by the Defendants, paid and continues to pay the claims that would not be paid but
18 for the Defendants’ illegal kickbacks.
19        364. Because of the Defendants’ acts, the State of Hawaii has been damaged,
20 and continues to be damaged, in substantial amount to be determined at trial.
21                                          Count X
22                                Illinois False Claims Act
23                   740 Ill. Comp. Stat. 175 / 3(a)(1)(A) and (a)(1)(B)
24        365. Dr. Chao re-alleges and incorporates by reference the allegations
25 contained in the paragraphs above.
26        366. This is a claim for treble damages and penalties under the Illinois False
27 Claims Act.
28
                                              81
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 84 of 155 Page ID
                                   #:1883



 1          367. Because of the acts described above, the Defendants knowingly
 2 presented or caused to be presented, false or fraudulent claims to the Illinois State
 3 Government for payment or approval.
 4          368. Because of the acts described above, the Defendants knowingly made,
 5 used or caused to be made or used false records and statements, and omitted
 6 material facts, to induce the Illinois State Government to approve and pay such
 7 false and fraudulent claims.
 8          369. The Illinois State Government, unaware of the falsity of the records,
 9 statements and claims made, used, presented or caused to be made, used or
10 presented by the Defendants, paid and continues to pay the claims that would not be
11 paid but for the Defendants’ illegal kickbacks.
12          370. Because of the Defendants’ acts, the State of Illinois has been
13 damaged, and continues to be damaged, in substantial amount to be determined at
14 trial.
15                                         Count XI
16           Indiana Medicaid False Claims and Whistleblower Protection Act
17                          Ind. Code §5-11-5.7-2(a)(1) and (a)(2)
18          371. Dr. Chao re-alleges and incorporates by reference the allegations
19 contained in the paragraphs above.
20          372. This is a claim for treble damages and penalties under the Indiana
21 Medicaid False Claims and Whistleblower Protection Act.
22          373. Because of the acts described above, the Defendants knowingly
23 presented or caused to be presented, false or fraudulent claims to the Indiana State
24 Government for payment or approval.
25          374. Because of the acts described above, the Defendants knowingly made,
26 used or caused to be made or used false records and statements, and omitted material
27
28
                                               82
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 85 of 155 Page ID
                                   #:1884



 1 facts, to induce the Indiana State Government to approve and pay such false and
 2 fraudulent claims.
 3          375. The Indiana State Government, unaware of the falsity of the records,
 4 statements and claims made, used, presented or caused to be made, used or presented
 5 by the Defendants, paid and continues to pay the claims that would not be paid but
 6 for the Defendants’ illegal kickbacks.
 7          376. Because of the Defendants’ acts, the State of Indiana has been
 8 damaged, and continues to be damaged, in substantial amount to be determined at
 9 trial.
10                                          Count XII
11                                  Iowa False Claims Act
12                            Iowa Code §685.2(1)(a) and (1)(b)
13          377. Dr. Chao re-alleges and incorporates by reference the allegations
14 contained in the paragraphs above.
15          378. This is a claim for treble damages and penalties under the Iowa False
16 Claims Act.
17          379. Because of the acts described above, the Defendants knowingly
18 presented or caused to be presented, false or fraudulent claims to the Iowa State
19 Government for payment or approval.
20          380. Because of the acts described above, the Defendants knowingly made,
21 used or caused to be made or used false records and statements, and omitted material
22 facts, to induce the Iowa State Government to approve and pay such false and
23 fraudulent claims.
24          381. The Iowa State Government, unaware of the falsity of the records,
25 statements and claims made, used, presented or caused to be made, used or presented
26 by the Defendants, paid and continues to pay the claims that would not be paid but
27 for the Defendants’ illegal kickbacks.
28
                                               83
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 86 of 155 Page ID
                                   #:1885



 1          382. Because of the Defendants’ acts, the State of Iowa has been damaged,
 2 and continues to be damaged, in substantial amount to be determined at trial.
 3                                        Count XIII
 4                 Louisiana Medical Assistance Programs Integrity Law
 5                           La. Rev. Stat. §46:438.3(A) and (B)
 6          383. Dr. Chao re-alleges and incorporates by reference the allegations
 7 contained in the paragraphs above.
 8          384. This is a claim for treble damages and penalties under the Louisiana
 9 Medical Assistance Programs Integrity Law.
10          385. Because of the acts described above, the Defendants knowingly
11 presented or caused to be presented, false or fraudulent claims to the Louisiana State
12 Government for payment or approval.
13          386. Because of the acts described above, the Defendants knowingly made,
14 used or caused to be made or used false records and statements, and omitted material
15 facts, to induce the Louisiana State Government to approve and pay such false and
16 fraudulent claims.
17          387. The Louisiana State Government, unaware of the falsity of the records,
18 statements and claims made, used, presented or caused to be made, used or presented
19 by the Defendants, paid and continues to pay the claims that would not be paid but
20 for the Defendants’ illegal kickbacks.
21          388. Because of the Defendants’ acts, the State of Louisiana has been
22 damaged, and continues to be damaged, in substantial amount to be determined at
23 trial.
24
25
26
27
28
                                               84
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 87 of 155 Page ID
                                   #:1886



 1                                        Count XIV
 2                             Massachusetts False Claims Act
 3                       Mass. Gen. Laws ch. 12, §5B(a)(1) and (a)(2)
 4          389. Dr. Chao re-alleges and incorporates by reference the allegations
 5 contained in the paragraphs above.
 6          390. This is a claim for treble damages and penalties under the
 7 Massachusetts False Claims Act.
 8          391. Because of the acts described above, the Defendants knowingly
 9 presented or caused to be presented, false or fraudulent claims to the Massachusetts
10 State Government for payment or approval.
11          392. Because of the acts described above, the Defendants knowingly made,
12 used or caused to be made or used false records and statements, and omitted material
13 facts, to induce the Massachusetts State Government to approve and pay such false
14 and fraudulent claims.
15          393. The Massachusetts State Government, unaware of the falsity of the
16 records, statements and claims made, used, presented or caused to be made, used or
17 presented by the Defendants, paid and continues to pay the claims that would not be
18 paid but for the Defendants’ illegal kickbacks.
19          394. Because of the Defendants’ acts, the State of Massachusetts has been
20 damaged, and continues to be damaged, in substantial amount to be determined at
21 trial.
22                                         Count XV
23                           Michigan Medicaid False Claim Act
24                              Mich. Comp. Laws §400.607(1)
25          395. Dr. Chao re-alleges and incorporates by reference the allegations
26 contained in the paragraphs above.
27
28
                                               85
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 88 of 155 Page ID
                                   #:1887



 1          396. This is a claim for treble damages and penalties under the Michigan
 2 Medicaid False Claim Act.
 3          397. Because of the acts described above, the Defendants knowingly
 4 presented or caused to be presented, false or fraudulent claims to the Michigan State
 5 Government for payment or approval.
 6          398. Because of the acts described above, the Defendants knowingly made,
 7 used or caused to be made or used false records and statements, and omitted material
 8 facts, to induce the Michigan State Government to approve and pay such false and
 9 fraudulent claims.
10          399. The Michigan State Government, unaware of the falsity of the records,
11 statements and claims made, used, presented or caused to be made, used or presented
12 by the Defendants, paid and continues to pay the claims that would not be paid but
13 for the Defendants’ illegal kickbacks.
14          400. By reason of the Defendants’ acts, the State of Michigan has been
15 damaged, and continues to be damaged, in substantial amount to be determined at
16 trial.
17                                        Count XVI
18                               Minnesota False Claims Act
19                           Minn. Stat. §15C.02(a)(1) and (a)(2)
20          401. Dr. Chao re-alleges and incorporates by reference the allegations
21 contained in the paragraphs above.
22          402. This is a claim for treble damages and penalties under the Minnesota
23 False Claims Act.
24          403. Because of the acts described above, the Defendants knowingly
25 presented or caused to be presented, false or fraudulent claims to the Minnesota
26 State Government for payment or approval.
27
28
                                               86
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 89 of 155 Page ID
                                   #:1888



 1          404. Because of the acts described above, the Defendants knowingly made,
 2 used or caused to be made or used false records and statements, and omitted material
 3 facts, to induce the Minnesota State Government to approve and pay such false and
 4 fraudulent claims.
 5          405. The Minnesota State Government, unaware of the falsity of the records,
 6 statements and claims made, used, presented or caused to be made, used or presented
 7 by the Defendants, paid and continues to pay the claims that would not be paid but
 8 for the Defendants’ illegal kickbacks.
 9          406. Because of the Defendants’ acts, the State of Minnesota has been
10 damaged, and continues to be damaged, in substantial amount to be determined at
11 trial.
12                                        Count XVII
13                                Montana False Claims Act
14                       Mont. Code Ann. §17-8-403(1)(a) and (1)(b)
15          407. Dr. Chao re-alleges and incorporates by reference the allegations
16 contained in the paragraphs above.
17          408. This is a claim for treble damages and penalties under the Montana
18 False Claims Act.
19          409. Because of the acts described above, the Defendants knowingly
20 presented or caused to be presented, false or fraudulent claims to the Montana State
21 Government for payment or approval.
22          410. Because of the acts described above, the Defendants knowingly made,
23 used or caused to be made or used false records and statements, and omitted material
24 facts, to induce the Montana State Government to approve and pay such false and
25 fraudulent claims.
26          411. The Montana State Government, unaware of the falsity of the records,
27 statements and claims made, used, presented or caused to be made, used or presented
28
                                               87
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 90 of 155 Page ID
                                   #:1889



 1 by the Defendants, paid and continues to pay the claims that would not be paid but
 2 for the Defendants’ illegal kickbacks.
 3          412. Because of the Defendants’ acts, the State of Montana has been
 4 damaged, and continues to be damaged, in substantial amount to be determined at
 5 trial.
 6                                        Count XIII
 7                                 Nevada False Claims Act
 8                         Nev. Rev. Stat. §357.040(1)(a) and (1)(b)
 9          413. Dr. Chao re-alleges and incorporates by reference the allegations
10 contained in the paragraphs above.
11          414. This is a claim for treble damages and penalties under the Nevada False
12 Claims Act.
13          415. Because of the acts described above, the Defendants knowingly
14 presented or caused to be presented, false or fraudulent claims to the Nevada State
15 Government for payment or approval.
16          416. Because of the acts described above, the Defendants knowingly made,
17 used or caused to be made or used false records and statements, and omitted material
18 facts, to induce the Nevada State Government to approve and pay such false and
19 fraudulent claims.
20          417. The Nevada State Government, unaware of the falsity of the records,
21 statements and claims made, used, presented or caused to be made, used or presented
22 by the Defendants, paid and continues to pay the claims that would not be paid but
23 for the Defendants’ illegal kickbacks.
24          418. Because of the Defendants’ acts, the State of Nevada has been
25 damaged, and continues to be damaged, in substantial amount to be determined at
26 trial.
27
28
                                               88
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 91 of 155 Page ID
                                   #:1890



 1                                        Count XIX
 2                               New Jersey False Claims Act
 3                           N.J. Rev. Stat. §2A:32C-3(a) and (b)
 4          419. Dr. Chao re-alleges and incorporates by reference the allegations
 5 contained in the paragraphs above.
 6          420. This is a claim for treble damages and penalties under the New Jersey
 7 False Claims Act.
 8          421. Because of the acts described above, the Defendants knowingly
 9 presented or caused to be presented, false or fraudulent claims to the New Jersey
10 State Government for payment or approval.
11          422. Because of the acts described above, the Defendants knowingly made,
12 used or caused to be made or used false records and statements, and omitted material
13 facts, to induce the New Jersey State Government to approve and pay such false and
14 fraudulent claims.
15          423. The New Jersey State Government, unaware of the falsity of the
16 records, statements and claims made, used, presented or caused to be made, used or
17 presented by the Defendants, paid and continues to pay the claims that would not be
18 paid but for the Defendants’ illegal kickbacks.
19          424. Because of the Defendants’ acts, the State of New Jersey has been
20 damaged, and continues to be damaged, in substantial amount to be determined at
21 trial.
22                                        Count XX
23                         New Mexico Medicaid False Claims Act
24                           N.M. Stat. Ann. §27-14-4(A) and (C)
25          425. Dr. Chao re-alleges and incorporates by reference the allegations
26 contained in the paragraphs above.
27
28
                                               89
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 92 of 155 Page ID
                                   #:1891



 1          426. This is a claim for treble damages and penalties under the New Mexico
 2 Medicaid False Claims Act.
 3          427. Because of the acts described above, the Defendants knowingly
 4 presented or caused to be presented, false or fraudulent claims to the New Mexico
 5 State Government for payment or approval.
 6          428. Because of the acts described above, the Defendants knowingly made,
 7 used or caused to be made or used false records and statements, and omitted material
 8 facts, to induce the New Mexico State Government to approve and pay such false
 9 and fraudulent claims.
10          429. The New Mexico State Government, unaware of the falsity of the
11 records, statements and claims made, used, presented or caused to be made, used or
12 presented by the Defendants, paid and continues to pay the claims that would not be
13 paid but for the Defendants’ illegal kickbacks.
14          430. Because of the Defendants’ acts, the State of New Mexico has been
15 damaged, and continues to be damaged, in substantial amount to be determined at
16 trial.
17                                        Count XXI
18                               New York False Claims Act
19                        N.Y. State Fin. Law §189(1)(a) and (1)(b)
20          431. Dr. Chao re-alleges and incorporates by reference the allegations
21 contained in the paragraphs above.
22          432. This is a claim for treble damages and penalties under the New York
23 False Claims Act.
24          433. Because of the acts described above, the Defendants knowingly
25 presented or caused to be presented, false or fraudulent claims to the New York
26 State Government for payment or approval.
27
28
                                               90
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 93 of 155 Page ID
                                   #:1892



 1          434. Because of the acts described above, the Defendants knowingly made,
 2 used or caused to be made or used false records and statements, and omitted material
 3 facts, to induce the New York State Government to approve and pay such false and
 4 fraudulent claims.
 5          435. The New York State Government, unaware of the falsity of the records,
 6 statements and claims made, used, presented or caused to be made, used or presented
 7 by the Defendants, paid and continues to pay the claims that would not be paid but
 8 for the Defendants’ illegal kickbacks.
 9          436. Because of the Defendants’ acts, the State of New York has been
10 damaged, and continues to be damaged, in substantial amount to be determined at
11 trial.
12                                        Count XXII
13                             North Carolina False Claims Act
14                          N.C. Gen. Stat. §1-607(a)(1) and (a)(2)
15          437. Dr. Chao re-alleges and incorporates by reference the allegations
16 contained in the paragraphs above.
17          438. This is a claim for treble damages and penalties under the North
18 Carolina False Claims Act.
19          439. Because of the acts described above, the Defendants knowingly
20 presented or caused to be presented, false or fraudulent claims to the North Carolina
21 State Government for payment or approval.
22          440. By virtue of the acts described above, the Defendants knowingly made,
23 used or caused to be made or used false records and statements, and omitted material
24 facts, to induce the North Carolina State Government to approve and pay such false
25 and fraudulent claims.
26          441. The North Carolina State Government, unaware of the falsity of the
27 records, statements and claims made, used, presented or caused to be made, used or
28
                                               91
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 94 of 155 Page ID
                                   #:1893



 1 presented by the Defendants, paid and continues to pay the claims that would not be
 2 paid but for the Defendants’ illegal kickbacks.
 3          442. Because of the Defendants’ acts, the State of North Carolina has been
 4 damaged, and continues to be damaged, in substantial amount to be determined at
 5 trial.
 6                                       Count XXIII
 7                          Oklahoma Medicaid False Claims Act
 8                        Okla. Stat. tit. 63, §5053.1(B)(1) and (B)(2)
 9          443. Dr. Chao re-alleges and incorporates by reference the allegations
10 contained in the paragraphs above.
11          444. This is a claim for treble damages and penalties under the Oklahoma
12 Medicaid False Claims Act.
13          445. Because of the acts described above, the Defendants knowingly
14 presented or caused to be presented, false or fraudulent claims to the Oklahoma State
15 Government for payment or approval.
16          446. Because of the acts described above, the Defendants knowingly made,
17 used or caused to be made or used false records and statements, and omitted material
18 facts, to induce the Oklahoma State Government to approve and pay such false and
19 fraudulent claims.
20          447. The Oklahoma State Government, unaware of the falsity of the records,
21 statements and claims made, used, presented or caused to be made, used or presented
22 by the Defendants, paid and continues to pay the claims that would not be paid but
23 for the Defendants’ illegal kickbacks.
24          448. Because of the Defendants’ acts, the State of Oklahoma has been
25 damaged, and continues to be damaged, in substantial amount to be determined at
26 trial.
27
28
                                               92
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 95 of 155 Page ID
                                   #:1894



 1                                       Count XXIV
 2                              Rhode Island False Claims Act
 3                          R.I. Gen. Laws §9-1.1-3(a)(1) and (a)(2)
 4          449. Dr. Chao re-alleges and incorporates by reference the allegations
 5 contained in the paragraphs above.
 6          450. This is a claim for treble damages and penalties under the Rhode Island
 7 False Claims Act.
 8          451. Because of the acts described above, the Defendants knowingly
 9 presented or caused to be presented, false or fraudulent claims to the Rhode Island
10 State Government for payment or approval.
11          452. Because of the acts described above, the Defendants knowingly made,
12 used or caused to be made or used false records and statements, and omitted material
13 facts, to induce the Rhode Island State Government to approve and pay such false
14 and fraudulent claims.
15          453. The Rhode Island State Government, unaware of the falsity of the
16 records, statements and claims made, used, presented or caused to be made, used or
17 presented by the Defendants, paid and continues to pay the claims that would not be
18 paid but for the Defendants’ illegal kickbacks.
19          454. Because of the Defendants’ acts, the State of Rhode Island has been
20 damaged, and continues to be damaged, in substantial amount to be determined at
21 trial.
22                                        Count XXV
23                          Tennessee Medicaid False Claims Act
24                    Tenn. Code Ann. §71-5-182(a)(1)(A) and (a)(1)(B)
25          455. Dr. Chao re-alleges and incorporates by reference the allegations
26 contained in the paragraphs above.
27
28
                                               93
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 96 of 155 Page ID
                                   #:1895



 1          456. This is a claim for treble damages and penalties under the Tennessee
 2 Medicaid False Claims Act.
 3          457. Because of the acts described above, the Defendants knowingly
 4 presented or caused to be presented, false or fraudulent claims to the Tennessee State
 5 Government for payment or approval.
 6          458. Because of the acts described above, the Defendants knowingly made,
 7 used or caused to be made or used false records and statements, and omitted material
 8 facts, to induce the Tennessee State Government to approve and pay such false and
 9 fraudulent claims.
10          459. The Tennessee State Government, unaware of the falsity of the records,
11 statements and claims made, used, presented or caused to be made, used or presented
12 by the Defendants, paid and continues to pay the claims that would not be paid but
13 for the Defendants’ illegal kickbacks.
14          460. Because of the Defendants’ acts, the State of Tennessee has been
15 damaged, and continues to be damaged, in substantial amount to be determined at
16 trial.
17                                       Count XXVI
18                          Texas Medicaid Fraud Prevention Act
19                          Tex. Hum. Res. Code Ann. §36.002(1)
20          461. Dr. Chao re-alleges and incorporates by reference the allegations
21 contained in the paragraphs above.
22          462. This is a claim for treble damages and penalties under the Texas
23 Medicaid Fraud Prevention Act.
24          463. Because of the acts described above, the Defendants knowingly
25 presented or caused to be presented, false or fraudulent claims to the Texas State
26 Government for payment or approval.
27
28
                                               94
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 97 of 155 Page ID
                                   #:1896



 1        464. Because of the acts described above, the Defendants knowingly made,
 2 used or caused to be made or used false records and statements, and omitted material
 3 facts, to induce the Texas State Government to approve and pay such false and
 4 fraudulent claims.
 5        465. The Texas State Government, unaware of the falsity of the records,
 6 statements and claims made, used, presented or caused to be made, used or presented
 7 by the Defendants, paid and continues to pay the claims that would not be paid but
 8 for the Defendants’ illegal kickbacks.
 9        466. Because of the Defendants’ acts, the State of Texas has been damaged,
10 and continues to be damaged, in substantial amount to be determined at trial.
11                                      Count XXVII
12                               Vermont False Claims Act
13                       Vt. Stat. Ann. tit. 32, §631(a)(1) and (a)(2)
14        467. Dr. Chao re-alleges and incorporates by reference the allegations
15 contained in the paragraphs above.
16        468. This is a claim for treble damages and penalties under the Vermont
17 False Claims Act.
18        469. Because of the acts described above, the Defendants knowingly
19 presented or caused to be presented, false or fraudulent claims to the Vermont State
20 Government for payment or approval.
21        470. Because of the acts described above, the Defendants knowingly made,
22 used or caused to be made or used false records and statements, and omitted material
23 facts, to induce the Vermont State Government to approve and pay such false and
24 fraudulent claims.
25        471. The Vermont State Government, unaware of the falsity of the records,
26 statements and claims made, used, presented or caused to be made, used or presented
27
28
                                              95
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 98 of 155 Page ID
                                   #:1897



 1 by the Defendants, paid and continues to pay the claims that would not be paid but
 2 for the Defendants’ illegal kickbacks.
 3          472. Because of the Defendants’ acts, the State of Vermont has been
 4 damaged, and continues to be damaged, in substantial amount to be determined at
 5 trial.
 6                                       Count XXIII
 7                          Virginia Fraud Against Taxpayers Act
 8                       Va. Code Ann. §8.01-216.3(A)(1) and (A)(2)
 9          473. Dr. Chao re-alleges and incorporates by reference the allegations
10 contained in the paragraphs above.
11          474. This is a claim for treble damages and penalties under the Virginia
12 Fraud Against Taxpayers Act.
13          475. Because of the acts described above, the Defendants knowingly
14 presented or caused to be presented, false or fraudulent claims to the Virginia State
15 Government for payment or approval.
16          476. Because of the acts described above, the Defendants knowingly made,
17 used or caused to be made or used false records and statements, and omitted material
18 facts, to induce the Virginia State Government to approve and pay such false and
19 fraudulent claims.
20          477. The Virginia State Government, unaware of the falsity of the records,
21 statements and claims made, used, presented or caused to be made, used or presented
22 by the Defendants, paid and continues to pay the claims that would not be paid but
23 for the Defendants’ illegal kickbacks.
24          478. Because of the Defendants’ acts, the State of Virginia has been
25 damaged, and continues to be damaged, in substantial amount to be determined at
26 trial.
27
28
                                               96
  Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 99 of 155 Page ID
                                   #:1898



 1                                        Count XXIX
 2                   Washington State Medicaid Fraud False Claims Act
 3                       Wash. Rev. Code §74.66.020(1)(a) and (1)(b)
 4          479. Dr. Chao re-alleges and incorporates by reference the allegations
 5 contained in the paragraphs above.
 6          480. This is a claim for treble damages and penalties under the Washington
 7 State Medicaid Fraud False Claims Act.
 8          481. Because of the acts described above, the Defendants knowingly
 9 presented or caused to be presented, false or fraudulent claims to the Washington
10 State Government for payment or approval.
11          482. Because of the acts described above, the Defendants knowingly made,
12 used or caused to be made or used false records and statements, and omitted material
13 facts, to induce the Washington State Government to approve and pay such false and
14 fraudulent claims.
15          483. The Washington State Government, unaware of the falsity of the
16 records, statements and claims made, used, presented or caused to be made, used or
17 presented by the Defendants, paid and continues to pay the claims that would not be
18 paid but for the Defendants’ illegal kickbacks.
19          484. Because of the Defendants’ acts, the State of Washington has been
20 damaged, and continues to be damaged, in substantial amount to be determined at
21 trial.
22                                  PRAYER FOR RELIEF
23          WHEREFORE, Dr. Chao prays for judgment against the Defendants as
24 follows:
25                (a)    that this Court enter judgment against Defendants in an amount
26          equal to three times the amount of damages the United States has sustained
27          because of Defendants’ actions plus a civil penalty for each violation of 31
28
                                                97
 Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 100 of 155 Page ID
                                  #:1899



 1       U.S.C. §3729 (as periodically increased by statutory inflation adjustments),
 2       plus pre and post-judgment interest at a rate of 10 percent per year;
 3             (b)    that this Court enter judgment against the Defendants in an
 4       amount equal to three times the amount of damages the State of California has
 5       sustained because of the Defendants’ actions plus a civil penalty for each
 6       violation of Cal. Gov’t Code §12561(a) plus interest;
 7             (c)    that this Court enter judgment against the Defendants in an
 8       amount equal to three times the amount of damages the State of Colorado has
 9       sustained because of the Defendants’ actions, plus a civil penalty for each
10       violation of Colo. Rev. Stat. §25.5-4-305(1), plus interest;
11             (d)    that this Court enter judgment against the Defendants in an
12       amount equal to three times the amount of damages the State of Connecticut
13       has sustained because of the Defendants’ actions plus a civil penalty for each
14       violation of Conn. Gen. Stat. §4-275(a) plus interest;
15             (e)    that this Court enter judgment against the Defendants in an
16       amount equal to three times the amount of damages the State of Delaware has
17       sustained because of the Defendants’ actions, plus a civil penalty for each
18       violation of Del. Code tit. 6, §1201(a), plus interest;
19             (f)    that this Court enter judgment against the Defendants in an
20       amount equal to three times the amount of damages the District of Columbia
21       has sustained because of the Defendants’ actions, plus a civil penalty for each
22       violation of D.C. Code §2-381.02(a), plus interest;
23             (g)    that this Court enter judgment against the Defendants in an
24       amount equal to three times the amount of damages the State of Florida has
25       sustained because of the Defendants’ actions, plus a civil penalty for each
26       violation of Fla. Stat. §68.082(2), plus interest;
27
28
                                               98
 Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 101 of 155 Page ID
                                  #:1900



 1             (h)    that this Court enter judgment against the Defendants in an
 2       amount equal to three times the amount of damages the State of Georgia has
 3       sustained because of the Defendants’ actions, plus a civil penalty for each
 4       violation of Ga. Code §49-4-168.1(a), plus interest;
 5             (i)    that this Court enter judgment against the Defendants in an
 6       amount equal to three times the amount of damages the State of Hawaii has
 7       sustained because of the Defendants’ actions, plus a civil penalty for each
 8       violation of Haw. Rev. Stat. §661-21(a), plus interest;
 9             (j)    that this Court enter judgment against the Defendants in an
10       amount equal to three times the amount of damages the State of Illinois has
11       sustained because of the Defendants’ actions, plus a civil penalty for each
12       violation of 740 Ill. Comp. Stat. 175 / 3(a)(1), plus interest;
13             (k)    that this Court enter judgment against the Defendants in an
14       amount equal to three times the amount of damages the State of Indiana has
15       sustained because of the Defendants’ actions, plus a civil penalty for each
16       violation of Ind. Code §5-11-5.7-2(a), plus interest;
17             (l)    that this Court enter judgment against the Defendants in an
18       amount equal to three times the amount of damages the State of Iowa has
19       sustained because of the Defendants’ actions, plus a civil penalty for each
20       violation of Iowa Code §685.2(1), plus interest;
21             (m)    that this Court enter judgment against the Defendants in an
22       amount equal to three times the amount of damages the State of Louisiana has
23       sustained because of the Defendants’ actions, plus a civil penalty for each
24       violation of La. Rev. Stat. §46:438.3, plus interest;
25             (n)    that this Court enter judgment against the Defendants in an
26       amount equal to three times the amount of damages the State of Massachusetts
27
28
                                              99
 Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 102 of 155 Page ID
                                  #:1901



 1       has sustained because of the Defendants’ actions, plus a civil penalty for each
 2       violation of Mass. Gen. Laws ch. 12, §5B(a), plus interest;
 3             (o)    that this Court enter judgment against the Defendants in an
 4       amount equal to three times the amount of damages the State of Michigan has
 5       sustained because of the Defendants’ actions, plus a civil penalty for each
 6       violation of Mich. Comp. Laws §400.612, plus interest;
 7             (p)    that this Court enter judgment against the Defendants in an
 8       amount equal to three times the amount of damages the State of Minnesota
 9       has sustained because of the Defendants’ actions, plus a civil penalty for each
10       violation of Minn. Stat. §15C.02(a), plus interest;
11             (q)    that this Court enter judgment against the Defendants in an
12       amount equal to three times the amount of damages the State of Montana has
13       sustained because of the Defendants’ actions, plus a civil penalty for each
14       violation of Mont. Code Ann. §17-8-403(1), plus interest;
15             (r)    that this Court enter judgment against the Defendants in an
16       amount equal to three times the amount of damages the State of Nevada has
17       sustained because of the Defendants’ actions, plus a civil penalty for each
18       violation of Nev. Rev. Stat. §357.040(1), plus interest;
19             (s)    that this Court enter judgment against the Defendants in an
20       amount equal to three times the amount of damages the State of New Jersey
21       has sustained because of the Defendants’ actions, plus a civil penalty for each
22       violation of N.J. Rev. Stat. §2A:32C-3, plus interest;
23             (t)    that this Court enter judgment against the Defendants in an
24       amount equal to three times the amount of damages the State of New Mexico
25       has sustained because of the Defendants’ actions, plus a civil penalty for each
26       violation of N.M. Stat. Ann. §27-14-4, plus interest;
27
28
                                             100
 Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 103 of 155 Page ID
                                  #:1902



 1             (u)    that this Court enter judgment against the Defendants in an
 2       amount equal to three times the amount of damages the State of New York has
 3       sustained because of the Defendants’ actions, plus a civil penalty for each
 4       violation of N.Y. State Fin. Law §189(1), plus interest;
 5             (v)    that this Court enter judgment against the Defendants in an
 6       amount equal to three times the amount of damages the State of North
 7       Carolina has sustained because of the Defendants’ actions, plus a civil penalty
 8       for each violation of N.C. Gen. Stat. §1-607(a), plus interest;
 9             (w)    that this Court enter judgment against the Defendants in an
10       amount equal to three times the amount of damages the State of Oklahoma has
11       sustained because of the Defendants’ actions, plus a civil penalty for each
12       violation of Okla. Stat. tit. 63, §5053.1(B), plus interest;
13             (x)    that this Court enter judgment against the Defendants in an
14       amount equal to three times the amount of damages the State of Rhode Island
15       has sustained because of the Defendants’ actions, plus a civil penalty for each
16       violation of R.I. Gen. Laws §9-1.1-3(a), plus interest;
17             (y)    that this Court enter judgment against the Defendants in an
18       amount equal to three times the amount of damages the State of Tennessee has
19       sustained because of the Defendants’ actions, plus a civil penalty for each
20       violation of Tenn. Code Ann. §71-5-182(a)(1), plus interest;
21             (z)    that this Court enter judgment against the Defendants in an
22       amount equal to three times the amount of damages the State of Texas has
23       sustained because of the Defendants’ actions, plus a civil penalty for each
24       violation of Tex. Hum. Res. Code Ann. §36.002, plus interest;
25             (aa)   that this Court enter judgment against the Defendants in an
26       amount equal to three times the amount of damages the State of Vermont has
27
28
                                              101
 Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 104 of 155 Page ID
                                  #:1903



 1        sustained because of the Defendants’ actions, plus a civil penalty for each
 2        violation of Vt. Stat. Ann. tit. 32, §631(a), plus interest;
 3              (bb) that this Court enter judgment against the Defendants in an
 4        amount equal to three times the amount of damages the State of Virginia has
 5        sustained because of the Defendants’ actions, plus a civil penalty for each
 6        violation of Va. Code Ann. §8.01-216.3(A), plus interest;
 7              (cc)    that this Court enter judgment against the Defendants in an
 8        amount equal to three times the amount of damages the State of Washington
 9        has sustained because of the Defendants’ actions, plus a civil penalty for each
10        violation of Wash. Rev. Code §74.66.020(1), plus interest;
11              (dd) that Dr. Chao be awarded the maximum amount allowed
12        pursuant to §3730(d) of the False Claims Act, and the equivalent provisions of
13        the state statutes set forth above;
14              (ee)    that Dr. Chao be awarded all costs of this action and interest
15        thereon, including attorneys’ fees and expenses; and
16              (ff)    that Dr. Chao recover such other relief as the Court deems just
17        and proper.
18                                     JURY DEMAND
19        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Dr. Chao hereby
20 demands a trial by jury.
21
22
23
24
25
26
27
28
                                                102
 Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 105 of 155 Page ID
                                  #:1904



 1 Dated: June 29, 2021              Respectfully submitted,
 2
 3
                                     By: /s/ Mark I. Labaton
 4                                   GLANCY PRONGAY & MURRAY LLP
 5                                   Mark I. Labaton (SBN 159555)
                                     mlabaton@glancylaw.com
 6                                   Garth A. Spencer (SBN 335424)
 7                                   gspencer@glancylaw.com
                                     1925 Century Park East, Suite 2100
 8                                   Los Angeles, California 90067
 9                                   Telephone: (310) 201-9150
                                     Facsimile: (310) 201-9160
10
11                                   Attorneys for Qui Tam Plaintiff
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                       103
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 106 of 155 Page ID
                                 #:1905



                                           Exhibit List

  Exhibit 1 -    Likely Participants in the Defendants’ Proctor Program During 2013-2015

  Exhibit 2 -    Payments from the Defendants to Dr. Moran Relating to “Pipelines” or “Flow
                 Diversion”

  Exhibit 3 -    [omitted]

  Exhibit 4 -    [omitted]

  Exhibit 5 -    2017 Pipeline Clinical Specialist Strategic Account Activities – POA Worksheet

  Exhibit 6 -    [omitted]

  Exhibit 7 -    [omitted]

  Exhibit 8 -    [omitted]

  Exhibit 9 -    International Retrospective Study of the Pipeline Embolization Device: A
                 Multicenter Aneurysm Treatment Study Published October 29, 2014

  Exhibit 10 -   [omitted]

  Exhibit 11 -   Medtronic FY 2017 Q1 Sales Region Meeting (excerpts)

  Exhibit 12 -   Medtronic Pipeline Customer Hospitals with Quarterly Sales and Associated
                 Proctors

  Exhibit 13 -   Aneurysm Study of Pipeline in an Observational Registry (ASPIRe) Published
                 May 26, 2016
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 107 of 155 Page ID
                                 #:1906




                  Exhibit 1
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 108 of 155 Page ID
            Likely Participants in the Defendants'
                                             #:1907Proctor Program During 2013-2015

First             Last                      City              State   Payments
Peter             Nelson                    New York          NY          355,691.34
John              Gaughen                   Charlottesville   VA          332,167.15
Alexander         Coon                      Baltimore         MD          280,866.47
Britton           Woodward                  Knoxville         TN          257,583.32
Stanley           Barnwell                  Portland          OR          249,080.15
Philipp           Taussky                   Salt Lake City    UT          219,310.52
Christopher       Moran                     Saint Louis       MO          205,710.28
Maksim            Shapiro                   New York          NY          200,909.47
Josser            Delgado Almandoz          Minneapolis       MN          191,651.98
Mohammad          Chaudry                   Charleston        SC          191,296.35
Guilherme         Dabus                     Miami             FL          191,093.26
Peter             Sunenshine                Tampa             FL          185,829.85
Tibor             Becske                    New York          NY          174,968.23
Curtis            Given                     Lexington         KY          162,083.39
Ricardo           Hanel                     Jacksonville      FL          148,247.12
Kevin             Cockroft                  Hershey           PA          122,756.84
Raymond           Turner                    Charleston        SC          122,739.27
Adnan             Siddiqui                  Buffalo           NY          121,506.89
Christian         Ramsey                    Lexington         KY          115,020.13
Daniel            Huddle                    Englewood         CO          106,593.85
Luis              Gonzalez                  Philadelphia      PA          101,572.96
Orlando           Diaz                      Houston           TX          100,845.60
Italo             Linfante                  Miami             FL           92,860.60
Eren              Erdem                     Little Rock       AR           77,724.76
David             Niemann                   Madison           WI           77,595.25
Avery             Evans                     Charlottesville   VA           62,090.80
David             Fiorella                  Stony Brook       NY           57,280.49
Sten              Solander                  Chapel Hill       NC           44,542.18
Rashid            Janjua                    Winston Salem     NC           43,607.20
Basavaraj         Ghodke                    Seattle           WA           43,227.29
Arash             Khalessi-Hosseini         San Diego         CA           42,141.62
Adam              Arthur                    Memphis           TN           40,003.93
Yasha             Kadkhodayan               Saint Louis       MO           39,121.26
Ciro              Randazzo                  Atlantic City     NJ           36,218.67
Elad              Levy                      Buffalo           NY           32,492.89
Gary              Duckwiler                 Los Angeles       CA           32,193.08
Michel            Mawad                     Houston           TX           30,504.40
William           Bank                      Washington        DC           22,929.58
Demetrius         Lopes                     Chicago           IL           22,386.23
Joe               Bernard                   Charlotte         NC           21,575.95
Alan              Reeves                    Kansas City       KS           19,502.01
Michael           Stiefel                   Valhalla          NY           19,397.65
Peter             Kan                       Houston           TX           19,288.92
Ali               Malek                     West Palm Beach   FL           18,502.61



                                        114
                                      Exhibit 1
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 109 of 155 Page ID
            Likely Participants in the Defendants'
                                             #:1908Proctor Program During 2013-2015

First                     Last                                City                    State     Payments
Jeremy                    Fields                              Clackamas               OR            18,455.20
Vijaykumar                Patel                               Knoxville               TN            17,147.26
Khalil                    Zahra                               Oradell                 NJ            16,788.84
Cameron                   McDougall                           Phoenix                 AZ            16,277.72
Amon                      Liu                                 Redwood City            CA            16,063.28
Mohammad Ali              Aziz-Sultan                         Boston                  MA            14,997.10
Pascal                    Jabbour                             Philadelphia            PA            14,776.32
Ajit                      Puri                                Boston                  MA            13,614.52
Arun                      Amar                                Belleville              NJ            12,717.60
Christopher               Koebbe                              San Antonio             TX             11,838.36
Andrew                    Stemer                              Washington              DC             11,661.01
Spiros                    Blackburn                           Gainesville             FL             11,192.83
Tom                       Yao                                 Louisville              KY             11,030.66
John                      Reavey-Cantwell                     Richmond                VA            10,521.62

                                                                                      Total          5,229,794.11

This list of likely participants in the Defendants' proctor program is derived from CMS Open Payments
Data available at https://openpaymentsdata.cms.gov

The city and state listed here for each physician is the most recent city and state of residence for that physician
that is listed in the Open Payments data through the end of 2015.

The amount of payments listed here for each physician is the total of the Defendants' payments to
the physician during the 2013-2015 period covered by the Open Payments data, for which the payments list
an associated covered product of "flow diversion" or "pipeline."




                                                        115
                                                      Exhibit 1
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 110 of 155 Page ID
                                 #:1909




                  Exhibit 2




                                     116
                                   Exhibit 2
                                                                                                    Payments from the Defendants to Dr. Moran Relating to "Pipelines" or "Flow Diversion"
                                                         Date                              Amount        Payor                        Type                          Travel City             Travel State
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 111 of 155 Page ID




                                                                                 8/27/13        41.05    Covidien LP                  Food and Beverage
                                                                                 8/28/13       985.69    Covidien Sales LLC           Compensation for services
                                                                                 8/28/13       810.69    Covidien Sales LLC           Compensation for services
                                                                                 8/30/13       510.69    Covidien Sales LLC           Compensation for services
                                                                                 8/30/13       510.69    Covidien Sales LLC           Compensation for services
                                                                                 9/11/13       100.00    Covidien Sales LLC           Compensation for services
                                                                                 9/12/13       255.40    Covidien Sales LLC           Compensation for services
                                                                                 9/12/13        10.00    Covidien Sales LLC           Compensation for services
                                                                                 9/12/13        10.00    Covidien Sales LLC           Compensation for services
                                                                                 9/12/13          3.00   Covidien Sales LLC           Compensation for services
                                                                                 9/17/13       377.28    Covidien Sales LLC           Compensation for services
                                                                                 9/18/13       155.94    Covidien Sales LLC           Compensation for services
                                                                                 9/18/13        31.19    Covidien LP                  Food and Beverage
                                                                                 9/18/13        10.00    Covidien Sales LLC           Compensation for services
                                                                                 9/18/13        10.00    Covidien Sales LLC           Compensation for services
                                 #:1910




                                                                                 9/18/13        10.00    Covidien Sales LLC           Compensation for services
                                                                                 9/18/13          3.00   Covidien Sales LLC           Compensation for services
                                                                                 9/18/13          0.80   Covidien LP                  Food and Beverage
                                                                                 9/19/13       231.65    Covidien Sales LLC           Compensation for services
                                                                                 9/19/13       200.75    Covidien Sales LLC           Compensation for services
                                                                                 9/19/13       168.69    Covidien Sales LLC           Compensation for services
                                                                                 9/20/13       327.29    Covidien Sales LLC           Compensation for services
                                                                                 9/20/13       292.48    Covidien Sales LLC           Compensation for services
                                                                                 9/20/13        10.00    Covidien Sales LLC           Compensation for services
                                                                                 9/20/13          1.00   Covidien Sales LLC           Compensation for services
                                                                                 9/21/13       194.56    Covidien Sales LLC           Compensation for services
                                                                                 9/23/13       156.69    Covidien Sales LLC           Compensation for services
                                                                                 9/23/13        10.81    Covidien LP                  Food and Beverage
                                                                                 9/24/13       127.07    Covidien Sales LLC           Compensation for services
                                                                                 9/24/13       116.44    Covidien Sales LLC           Compensation for services
                                                                                 9/25/13        65.48    Covidien LP                  Food and Beverage
                                                                                 9/26/13       141.12    Covidien Sales LLC           Compensation for services
                                                                                                                                                117
                                                                                                                                              Exhibit 2
                                                                                                     Payments from the Defendants to Dr. Moran Relating to "Pipelines" or "Flow Diversion"
                                                         Date                               Amount        Payor                        Type                          Travel City             Travel State
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 112 of 155 Page ID




                                                                                  9/26/13         20.76   Covidien LP                  Food and Beverage
                                                                                  9/27/13        349.77   Covidien Sales LLC           Compensation for services
                                                                                  9/27/13        133.55   Covidien Sales LLC           Compensation for services
                                                                                  10/2/13      5,100.00   Covidien Sales LLC           Compensation for services
                                                                                  10/9/13      7,200.00   Covidien Sales LLC           Compensation for services
                                                                                 10/11/13         10.00   Covidien Sales LLC           Compensation for services
                                                                                 10/11/13          1.00   Covidien Sales LLC           Compensation for services
                                                                                 10/16/13      7,200.00   Covidien Sales LLC           Compensation for services
                                                                                 10/16/13      3,681.37   Covidien Sales LLC           Compensation for services
                                                                                 10/16/13         44.06   Covidien LP                  Food and Beverage
                                                                                 10/17/13         10.00   Covidien Sales LLC           Compensation for services
                                                                                 10/17/13          1.00   Covidien Sales LLC           Compensation for services
                                                                                 10/18/13        224.45   Covidien Sales LLC           Compensation for services
                                                                                 10/18/13         10.00   Covidien Sales LLC           Compensation for services
                                                                                 10/18/13          2.00   Covidien Sales LLC           Compensation for services
                                 #:1911




                                                                                 10/19/13        144.26   Covidien Sales LLC           Compensation for services
                                                                                 10/20/13        492.30   Covidien Sales LLC           Compensation for services
                                                                                 10/20/13         10.00   Covidien Sales LLC           Compensation for services
                                                                                 10/20/13         10.00   Covidien Sales LLC           Compensation for services
                                                                                 10/20/13          1.00   Covidien Sales LLC           Compensation for services
                                                                                 10/21/13        306.78   Covidien Sales LLC           Travel and Lodging            Pittsburgh              PA
                                                                                 10/21/13        154.73   Covidien Sales LLC           Compensation for services
                                                                                 10/21/13        133.94   Covidien Sales LLC           Compensation for services
                                                                                 10/21/13         58.68   Covidien LP                  Food and Beverage
                                                                                 10/21/13         10.00   Covidien Sales LLC           Compensation for services
                                                                                 10/22/13        193.09   Covidien Sales LLC           Compensation for services
                                                                                 10/22/13        144.73   Covidien Sales LLC           Compensation for services
                                                                                 10/22/13        136.40   Covidien Sales LLC           Compensation for services
                                                                                 10/23/13     14,820.00   Covidien Sales LLC           Compensation for services
                                                                                 10/23/13      7,020.00   Covidien Sales LLC           Compensation for services
                                                                                 10/23/13      7,020.00   Covidien Sales LLC           Compensation for services
                                                                                 10/23/13      7,020.00   Covidien Sales LLC           Compensation for services
                                                                                                                                                 118
                                                                                                                                               Exhibit 2
                                                                                                     Payments from the Defendants to Dr. Moran Relating to "Pipelines" or "Flow Diversion"
                                                         Date                               Amount        Payor                        Type                          Travel City             Travel State
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 113 of 155 Page ID




                                                                                 10/23/13      7,020.00   Covidien Sales LLC           Compensation for services
                                                                                 10/23/13      4,420.00   Covidien Sales LLC           Compensation for services
                                                                                 10/23/13        589.20   Covidien Sales LLC           Compensation for services
                                                                                 10/23/13         84.43   Covidien Sales LLC           Compensation for services
                                                                                 10/24/13        710.30   Covidien Sales LLC           Compensation for services
                                                                                 10/24/13         10.00   Covidien Sales LLC           Compensation for services
                                                                                 10/25/13        341.94   Covidien Sales LLC           Compensation for services
                                                                                 10/26/13        298.69   Covidien Sales LLC           Compensation for services
                                                                                 10/28/13        229.67   Covidien Sales LLC           Compensation for services
                                                                                 10/28/13        210.47   Covidien Sales LLC           Compensation for services
                                                                                 10/30/13      4,420.00   Covidien Sales LLC           Compensation for services
                                                                                  11/6/13        465.94   Covidien Sales LLC           Travel and Lodging            Columbus                OH
                                                                                 11/11/13         96.57   Covidien Sales LLC           Food and Beverage
                                                                                 11/12/13         64.25   Covidien Sales LLC           Food and Beverage
                                                                                 11/13/13      8,840.00   Covidien Sales LLC           Compensation for services
                                 #:1912




                                                                                 11/13/13      4,420.00   Covidien Sales LLC           Compensation for services
                                                                                 11/13/13      4,420.00   Covidien Sales LLC           Compensation for services
                                                                                 11/13/13         90.52   Covidien Sales LLC           Food and Beverage
                                                                                 11/14/13          9.67   Covidien Sales LLC           Food and Beverage
                                                                                 11/14/13          9.36   Covidien Sales LLC           Food and Beverage
                                                                                 11/15/13         23.40   Covidien LP                  Food and Beverage
                                                                                  12/4/13        139.92   Covidien Sales LLC           Compensation for services
                                                                                 12/10/13        741.10   Covidien Sales LLC           Compensation for services
                                                                                 12/10/13        233.10   Covidien Sales LLC           Travel and Lodging            Buenos Aires            Argentina*
                                                                                 12/10/13        134.26   Covidien Sales LLC           Compensation for services
                                                                                 12/10/13        129.26   Covidien Sales LLC           Compensation for services
                                                                                 12/10/13        117.07   Covidien Sales LLC           Compensation for services
                                                                                 12/10/13         10.00   Covidien Sales LLC           Travel and Lodging            Los Angeles             CA
                                                                                 12/10/13         10.00   Covidien Sales LLC           Travel and Lodging            Los Angeles             CA
                                                                                 12/10/13          2.00   Covidien Sales LLC           Travel and Lodging            Los Angeles             CA
                                                                                 12/10/13          1.00   Covidien Sales LLC           Travel and Lodging            Los Angeles             CA
                                                                                 12/10/13          1.00   Covidien Sales LLC           Travel and Lodging            Los Angeles             CA
                                                                                                                                                 119
                                                                                                                                               Exhibit 2
                                                                                                     Payments from the Defendants to Dr. Moran Relating to "Pipelines" or "Flow Diversion"
                                                         Date                               Amount        Payor                        Type                          Travel City             Travel State
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 114 of 155 Page ID




                                                                                 12/17/13        233.10   Covidien Sales LLC           Travel and Lodging            Buenos Aires            Argentina*
                                                                                 12/17/13        131.00   Covidien Sales LLC           Travel and Lodging            San Diego               CA
                                                                                 12/17/13         10.00   Covidien Sales LLC           Travel and Lodging            San Diego               CA
                                                                                 12/17/13         10.00   Covidien Sales LLC           Compensation for services
                                                                                 12/18/13        358.47   Covidien LP                  Travel and Lodging            Mansfield               MA
                                                                                 12/18/13        271.37   Covidien LP                  Travel and Lodging            Mansfield               MA
                                                                                 12/19/13         18.02   Covidien LP                  Food and Beverage
                                                                                 12/23/13         18.13   Covidien LP                  Food and Beverage
                                                                                 12/23/13          7.46   Covidien LP                  Food and Beverage
                                                                                 12/30/13         10.00   Covidien Sales LLC           Compensation for services
                                                                                 12/31/13        698.00   Covidien Sales LLC           Compensation for services
                                                                                 12/31/13        277.47   Covidien Sales LLC           Travel and Lodging            Houston                 TX
                                                                                 12/31/13        144.79   Covidien Sales LLC           Travel and Lodging            Houston                 TX
                                                                                 12/31/13         10.00   Covidien Sales LLC           Compensation for services
                                                                                   1/2/14      1,105.00   Covidien Sales LLC           Travel and Lodging            Oklahoma City           OK
                                 #:1913




                                                                                   1/2/14         10.00   Covidien Sales LLC           Compensation for services
                                                                                   1/3/14        150.29   Covidien Sales LLC           Food and Beverage
                                                                                   1/3/14        124.23   Covidien Sales LLC           Food and Beverage
                                                                                   1/6/14          3.77   Covidien LP                  Food and Beverage
                                                                                   1/7/14        294.00   Covidien Sales LLC           Travel and Lodging            San Diego               CA
                                                                                   1/8/14        358.47   Covidien LP                  Travel and Lodging            Boston                  MA
                                                                                   1/8/14        271.37   Covidien LP                  Travel and Lodging            Boston                  MA
                                                                                   1/8/14        172.80   Covidien LP                  Travel and Lodging            Boston                  MA
                                                                                   1/8/14        172.80   Covidien LP                  Travel and Lodging            Boston                  MA
                                                                                   1/8/14        152.50   Covidien Sales LLC           Travel and Lodging            San Diego               CA
                                                                                   1/8/14        149.27   Covidien LP                  Travel and Lodging            Boston                  MA
                                                                                  1/10/14        234.19   Covidien Sales LLC           Compensation for services
                                                                                  1/10/14        154.73   Covidien Sales LLC           Compensation for services
                                                                                  1/10/14        106.78   Covidien Sales LLC           Compensation for services
                                                                                  1/29/14        943.00   Covidien Sales LLC           Travel and Lodging            Irvine                  CA
                                                                                  1/29/14        299.35   Covidien Sales LLC           Travel and Lodging            Irvine                  CA
                                                                                  1/29/14        136.11   Covidien Sales LLC           Travel and Lodging            Irvine                  CA
                                                                                                                                                 120
                                                                                                                                               Exhibit 2
                                                                                                    Payments from the Defendants to Dr. Moran Relating to "Pipelines" or "Flow Diversion"
                                                         Date                              Amount        Payor                        Type                          Travel City             Travel State
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 115 of 155 Page ID




                                                                                 1/29/14        101.74   Covidien Sales LLC           Travel and Lodging            Irvine                  CA
                                                                                 1/29/14         10.00   Covidien Sales LLC           Travel and Lodging            Irvine                  CA
                                                                                 1/29/14          0.70   Covidien Sales LLC           Travel and Lodging            Irvine                  CA
                                                                                 2/14/14        455.00   Covidien Sales LLC           Travel and Lodging            Irvine                  CA
                                                                                 2/14/14         10.00   Covidien Sales LLC           Travel and Lodging            Irvine                  CA
                                                                                 2/18/14      1,730.20   Covidien Sales LLC           Travel and Lodging            Irvine                  CA
                                                                                 2/18/14      1,375.80   Covidien Sales LLC           Travel and Lodging            Irvine                  CA
                                                                                 2/18/14        910.20   Covidien Sales LLC           Travel and Lodging            Costa Mesa              CA
                                                                                 2/18/14        587.88   Covidien Sales LLC           Travel and Lodging            Los Angeles             CA
                                                                                 2/18/14         10.00   Covidien Sales LLC           Travel and Lodging            Irvine                  CA
                                                                                 2/18/14         10.00   Covidien Sales LLC           Travel and Lodging            Irvine                  CA
                                                                                  3/4/14      1,200.00   Covidien Sales LLC           Royalty or License
                                                                                  3/4/14        118.82   Covidien Sales LLC           Travel and Lodging            Costa Mesa              CA
                                                                                  3/6/14        482.85   Covidien Sales LLC           Travel and Lodging            San Diego               CA
                                                                                  3/6/14        147.57   Covidien Sales LLC           Travel and Lodging            Laguna Beach            CA
                                 #:1914




                                                                                  3/7/14        143.88   Covidien LP                  Food and Beverage
                                                                                  3/7/14        120.01   Covidien LP                  Food and Beverage
                                                                                  3/7/14         24.17   Covidien LP                  Food and Beverage
                                                                                 3/20/14        139.00   Covidien Sales LLC           Travel and Lodging            Irvine                  CA
                                                                                 3/24/14        197.57   Covidien LP                  Food and Beverage
                                                                                 3/24/14         14.25   Covidien LP                  Food and Beverage
                                                                                 3/25/14        617.10   Covidien Sales LLC           Travel and Lodging            Laguna Beach            CA
                                                                                 3/25/14        198.30   Covidien Sales LLC           Food and Beverage
                                                                                 3/25/14         11.81   Covidien LP                  Food and Beverage
                                                                                  4/7/14        116.01   Covidien LP                  Food and Beverage
                                                                                  4/7/14         11.22   Covidien LP                  Food and Beverage
                                                                                 4/23/14         60.81   Covidien Sales LLC           Food and Beverage
                                                                                 4/29/14         55.85   Covidien LP                  Food and Beverage
                                                                                 4/29/14          2.81   Covidien LP                  Food and Beverage
                                                                                  6/9/14         18.10   Covidien LP                  Food and Beverage
                                                                                 6/27/14        170.01   Covidien Sales LLC           Food and Beverage
                                                                                 7/15/14        206.04   Covidien LP                  Food and Beverage
                                                                                                                                                121
                                                                                                                                              Exhibit 2
                                                                                                     Payments from the Defendants to Dr. Moran Relating to "Pipelines" or "Flow Diversion"
                                                         Date                               Amount        Payor                        Type                          Travel City             Travel State
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 116 of 155 Page ID




                                                                                  7/17/14         98.56   Covidien LP                  Food and Beverage
                                                                                  7/17/14         25.17   Covidien LP                  Food and Beverage
                                                                                   9/3/14         15.73   Covidien LP                  Food and Beverage
                                                                                  9/23/14        125.87   Covidien LP                  Compensation for services
                                                                                  9/24/14      9,125.00   Covidien LP                  Consulting Fee
                                                                                  9/24/14      8,000.00   Covidien LP                  Consulting Fee
                                                                                  9/24/14      5,600.00   Covidien LP                  Compensation for services
                                                                                  9/24/14      4,000.00   Covidien LP                  Consulting Fee
                                                                                  9/24/14      3,500.00   Covidien Sales LLC           Compensation for services
                                                                                  9/24/14      2,500.00   Covidien Sales LLC           Compensation for services
                                                                                  9/24/14      1,125.48   Covidien LP                  Travel and Lodging            Nice                    France
                                                                                  9/24/14        133.23   Covidien LP                  Food and Beverage
                                                                                  9/24/14         88.01   Covidien LP                  Travel and Lodging            Nice                    France
                                                                                  9/24/14         79.90   Covidien LP                  Travel and Lodging            Irvine                  CA
                                                                                  9/24/14         76.16   Covidien Sales LLC           Food and Beverage
                                 #:1915




                                                                                  9/24/14         70.58   Covidien LP                  Travel and Lodging            Irvine                  CA
                                                                                  9/24/14         27.00   Covidien LP                  Travel and Lodging            Irvine                  CA
                                                                                  10/7/14        198.02   Covidien Sales LLC           Food and Beverage
                                                                                  10/7/14        176.86   Covidien Sales LLC           Food and Beverage
                                                                                 10/16/14        123.91   Covidien Sales LLC           Food and Beverage
                                                                                 10/27/14        107.57   Covidien Sales LLC           Travel and Lodging            Dallas                  TX
                                                                                 10/27/14        107.57   Covidien Sales LLC           Travel and Lodging            Dallas                  TX
                                                                                  11/3/14         47.04   Covidien LP                  Food and Beverage
                                                                                 11/21/14         62.06   Covidien LP                  Compensation for services
                                                                                 11/21/14         18.68   Covidien LP                  Compensation for services
                                                                                 11/21/14          9.70   Covidien LP                  Food and Beverage
                                                                                 11/21/14          6.13   Covidien LP                  Food and Beverage
                                                                                  12/2/14        141.64   Covidien Sales LLC           Food and Beverage
                                                                                  12/2/14         18.43   Covidien Sales LLC           Food and Beverage
                                                                                  12/3/14        510.42   Covidien Sales LLC           Travel and Lodging            Memphis                 TN
                                                                                 12/15/14        580.92   Covidien Sales LLC           Travel and Lodging            Nashville               TN
                                                                                 12/15/14        410.68   Covidien Sales LLC           Travel and Lodging            Oklahoma City           OK
                                                                                                                                                 122
                                                                                                                                               Exhibit 2
                                                                                                     Payments from the Defendants to Dr. Moran Relating to "Pipelines" or "Flow Diversion"
                                                         Date                               Amount        Payor                        Type                          Travel City             Travel State
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 117 of 155 Page ID




                                                                                 12/16/14        141.91   Covidien Sales LLC           Food and Beverage
                                                                                 12/16/14         10.22   Covidien Sales LLC           Food and Beverage
                                                                                 12/17/14         42.44   Covidien LP                  Compensation for services
                                                                                 12/19/14         52.80   Covidien Sales LLC           Food and Beverage
                                                                                 12/22/14        141.93   Covidien LP                  Food and Beverage
                                                                                 12/27/14        121.96   Covidien Sales LLC           Food and Beverage
                                                                                 12/27/14         98.46   Covidien Sales LLC           Food and Beverage
                                                                                 12/27/14         74.66   Covidien Sales LLC           Food and Beverage
                                                                                 12/28/14        136.09   Covidien Sales LLC           Food and Beverage
                                                                                   1/1/15        391.90   Medtronic Vascular, Inc.     Travel and Lodging            Memphis                 TN
                                                                                   1/2/15        226.20   Medtronic Neurovascular      Travel and Lodging            Atlanta                 GA
                                                                                   1/2/15        143.08   Medtronic Neurovascular      Travel and Lodging            Kansas City             MO
                                                                                   1/2/15        121.10   Medtronic Vascular, Inc.     Travel and Lodging            Memphis                 TN
                                                                                   1/6/15      1,085.20   Medtronic Neurovascular      Travel and Lodging            Kansas City             MO
                                                                                   1/6/15        781.60   Medtronic Neurovascular      Travel and Lodging            Kansas City             MO
                                 #:1916




                                                                                   1/6/15        387.40   Medtronic Neurovascular      Travel and Lodging            Atlanta                 GA
                                                                                   1/6/15        312.64   Medtronic Neurovascular      Travel and Lodging            Memphis                 TN
                                                                                   1/6/15        251.62   Medtronic Neurovascular      Travel and Lodging            Atlanta                 GA
                                                                                   1/6/15        234.32   Medtronic Neurovascular      Travel and Lodging            Nashville               TN
                                                                                   1/6/15        193.70   Medtronic Neurovascular      Travel and Lodging            Oklahoma City           OK
                                                                                   1/6/15        155.52   Medtronic Neurovascular      Travel and Lodging            Oklahoma City           OK
                                                                                   1/6/15        155.52   Medtronic Neurovascular      Travel and Lodging            Oklahoma City           OK
                                                                                   1/6/15        149.97   Medtronic Neurovascular      Travel and Lodging            Nashville               TN
                                                                                   1/6/15         15.93   Medtronic Neurovascular      Food and Beverage
                                                                                   1/7/15      1,101.00   Medtronic Neurovascular      Travel and Lodging            Newport Beach           CA
                                                                                  1/20/15      7,049.60   Medtronic Neurovascular      Travel and Lodging            Madrid                  Spain*
                                                                                  1/20/15        799.60   Medtronic Neurovascular      Travel and Lodging            Madrid                  Spain*
                                                                                  1/21/15        288.20   Medtronic Neurovascular      Travel and Lodging            Raleigh                 NC
                                                                                  1/28/15         84.61   Medtronic Neurovascular      Food and Beverage
                                                                                  1/28/15         15.40   Medtronic Neurovascular      Consulting Fee
                                                                                  2/17/15      1,833.43   Medtronic Neurovascular      Travel and Lodging            Memphis                 TN
                                                                                  2/17/15      1,234.00   Medtronic Neurovascular      Travel and Lodging            Huntsville              AL
                                                                                                                                                 123
                                                                                                                                               Exhibit 2
                                                                                                    Payments from the Defendants to Dr. Moran Relating to "Pipelines" or "Flow Diversion"
                                                         Date                              Amount        Payor                        Type                          Travel City             Travel State
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 118 of 155 Page ID




                                                                                 2/17/15        429.84   Medtronic Neurovascular      Travel and Lodging            Chicago                 IL
                                                                                 2/17/15        415.38   Medtronic Neurovascular      Travel and Lodging            Huntsville              AL
                                                                                 2/17/15        207.67   Medtronic Neurovascular      Travel and Lodging            Memphis                 TN
                                                                                 2/17/15        160.34   Medtronic Neurovascular      Travel and Lodging            Chicago                 IL
                                                                                 2/17/15        160.34   Medtronic Neurovascular      Travel and Lodging            Chicago                 IL
                                                                                 2/17/15        159.00   Medtronic Neurovascular      Travel and Lodging            Huntsville              AL
                                                                                 3/31/15      1,997.91   Medtronic Neurovascular      Travel and Lodging            Miami                   FL
                                                                                 3/31/15        278.10   Medtronic Neurovascular      Travel and Lodging            Sacramento              CA
                                                                                 3/31/15        169.29   Medtronic Neurovascular      Travel and Lodging            Miami                   FL
                                                                                 3/31/15        154.48   Medtronic Neurovascular      Travel and Lodging            Los Angeles             CA
                                                                                 3/31/15        135.12   Medtronic Neurovascular      Travel and Lodging            Sacramento              CA
                                                                                  4/1/15        434.12   Medtronic Neurovascular      Travel and Lodging            Buffalo                 NY
                                                                                  4/1/15         65.00   Medtronic Neurovascular      Travel and Lodging            Durham                  NC
                                                                                  4/2/15        510.77   Medtronic Neurovascular      Travel and Lodging            Los Angeles             CA
                                                                                  4/2/15        242.00   Medtronic Neurovascular      Travel and Lodging            Miami                   FL
                                 #:1917




                                                                                  4/2/15        149.86   Medtronic Neurovascular      Travel and Lodging            Memphis                 TN
                                                                                  4/2/15        148.40   Medtronic Neurovascular      Travel and Lodging            Los Angeles             CA
                                                                                  4/2/15        132.20   Medtronic Neurovascular      Travel and Lodging            San Diego               CA
                                                                                 4/23/15        198.90   Medtronic Neurovascular      Travel and Lodging            Miami                   FL
                                                                                 4/24/15      2,023.74   Medtronic Neurovascular      Travel and Lodging            Memphis                 TN
                                                                                 4/24/15      1,334.87   Medtronic Neurovascular      Travel and Lodging            Nashville               TN
                                                                                 4/24/15        770.13   Medtronic Neurovascular      Travel and Lodging            Salt Lake City          UT
                                                                                 4/24/15        314.10   Medtronic Neurovascular      Travel and Lodging            Salt Lake City          UT
                                                                                 4/24/15        169.00   Medtronic Neurovascular      Travel and Lodging            Memphis                 TN
                                                                                 4/24/15        144.37   Medtronic Neurovascular      Travel and Lodging            Nashville               TN
                                                                                 4/24/15        108.61   Medtronic Neurovascular      Travel and Lodging            Salt Lake City          UT
                                                                                 5/19/15        135.85   Medtronic Neurovascular      Food and Beverage
                                                                                 5/19/15        122.44   Medtronic Neurovascular      Food and Beverage
                                                                                 5/19/15        118.00   Medtronic Neurovascular      Travel and Lodging            Irvine                  CA
                                                                                 5/19/15         59.66   Medtronic Neurovascular      Travel and Lodging            Irvine                  CA
                                                                                 5/19/15         58.34   Medtronic Neurovascular      Travel and Lodging            Irvine                  CA
                                                                                 5/19/15         47.73   Medtronic Neurovascular      Travel and Lodging            Irvine                  CA
                                                                                                                                                124
                                                                                                                                              Exhibit 2
                                                                                                    Payments from the Defendants to Dr. Moran Relating to "Pipelines" or "Flow Diversion"
                                                         Date                              Amount        Payor                        Type                          Travel City             Travel State
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 119 of 155 Page ID




                                                                                 5/19/15        35.00    Medtronic Neurovascular      Travel and Lodging            Irvine                  CA
                                                                                 5/19/15        32.81    Medtronic Neurovascular      Travel and Lodging            Irvine                  CA
                                                                                 5/20/15        13.09    Medtronic Neurovascular      Food and Beverage
                                                                                 5/20/15          4.36   Medtronic Neurovascular      Food and Beverage
                                                                                 5/22/15       867.03    Medtronic Neurovascular      Travel and Lodging            Kansas City             MO
                                                                                 5/22/15       143.10    Medtronic Neurovascular      Travel and Lodging            Kansas City             MO
                                                                                 5/22/15       137.28    Medtronic Neurovascular      Travel and Lodging            Kansas City             MO
                                                                                 5/31/15       137.28    Medtronic Neurovascular      Travel and Lodging            Kansas City             MO
                                                                                 5/31/15       135.44    Medtronic Neurovascular      Travel and Lodging            Tucson                  AZ
                                                                                  6/1/15       871.56    Medtronic Neurovascular      Travel and Lodging            Fort Lauderdale         FL
                                                                                  6/1/15       123.65    Medtronic Neurovascular      Food and Beverage
                                                                                  6/4/15       100.00    Medtronic Neurovascular      Travel and Lodging            Buffalo                 NY
                                                                                  6/4/15        95.00    Medtronic Neurovascular      Travel and Lodging            Buffalo                 NY
                                                                                  6/4/15        75.00    Medtronic Neurovascular      Travel and Lodging            Buffalo                 NY
                                                                                 6/10/15       271.60    Medtronic Neurovascular      Travel and Lodging            Irvine                  CA
                                 #:1918




                                                                                 6/10/15       243.17    Medtronic Neurovascular      Travel and Lodging            Newport Beach           CA
                                                                                 6/10/15        86.00    Medtronic Neurovascular      Travel and Lodging            Irvine                  CA
                                                                                 6/10/15        29.00    Medtronic Neurovascular      Travel and Lodging            Irvine                  CA
                                                                                 6/25/15        85.13    Medtronic Vascular, Inc.     Food and Beverage
                                                                                 6/26/15       853.23    Medtronic Neurovascular      Travel and Lodging            Kansas City             MO
                                                                                 6/26/15       233.35    Medtronic Neurovascular      Travel and Lodging            Fort Lauderdale         FL
                                                                                 6/26/15       193.53    Medtronic Neurovascular      Travel and Lodging            Kansas City             MO
                                                                                 6/26/15       159.13    Medtronic Neurovascular      Travel and Lodging            Fort Lauderdale         FL
                                                                                 6/26/15       156.59    Medtronic Neurovascular      Travel and Lodging            Fort Lauderdale         FL
                                                                                 6/26/15        82.58    Medtronic Neurovascular      Food and Beverage
                                                                                 6/29/15        12.88    Medtronic Neurovascular      Food and Beverage
                                                                                  7/6/15        61.51    Medtronic Neurovascular      Food and Beverage
                                                                                  7/6/15        32.98    Medtronic Neurovascular      Food and Beverage
                                                                                 7/17/15        17.68    Medtronic Neurovascular      Food and Beverage
                                                                                 7/19/15        35.00    Medtronic Neurovascular      Food and Beverage
                                                                                 7/21/15        16.62    Medtronic Neurovascular      Food and Beverage
                                                                                 7/21/15          8.75   Medtronic Neurovascular      Food and Beverage
                                                                                                                                                125
                                                                                                                                              Exhibit 2
                                                                                                   Payments from the Defendants to Dr. Moran Relating to "Pipelines" or "Flow Diversion"
                                                         Date                              Amount       Payor                        Type                          Travel City             Travel State
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 120 of 155 Page ID




                                                                                 7/23/15       164.62   Medtronic Neurovascular      Food and Beverage
                                                                                 7/27/15       190.97   Medtronic Neurovascular      Travel and Lodging            Jacksonville            FL
                                                                                 7/27/15       179.00   Medtronic Neurovascular      Travel and Lodging            Hollywood               FL
                                                                                 7/27/15       117.43   Medtronic Neurovascular      Food and Beverage
                                                                                 7/29/15       166.76   Medtronic Neurovascular      Travel and Lodging            Jacksonville            FL
                                                                                 7/29/15       165.28   Medtronic Neurovascular      Travel and Lodging            Jacksonville            FL
                                                                                 7/29/15       137.28   Medtronic Neurovascular      Travel and Lodging            Kansas City             MO
                                                                                 8/10/15       622.95   Medtronic Neurovascular      Travel and Lodging            Minneapolis             MN
                                                                                 8/10/15       587.92   Medtronic Neurovascular      Travel and Lodging            San Francisco           CA
                                                                                 8/10/15       464.48   Medtronic Neurovascular      Travel and Lodging            San Francisco           CA
                                                                                 8/24/15       139.11   Medtronic Neurovascular      Food and Beverage
                                                                                 8/30/15       929.10   Medtronic Neurovascular      Travel and Lodging            Minneapolis             MN
                                                                                 8/31/15       161.00   Medtronic Neurovascular      Travel and Lodging            Jacksonville            FL
                                                                                 8/31/15       103.83   Medtronic Neurovascular      Travel and Lodging            Jacksonville            FL
                                                                                 8/31/15        89.00   Medtronic Neurovascular      Travel and Lodging            Jacksonville            FL
                                 #:1919




                                                                                  9/9/15       683.28   Medtronic Neurovascular      Travel and Lodging            Oklahoma City           OK
                                                                                 9/10/15       179.10   Medtronic Neurovascular      Travel and Lodging            Oklahoma City           OK
                                                                                 9/10/15       131.12   Medtronic Neurovascular      Travel and Lodging            Oklahoma City           OK
                                                                                 9/10/15       114.96   Medtronic Neurovascular      Travel and Lodging            San Francisco           CA
                                                                                 9/10/15       114.28   Medtronic Neurovascular      Travel and Lodging            Minneapolis             MN
                                                                                 9/21/15       350.76   Medtronic Neurovascular      Travel and Lodging            Irvine                  CA
                                                                                 9/27/15       206.00   Medtronic Neurovascular      Travel and Lodging            Irvine                  CA
                                                                                 9/27/15       206.00   Medtronic Neurovascular      Travel and Lodging            Irvine                  CA
                                                                                 9/27/15       112.00   Medtronic Neurovascular      Travel and Lodging            Irvine                  CA
                                                                                 9/27/15       112.00   Medtronic Neurovascular      Travel and Lodging            Irvine                  CA
                                                                                 9/29/15       533.20   Medtronic Neurovascular      Travel and Lodging            Miami                   FL
                                                                                 9/29/15       296.20   Medtronic Neurovascular      Travel and Lodging            Dallas                  TX
                                                                                 9/29/15       204.00   Medtronic Neurovascular      Travel and Lodging            Miami                   FL
                                                                                 9/29/15       173.92   Medtronic Neurovascular      Travel and Lodging            Irvine                  CA
                                                                                 10/2/15       453.86   Medtronic Neurovascular      Travel and Lodging            Irvine                  CA
                                                                                 10/2/15       140.21   Medtronic Neurovascular      Travel and Lodging            Fort Lauderdale         FL
                                                                                 10/5/15       143.74   Medtronic Neurovascular      Food and Beverage
                                                                                                                                               126
                                                                                                                                             Exhibit 2
                                                                                                     Payments from the Defendants to Dr. Moran Relating to "Pipelines" or "Flow Diversion"
                                                         Date                               Amount        Payor                        Type                          Travel City                 Travel State
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 121 of 155 Page ID




                                                                                  10/7/15       206.31    Medtronic Neurovascular      Travel and Lodging            Dallas                      TX
                                                                                  10/7/15       165.23    Medtronic Neurovascular      Food and Beverage
                                                                                  10/7/15       154.00    Medtronic Neurovascular      Travel and Lodging            Dallas                      TX
                                                                                  10/7/15       139.00    Medtronic Neurovascular      Travel and Lodging            Dallas                      TX
                                                                                  10/7/15       139.00    Medtronic Neurovascular      Travel and Lodging            Dallas                      TX
                                                                                  10/7/15       134.10    Medtronic Neurovascular      Food and Beverage
                                                                                  10/8/15       169.84    Medtronic Neurovascular      Travel and Lodging            Irvine                      CA
                                                                                  10/8/15       112.00    Medtronic Neurovascular      Travel and Lodging            Irvine                      CA
                                                                                  10/8/15       112.00    Medtronic Neurovascular      Travel and Lodging            Irvine                      CA
                                                                                 10/14/15        12.52    Medtronic Neurovascular      Food and Beverage
                                                                                 10/14/15          6.41   Medtronic Neurovascular      Compensation for services
                                                                                 10/29/15       417.60    Medtronic Neurovascular      Travel and Lodging            Fort Lauderdale             FL
                                                                                 10/29/15       131.43    Medtronic Neurovascular      Travel and Lodging            Fort Lauderdale             FL
                                                                                 10/29/15       119.03    Medtronic Neurovascular      Travel and Lodging            Fort Lauderdale             FL
                                                                                  11/7/15       376.46    Medtronic Neurovascular      Travel and Lodging            Houston                     TX
                                 #:1920




                                                                                 11/10/15       206.10    Medtronic Neurovascular      Travel and Lodging            Fort Lauderdale             FL
                                                                                 12/10/15       325.26    Medtronic Neurovascular      Travel and Lodging            Houston                     TX
                                                                                 12/10/15       325.26    Medtronic Neurovascular      Travel and Lodging            Houston                     TX
                                                                                 12/10/15        70.00    Medtronic Neurovascular      Travel and Lodging            Houston                     TX
                                                                                 12/10/15        37.54    Medtronic Neurovascular      Travel and Lodging            Houston                     TX
                                                         Total                               205,710.28
                                                         This list of payments is derived from CMS Open Payments Data available at https://openpaymentsdata.cms.gov
                                                         The payments listed here are those for which the payment data lists an associated covered product of "flow diversion" or "pipeline."
                                                         * CMS’ data set lists the city, state, and country of travel associated with a particular payment. For payments to Dr. Moran listing Buenos
                                                         Aires as the city, the state listed in the CMS data is California and the country listed is the U.S., however this appears to be an error as there is no city
                                                         of Buenos Aires in California. Presumably this was a data entry error and the payment relates to travel in Buenos Aires, Argentina. Similarly,
                                                         the CMS data for payments relating to the city Madrid also list locations of California and the U.S., though there is no Madrid, California. Therefore,
                                                         this exhibit lists the Travel State for these payments as Spain and Argentina, respectively.
                                                                                                                                                 127
                                                                                                                                               Exhibit 2
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 122 of 155 Page ID
                                 #:1921




       Exhibits 3-4 Omitted
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 123 of 155 Page ID
                                 #:1922




                  Exhibit 5




                                     136
                                   Exhibit 5
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 124 of 155 Page ID
                                 #:1923




                                     137
                                   Exhibit 5
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 125 of 155 Page ID
                                 #:1924




                                     138
                                   Exhibit 5
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 126 of 155 Page ID
                                 #:1925




       Exhibits 6-8 Omitted
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 127 of 155 Page ID
                                 #:1926




                  Exhibit 9




                                     148
                                   Exhibit 9
Case 2:17-cv-01903-ODW-MRW     Document
                    Published October      102 as
                                      29, 2014  Filed 06/29/21 Page 128 of 155 Page ID
                                                  10.3174/ajnr.A4111
                                        #:1927
                                                                                                                                            ORIGINAL RESEARCH
                                                                                                                                             INTERVENTIONAL



  International Retrospective Study of the Pipeline Embolization
               Device: A Multicenter Aneurysm Treatment Study
    D.F. Kallmes, R. Hanel, D. Lopes, E. Boccardi, A. Bonafé, S. Cekirge, D. Fiorella, P. Jabbour, E. Levy, C. McDougall, A. Siddiqui, I. Szikora,
    H. Woo, F. Albuquerque, H. Bozorgchami, S.R. Dashti, J.D. Almandoz, M.E. Kelly, R. Turner IV, B.K. Woodward, W. Brinjikji, G. Lanzino,
                                                                                                                                    and P. Lylyk




       ABSTRACT
       BACKGROUND AND PURPOSE: Flow diverters are increasingly used in the endovascular treatment of intracranial aneurysms. Our aim was
       to determine neurologic complication rates following Pipeline Embolization Device placement for intracranial aneurysm treatment in a
       real-world setting.

       MATERIALS AND METHODS: We retrospectively evaluated all patients with intracranial aneurysms treated with the Pipeline Emboliza-
       tion Device between July 2008 and February 2013 in 17 centers worldwide. We defined 4 subgroups: internal carotid artery aneurysms of
       !10 mm, ICA aneurysms of !10 mm, other anterior circulation aneurysms, and posterior circulation aneurysms. Neurologic complications
       included spontaneous rupture, intracranial hemorrhage, ischemic stroke, permanent cranial neuropathy, and mortality. Comparisons were
       made with t tests or ANOVAs for continuous variables and the Pearson "2 or Fisher exact test for categoric variables.

       RESULTS: In total, 793 patients with 906 aneurysms were included. The neurologic morbidity and mortality rate was 8.4% (67/793), highest
       in the posterior circulation group (16.4%, 9/55) and lowest in the ICA !10-mm group (4.8%, 14/294) (P " .01). The spontaneous rupture rate
       was 0.6% (5/793). The intracranial hemorrhage rate was 2.4% (19/793). Ischemic stroke rates were 4.7% (37/793), highest in patients with
       posterior circulation aneurysms (7.3%, 4/55) and lowest in the ICA !10-mm group (2.7%, 8/294) (P " .16). Neurologic mortality was 3.8%
       (30/793), highest in the posterior circulation group (10.9%, 6/55) and lowest in the anterior circulation ICA !10-mm group (1.4%, 4/294) (P !
       .01).

       CONCLUSIONS: Aneurysm treatment with the Pipeline Embolization Device is associated with the lowest complication rates when used
       to treat small ICA aneurysms. Procedure-related morbidity and mortality are higher in the treatment of posterior circulation and giant
       aneurysms.

       ABBREVIATIONS: IntrePED " International Retrospective Study of Pipeline Embolization Device; IPH " intraparenchymal hemorrhage; PED " Pipeline Emboliza-
       tion Device




 E   ndoluminal flow-diverter therapy has gained widespread ac-
     ceptance for the treatment of intracranial aneurysms.1-4 High
 rates of complete aneurysm occlusion have been reported, even in
                                                                                       large and giant aneurysms, with the use of endoluminal flow di-
                                                                                       verters.1-7 The Pipeline Embolization Device (PED; Covidien, Ir-
                                                                                       vine, California) received CE mark approval in 2008 for the em-
                                                                                       bolization of cerebral aneurysms and received US FDA approval
                                                                                       in 2011 (PMA P100018) for the treatment of large and giant wide-
 Received March 27, 2014; accepted after revision June 23.
                                                                                       neck aneurysms in the internal carotid artery, from the petrous to
 From the Department of Radiology (D.F.K., W.B., G.L.), Mayo Clinic, Rochester, Min-
 nesota; Department of Neurosurgery (R.H.), Mayo Clinic, Jacksonville, Florida; De-    the superior hypophyseal segments. While numerous previous
 partment of Neurological Surgery (D.L.), Rush University Medical Center, Chicago,     studies have reported overall rates of adverse events similar to
 Illinois; Department of Neuroradiology (E.B.), Niguarda CA’ Granda Hospital, Milan,
 Italy; Department of Neuroradiology (A.B.), Hôpital Gui de Chauliac, Montpellier,
 France; Department of Radiology (S.C.), Hacettepe University Hospitals, Ankara,       Department of Neurosciences (R.T.), Medical University of South Carolina, Charles-
 Turkey; Department of Neurological Surgery (D.F., H.W.), Stony Brook University       ton, South Carolina; Vista Radiology PC (B.K.W.), Knoxville, Tennessee; and Depart-
 Medical Center, Stony Brook, New York; Department of Neurosurgery (P.J.),             ment of Neuroscience (P.L.), Equipo de Neurocirugı́a Endovascular Radiologı́a In-
 Thomas Jefferson University, Philadelphia, Pennsylvania; Department of Neurosur-      tervencionista, Buenos Aires, Argentina.
 gery (E.L., A.S.), University at Buffalo, State University of New York, Buffalo,
 New York; Department of Neurosurgery (C.M., F.A.), Barrow Neurological Associ-        Preliminary results of this study previously presented at: Annual Meeting of the
 ates, Phoenix, Arizona; National Institute of Neurosciences (I.S.), Budapest, Hun-    Society of NeuroInterventional Surgery, July 29 –August 1, 2013; Miami, Florida.
 gary; Department of Neurology (H.B.), Oregon Health and Science University, Port-     Please address correspondence to David Kallmes, MD, Mayo Clinic, 200 First St
 land, Oregon; Norton Neuroscience Institute (S.R.D.), Louisville, Kentucky;           SW, OL1-112 SMH, Rochester, MN 55905; e-mail: Kallmes.david@mayo.edu
 Department of Radiology (J.D.A.), Neuroscience Institute, Abbott Northwestern              Indicates article with supplemental on-line appendix.
 Hospital, Minneapolis, Minnesota; Division of Neurosurgery, Department of Sur-
 gery (M.E.K.), University of Saskatchewan, Saskatoon, Saskatchewan, Canada;           http://dx.doi.org/10.3174/ajnr.A4111

                                                                                                       AJNR Am J Neuroradiol ●:●          ● 2015     www.ajnr.org         1

                                                               149Society of Neuroradiology.
                                       Copyright 2014 by American
                                                                              Exhibit 9
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 129 of 155 Page ID
                                 #:1928
 those in other endovascular procedures, case reports and small             Seven hundred ninety-three patients treated for 906 aneu-
 case series documenting severe and “unexpected” complications          rysms were enrolled. Many patients (38%) had been previously
 have raised questions about the safety of these devices.1,3,8,9 Se-    reported in the literature.14-29 We defined 4 primary anatomic/
 vere and unexpected adverse events include spontaneous rupture         size subgroups: internal carotid artery aneurysms !10 mm
 of treated aneurysms and intraparenchymal intracranial hemor-          (“large ICA”), ICA aneurysms of !10 mm (“small ICA”), other
 rhage unrelated to aneurysm rupture.8,10-12 These reports led to       anterior circulation aneurysms (“other anterior”), and posterior
 policies in some regions mandating concomitant coil emboliza-          circulation aneurysms.
 tion with flow-diverter therapy to mitigate the risk of spontane-
 ous aneurysm rupture.13                                                Procedures
     Most previous literature on flow-diversion therapy comprised       Because this was a retrospective study, procedural details and
 single-center case series, either retrospective or prospective, and    periprocedural patient management varied across centers. All
 has substantial selection bias, which may affect the rates of severe   centers used a common study protocol that specified the data to
 and unexpected adverse events. These biases may be diminished          be collected, study end points, events of interest, and statistical
 through pooling of consecutive patients treated at multiple cen-       analyses. The Steering Committee defined neurologic “clinical
 ters in a “real-world” setting, with homogeneous end points and        safety events of interest” a priori, including spontaneous rupture
 methods of data analysis. The International Retrospective Study        of the target aneurysm causing subarachnoid hemorrhage or cav-
 of Pipeline Embolization Device (IntrePED) registry was de-            ernous carotid fistula, intraparenchymal hemorrhage (IPH)
 signed for this purpose and to determine rates of important neu-       (both ipsilateral and contralateral), ischemic stroke, parent artery
 rologic safety events following PED placement for intracranial         stenosis, and permanent cranial neuropathy. Site investigators
 aneurysm treatment.                                                    identified events of interest according to the study protocol
                                                                        through retrospective review of the patient’s record. All events of
 MATERIALS AND METHODS                                                  interest were reviewed in detail by an Adverse Events Review
 Study Design and Participants                                          Committee, comprising of 3 members of the Steering Committee,
 We retrospectively evaluated all patients with intracranial aneu-      including the overall study principal investigator. The committee
 rysms treated with the Pipeline Embolization Device between July       determined the category of event and whether the event was ma-
 2008 and February 2013 in 6 countries in 17 centers experienced        jor or minor. A “major” adverse event was defined as an ongoing
 in PED use. Local institutional review boards or ethics commit-        clinical deficit at 7 days following the event. “Minor” adverse
 tees approved the study and use of patients’ retrospective data. An    events were defined as events that resolved within 7 days with no
 institutional review board/ethics committee waiver of informed         clinical sequelae. All major adverse events are included in the
 consent (and Health Insurance Portability and Accountability Act       neurologic morbidity and mortality rates. Long-term neurologic
 Waiver of Authorization for US sites) or a sponsor institutional       morbidity and mortality rates included morbidity and mortality
 review board/ethics committee–approved informed consent                due to adverse events occurring any time in the postoperative
 form was obtained from each participating site. Written informed       period (!30 days and !30 days). Information collected during
 consent was obtained from each patient, if required. This obser-       the study was standardized across centers and included baseline
 vational registry was funded and supported by Covidien, with           characteristics of patients and aneurysms, procedural informa-
 scientific oversight of the study steering committee members.          tion, prespecified clinical safety events of interest, and follow-up
 Physicians who contributed data for this study were endovascu-         clinic visits or telephone calls. A list of data collected for each
 lar-trained neurointerventionalists. Each site that participated       patient/aneurysm is provided in the On-line Appendix. Because
 was required to have at least 1 physician who had treated a mini-      this was a retrospective study, the timing of the patient follow-up
 mum of 10 PED cases before the time of institutional review            evaluations was conducted per institution standard of care.
 board/ethics committee approval for the study. Unless an inves-
 tigator had been a participant in a clinical study before commer-      Statistical Analysis
 cialization of the PED, this study captures the investigators’ expe-   Statistical analyses were performed by using SAS, Version 9.1 or
 rience as new users of the device. A majority of the 26 IntrePED       higher (SAS Institute, Cary, North Carolina). Summary statistics
 physicians were new users, and their early cases were included in      are presented for all data available by using means and SDs for
 the registry.                                                          continuous variables and frequency tabulations for categoric vari-
     Data were collected from the time of the first commercial use      ables. Comparisons between groups for continuous variables
 of PED at a site until the time of institutional review board/ethics   were evaluated by using t tests or ANOVAs and the Fisher exact
 committee approval of the study protocol for that site. Investiga-     test or Pearson "2 for binary categoric variables. Most statistical
 tional centers were required to provide data on all consecutive        analyses were performed across patient groups—that is, on a per-
 patients to eliminate selection bias, provided that the patients       patient basis. Because some patients had "1 aneurysm treated
 fulfilled the following conditions: 1) received PED treatment for      with a PED, however, each patient’s first aneurysm was used to
 an intracranial aneurysm after the date of regulatory approval in      classify patients into the 4 anatomic/size subgroups, and the larg-
 that region or country, and 2) had a clinical evaluation following     est aneurysm was used to classify patients into the 3 aneurysm size
 treatment during the window of time before institutional review        categories. Some analyses, including aneurysm characteristics and
 board/ethics committee approval. Because this was a retrospec-         spontaneous ruptures across aneurysm-size groups, were per-
 tive study, there were no patients lost to follow-up.                  formed across all aneurysms rather than across patients.
 2    Kallmes ● 2015    www.ajnr.org

                                                                  150
                                                                Exhibit 9
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 130 of 155 Page ID
                                 #:1929
 Table 1: Aneurysm characteristics
                                                Anterior ICA          Anterior             Posterior       Other Anterior                          P
      Aneurysm Characteristics                 ≥10 mm (n = 311)   <10 mm (n = 349)          (n = 59)       ≥10 mm (n = 178)   Total (n = 896)a   Value
  Aneurysm size (mm)
    Mean " SD                                     16.8 " 6.2          5.2 " 2.2             14.5 " 9.0        9.8 " 7.9          10.7 " 7.7      !.001
    Median, range                               15.0, 10.0–42.0      5.0, 1.0–9.9         11.8, 1.7–45.0     7.2, 1.0–55.0      9.0, 1.0–55.0
  Aneurysm type
    Small                                             0           349/349 (100%)         19/58 (32.8%)     105/178 (59.0%)    473/897 (52.8%)
    Large                                       268/311 (86.2%)         0                29/58 (50.0%)      60/178 (33.7%)    357/897 (39.8%)
    Giant                                        43/311 (13.8%)         0                10/58 (17.2%)       13/178 (7.3%)     66/897 (7.3%)
  Aneurysm neck (mm)
    Mean " SD                                      8.5 " 5.1          4.1 " 2.2            9.3 " 8.4           5.3 " 5.1         6.2 % 4.9       !.001
    Median, range                                7.6, 0.9–50.0      4.0, 0.8–22.0         8.0, 1.7–53.0      4.0, 1.0–50.0     5.0, 0.8–53.0
  Aneurysm shape
    Fusiform                                     49/311 (15.8%)    17/349 (4.9%)         17/59 (28.8%)      29/178 (16.3%)     112/897 (12.5%)   !.001
    Saccular                                    239/311 (76.9%)   305/349 (87.4%)        25/59 (42.4%)      118/178 (66.3%)   686/897 (76.5%)
    Dissecting                                   10/311 (3.2%)      8/349 (2.3%)         13/59 (22.0%)      22/178 (12.4%)     53/897 (5.9%)
    Other                                         13/311 (4.2%)    19/349 (5.4%)          4/59 (6.8%)         9/178 (5.1%)     46/897 (5.1%)
  Aneurysm location
    Internal carotid artery                      311/311 (100%)   349/349 (100%)              0                   0           660/897 (73.6%)    !.001
    Middle cerebral artery                             0                0                     0             43/178 (24.2%)      43/897 (4.8%)
    Posterior cerebral artery                          0                0                15/59 (25.4%)            0             15/897 (1.7%)
    Basilar artery                                     0                0                44/59 (74.6%)            0             44/897 (4.9%)
    Other                                              0                0                     0            135/178 (75.8%)     135/897 (15.1%)
  Presented with ruptured aneurysm                12/311 (3.9%)    24/345 (7.0%)          4/59 (6.8%)       34/176 (19.3%)      74/891 (8.2%)    !.001
  Multiple PEDs used                            143/311 (46.0%)    97/347 (28.0%)        19/59 (32.2%)      47/178 (26.4%)    306/895 (34.2%)    !.001
 Note:—n indicates the number of aneurysms.
 a
   Aneurysm size was not reported for 10 aneurysms.

 Role of the Funding Source                                                         50 minutes 30 seconds and was highest in the ICA aneurysms
 An academic principal investigator and an academic steering                        !10-mm group (111 minutes 24 seconds " 56 minutes 36 sec-
 committee supervised the trial design and operations. The steer-                   onds) (P ! .01). Aneurysm data are summarized in Table 1.
 ing committee interpreted the results, and the principal investi-                      The 30-day morbidity and mortality rate was 6.3% (50/793)
 gator wrote the report. The study sponsor was responsible for site                 with a 30-day neurologic morbidity rate of 5.7% (44/793) and a
 management, data management, statistical analysis, and safety re-                  30-day neurologic mortality rate of 2.6% (21/793). The long-term
 porting. The corresponding author was the academic principal                       neurologic morbidity and mortality rate was 8.4% (67/793) with a
 investigator for the study and had full access to all study data and               neurologic morbidity rate of 7.4% (59/793) and a neurologic
 the final responsibility for the decision to submit for publication.               mortality rate of 3.8% (30/793). Individual morbidity and mor-
                                                                                    tality rates did not add up to the total combined morbidity and
 RESULTS                                                                            mortality rate because some patients had #1 neurologic morbid-
 Seven hundred ninety-three patients with 906 aneurysms (76
                                                                                    ity. The morbidity and mortality rates were highest in the poste-
 [8.4%] ruptured, 824 [91%] unruptured, and 6 [0.7%] unknown)
                                                                                    rior circulation group (16.4%, 9/55) and lowest in the ICA !10
 were included. Three hundred eleven aneurysms (34.3%) were
                                                                                    mm group (4.8%, 14/294). The morbidity and mortality rates
 ICA !10 mm, 349 aneurysms (38.5%) were ICA !10 mm, 59
                                                                                    were higher in patients with giant aneurysms compared with
 aneurysms (6.5%) were in the posterior circulation, and 178 an-
                                                                                    those with large and small aneurysms (25.8% versus 8.8% versus
 eurysms (19.6%) were !10 mm and located in anterior circula-
                                                                                    5.4%, P ! .01). When patients with ruptured, dissecting, or fusi-
 tion locations other than the ICA. Combined location/size infor-
                                                                                    form aneurysms were excluded, the overall morbidity and mor-
 mation was not available for 9 aneurysms. Posterior circulation
                                                                                    tality rate was 5.7%.
 aneurysms were generally large, with an average size of 14.5 " 9.0
 mm. Patients with non-ICA anterior circulation aneurysms pre-                          The spontaneous rupture rate was 0.6% (5/793), with 2 of the
 sented with aneurysm rupture in 19.3% of cases (34/176), a sig-                    5 events being cavernous carotid fistulas with clinical sequelae.
 nificantly higher rate than that in the other groups (P ! .001).                   Four of the 5 cases occurred within 30 days. There was no differ-
 Four hundred seventy-three aneurysms (52.8%) were small, 357                       ence in the spontaneous rupture rate among the 4 groups (P $
 aneurysms (39.8%) were large, and 66 aneurysms (7.3%) were                         .17). Spontaneous rupture was higher in giant aneurysms (4.5%,
 giant. Median follow-up was 19.3 months with 706 (89%) pa-                         3/66) compared with large (0.6%, 2/357) and small aneurysms
 tients having follow-up of #12 months. Size information was not                    (0.0%, 0/473) (P ! .001). Overall the intraparenchymal hemor-
 available for 10 aneurysms.                                                        rhage rate was 2.4% (19/793). There was no difference in the
     Multiple PEDs were used in 308 cases (34.2%). Patients with                    hemorrhage rate among the primary patient subgroups (P $ .73)
 ICA aneurysms !10 mm had the highest rate of multiple PED use                      or among aneurysm sizes (P $ .24). Fifteen (79%) of the 19 hem-
 (46.0%, 143/311) and were significantly more likely to receive                     orrhages occurred within 30 days of the procedure.
 treatment with multiple PEDs compared with the other groups                            The ischemic stroke rate was 4.7% (37/793). A majority of
 (P ! .001). Mean procedure time was 101 minutes 30 seconds "                       strokes occurred within 30 days of treatment (26/793, 3.3%). The
                                                                                                AJNR Am J Neuroradiol ●:● ● 2015     www.ajnr.org    3

                                                                         151
                                                                       Exhibit 9
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 131 of 155 Page ID
                                 #:1930
 Table 2: Complications by aneurysm location and size subgroups
                                            Anterior ICA     Anterior ICA                        Posterior Other Anterior            Total              95% CI;
                Complications             ≥10 mm (n = 275) <10 mm (n = 294)                       (n = 55)    (n = 165)            (n = 793)a           P Value
  Mean aneurysm size (mm)                     16.8 # 6.2        5.2 # 2.2                        14.5 # 9.0  9.8 # 7.9             10.7 # 7.7      (10.2–11.2); !.001
  Spontaneous rupture                              4 (0.7%)        0 (0.0%)                        0 (0.0%)     1 (0.6%)               5 (0.6%)   (0.2%–1.5%); .17
  Intraparenchymal hemorrhage                      6 (2.2%)        6 (2.0%)                         1 (1.8%)    6 (3.6%)              19 (2.4%)   (1.3%–3.4%); .73
  Ischemic stroke                                 15 (5.5%)        8 (2.7%)                        4 (7.3%)    10 (6.1%)             37 (4.7%)    (3.2%–6.2%); .16
  Parent artery stenosis                            1 (0.4%)        1 (0.4%)                       0 (0.0%)     0 (0.0%)               2 (0.3%)   (0%–0.7%); 1.0
  Cranial neuropathy                               2 (0.7%)        0 (0.0%)                        0 (0.0%)     0 (0.0%)               2 (0.3%)   (0%–0.7%); .30
  Neurologic morbidity                           24 (8.7%)        14 (4.5%)                        5 (9.1%)    16 (9.7%)             59 (7.4%)    (5.6%–9.2%); .16
  Neurologic mortality                             11 (4.0%)       4 (1.4%)                        6 (10.9%)    9 (5.5%)             30 (3.8%)    (2.5%–5.1%); !.01
  Neurologic morbidity and mortality             26 (9.5%)        14 (4.8%)                        9 (16.4%)   18 (10.9%)            67 (8.4%)    (6.5%–10.3%); .01
     (all patients)
  Neurologic morbidity and mortality       24/263 (9.2%)     11/270 (4.1%)                      7/51 (13.7%)   11/131 (8.4%)   53/717 (7.4%) (5.5%–9.3%); .03
     (patients with unruptured aneurysms)
  Neurologic morbidity and mortality           2/12 (16.7%)    3/24 (12.5%)                     2/4 (50.0%)    7/34 (20.6%)    14/76 (18.4%) (10.0%–27.1%); .35
     (patients with ruptured aneurysms)
  Neurologic morbidity and mortality              15 (7.0%)        9 (3.6%)                        3 (12.0%)       6 (6.8%)          33 (5.7%) (4.1%–7.3%); .19
     (excluding ruptured, dissecting, or
     fusiform aneurysms)
 Note:—n indicates the number of patients.
 a
   Numbers do not sum across categories and subcategories because some patients experienced $1 event.

 Table 3: Occurrence of complications by time
                                                       <72 Hours                  72 Hours–30 Days                      >30 Days
                                                 Anterior       Posterior       Anterior          Posterior     Anterior
                                                                                                             Posterior       Total        P
                Complications                    (n = 738)       (n = 55)       (n = 738)          (n = 55)     (n = 738)
                                                                                                              (n = 55)     (n = 793)a   Value
  Spontaneous rupture                                1 (0.1%)     0 (0%)            3 (0.4%)        0 (0%)          1 (0.1%)
                                                                                                               0 (0%)          5 (0.6%)    .51
  Intraparenchymal hemorrhage                        3 (0.4%)      1 (1.8%)         11 (1.5%)       0 (0%)          4 (0.5%)
                                                                                                               0 (0%)         19 (2.4%)   .83
  Ischemic stroke                                   17 (2.3%)      2 (3.6%)         7 (0.9%)        0 (0%)          9 (1.2%)
                                                                                                               2 (3.6%)       37 (4.7%)   .58
  Parent artery stenosis                             0 (0%)       0 (0%)             1 (0.1%)       0 (0%)          1 (0.1%)
                                                                                                               0 (0%)          2 (0.3%)   .63
  Cranial neuropathy                                 0 (0%)       0 (0%)            2 (0.3%)        0 (0%)          0 (0%)
                                                                                                               0 (0%)          2 (0.3%)   .58
  Neurologic morbidity                             20 (2.7%)       3 (5.5%)        21 (2.8%)        0 (0%)         13 (1.8%)
                                                                                                               2 (3.6%)      59 (7.4%)    .56
  Neurologic mortality                               4 (0.5%)      1 (1.8%)        13 (1.8%)        2 (3.6%)        7 (0.9%)
                                                                                                               3 (5.5%)      30 (3.8%) !.01
  Neurologic morbidity and mortality               23 (3.1%)       3 (5.5%)       22 (3.0%)         2 (3.6%)       13 (1.8%)
                                                                                                               4 (7.3%)      67 (8.4%) !.01
     (all patients)
  Neurologic morbidity and mortality      19/664 (2.9%) 3/51 (5.9%) 16/664 (2.4%) 1/51 (2.0%) 11/664 (1.7%) 3/51 (5.9%)  53/717 (7.4%)    .08
     (patients with unruptured aneurysms)
  Neurologic morbidity and mortality        4/70 (5.7%) 0/4 (0%)      6/70 (8.6%)  1/4 (25.0%) 2/70 (2.9%)   1/4 (25.0%) 14/76 (18.4%)     .17
     (patients with ruptured aneurysms)
  Neurologic morbidity and mortality      13/549 (2.4%) 1/25 (4.0%) 12/549 (2.2%) 0/25 (0%)    5/549 (0.9%) 2/25 (8.0%) 33/575 (5.7%)      .41
     (excluding ruptured, dissecting, or
     fusiform aneurysms)
 Note:—n indicates the number of patients.
 a
   Numbers do not sum across categories and subcategories because some patients experienced $1 event.


 highest stroke rates were seen in patients with posterior circula-                   est neurologic mortality (1.4%, 4/294). The mortality rate was
 tion aneurysms (7.3%, 4/55) and the “other anterior circulation”                     significantly higher in patients with giant aneurysms compared
 group (6.1%, 10/165). The anterior circulation ICA !10-mm                            with those with large and small aneurysms, respectively (9.6%
 group had the lowest stroke rates (2.7%, 8/294) (P " .16). When                      versus 5.0% versus 1.8%, P ! .01). The overall mortality rate in
 studying differences based on aneurysm size, patients with giant                     patients who presented with ruptured aneurysms was 10.5% (8/
 aneurysms had the highest stroke rates (14.5%, 9/62) compared                        76), with no significant differences among groups (P " .11).
 with patients with large (5.0%, 17/339) and small aneurysms                          These data are summarized in Tables 2– 4.
 (2.8%, 11/386) (P ! .01).                                                                In addition to the above-listed major events, 5 cases of intra-
     In-stent stenosis occurred in 0.3% (2/793) with no significant                   cranial hemorrhage, 15 cases of ischemic strokes, and 5 cases of
 differences among groups (P " 1.0). Permanent cranial neurop-                        parent artery stenosis were also observed as minor events in which
 athy occurred in 0.3% (2/793) of patients with no significant dif-                   the patient’s symptoms resolved within 7 days of the event occur-
 ferences among groups (P " .30). These data are summarized in                        rence with no clinical sequelae. Three additional deaths were re-
 Tables 2– 4.                                                                         ported due to non-neurologic reasons.
     Neurologic mortality was 3.8% (30/793) and was significantly
 different among the 4 primary patient subgroups (P ! .01). The                       DISCUSSION
 30-day mortality rate was 2.5% (20/793), which represented                           This large multicenter study of flow-diversion therapy demon-
 nearly two-thirds of all mortality observed in the average 19.3                      strated a neurologic morbidity and mortality rate of 8.4%. Most
 months of follow-up. Patients with posterior circulation aneu-                       adverse events were ischemic strokes from thromboembolic com-
 rysms had the highest rate of neurologic mortality (10.9%, 6/55),                    plications and were substantially more common in large, anterior
 and patients with anterior ICA !10-mm aneurysms had the low-                         circulation aneurysms and posterior circulation aneurysms com-
 4     Kallmes ● 2015       www.ajnr.org

                                                                                152
                                                                              Exhibit 9
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 132 of 155 Page ID
                                 #:1931
 Table 4: Complications by aneurysm size
                                               Small (n = 386) (N = 473)       Large (n = 339) (N = 357)      Giant (n = 62) (N = 66)
                                                Anterior       Posterior        Anterior       Posterior
                                                                                                   Anterior     Posterior Total (n = 793)a,b              P
                Complications                   (n = 372)       (n = 14)        (n = 309)       (n = 30)
                                                                                                    (n = 52)     (n = 10)     (N = 906)                 Value
  Mean aneurysm size (mm)                       5.1 " 2.2      6.0 " 2.6       14.8 " 4.0      15.0 " 4.3
                                                                                                  28.8 " 5.3    29.1 " 7.2    10.7 " 7.7                !.001
  Spontaneous rupture                              0 (0%)       0 (0%)             2 (0.5%)       0 (0%)
                                                                                                      3 (5.8%)   0 (0%)           5 (0.6%)              !.01
  Intraparenchymal hemorrhage                       7 (1.9%)    0 (0%)             8 (2.6%)       0 (0%)
                                                                                                      3 (5.8%)    1 (10.0%)      19 (2.4%)                .24
  Ischemic stroke                                 10 (2.7%)      1 (7.1%)         16 (5.2%)       1 (3.3%)
                                                                                                      7 (13.5%)   2 (20.0%)      37 (4.7%)              !.01
  Parent artery stenosis                            1 (0.3%)    0 (0%)              1 (0.3%)      0 (0%)
                                                                                                      0 (0%)     0 (0%)           2 (0.3%)               1.0
  Cranial neuropathy                               0 (0%)       0 (0%)             2 (0.6%)       0 (0%)
                                                                                                      0 (0%)     0 (0%)           2 (0.3%)                .41
  Neurologic morbidity                            18 (4.8%)      1 (7.1%)         24 (7.8%)       1 (3.3%)
                                                                                                     12 (23.1%)   3 (30.0%)     59 (7.4%)               !.01
  Neurologic mortality                             6 (1.6%)      1 (7.1%)         15 (4.9%)       2 (6.7%)
                                                                                                      3 (5.8%)    3 (30.0%)      30 (3.8%)              !.01
  Neurologic morbidity and mortalitya             19 (5.1%)      2 (14.3%)        27 (8.7%)       3 (10.0%)
                                                                                                     12 (23.1%)   4 (40.0%)      67 (8.4%)              !.01
     (all patients)
  Neurologic morbidity and mortality       11/321 (3.4%) 1/12 (8.3%) 23/291 (7.9%) 3/29 (10.3%) 12/51 (23.5%) 3/9 (33.3%)   53/717 (7.4%)               !.01
     (patients with unruptured aneurysms)
  Neurologic morbidity and mortality         8/51 (15.7%) 1/2 (50.0%)   4/18 (22.2%) 0/1 (0%)      0/1 (0%)     1/1 (100%)   14/76 (18.4%)                  .23
     (patients with ruptured aneurysms)
  Neurologic morbidity and mortality      11/294 (3.7%) 0/7 (0%)      12/217 (5.5%) 2/13 (15.4%) 7/37 (18.9%) 1/5 (20.0%) 33/574 (5.7%)                 !.01
     (excluding ruptured, dissecting, or
     fusiform aneurysms)
 Note:—n indicates the number of patients; N, number of aneurysms.
 a
   Six patients did not have aneurysm size reported.
 b
   Numbers do not sum across categories because some patients experienced #1 event.


 pared with small, anterior circulation aneurysms. Spontaneous                        flow-diverter treatment. Hemorrhagic transformation of isch-
 aneurysm rupture was rare, occurring in 0.6% of patients, with                       emic stroke, hemodynamic alteration from flow-diverter place-
 3/5 events occurring within giant aneurysms. Intraparenchymal                        ment, dual antiplatelet therapy, potential association with intrap-
 hemorrhage, unrelated to rupture of the target aneurysm but re-                      rocedural foreign body emboli, and the significant role of P2Y12
 sulting in major neurologic deficit, was noted in 2.4% of patients.                  receptor overinhibition are proposed mechanisms.8,14,15,33 Prior
 These results are important because they provide clarity regarding                   studies have reported rates ranging from 0% to 10% for this com-
 the previously noted severe and unexpected adverse events asso-                      plication.8,30,34,35 In their meta-analysis, Brinjikji et al3 found an
 ciated with flow-diversion therapy in a real-world setting. Our                      IPH rate of 3.0%. Arrese et al1 found a postoperative hemorrhage
 data suggest strongly that spontaneous aneurysm rupture is not of                    rate of 1.8%, not stratifying by SAH and IPH. Our study found an
 clinical concern in non-giant aneurysms. Parenchymal hemor-                          IPH rate of 2.4%. Similar to prior studies, our study found no
 rhage remains of concern, especially because its etiology is                         difference in IPH rates by aneurysm size or location.3
 unclear.                                                                                 Ischemic strokes due to thromboembolism and perforator in-
     Our findings corroborate those of numerous previously pub-                       farctions are well-described complications of flow-diverter treat-
 lished smaller studies and meta-analyses. Previously published                       ment. Ischemic stroke may result from stent wall thrombus
 studies have demonstrated morbidity and mortality rates ranging                      formation and occlusion, parent artery occlusion, or distal
 from 0%–12% and 0%–7%, respectively.30-32 Two large meta-                            thromboembolic events. Our study found an ischemic stroke
 analyses of flow-diverter treatment demonstrated morbidity rates                     rate of 4.7%, with higher rates in posterior circulation aneu-
 of 5.0%–7.3% and mortality rates of 2.8%– 4.0%.1,3 Our study,                        rysms compared with the ICA aneurysm !10-mm group
 which is the largest clinical study of PED to date to our knowledge,                 (7.3% versus 2.7%).1,3,9,36 Similar to Brinjikji et al,3 we also
 demonstrated a 30-day morbidity rate of 5.5% (44/793) and a                          found that the stroke rate increased with aneurysm size as pa-
 30-day mortality rate of 2.5% (20/793).                                              tients with large and giant aneurysms had higher stroke rates
     Posttreatment aneurysm rupture is a serious concern of flow-                     than those with small aneurysms. Intraoperatively, acute
 diverter therapy. Concerns for postoperative aneurysm rupture                        thrombus formation can be mitigated by prompt injection of
 with flow diverters are so serious that Balt Extrusion issued a                      glycoprotein IIb/IIIa platelet inhibitors; however, it is difficult to
 medical device alert instructing practitioners not to use the Silk                   reduce the long-term risk of thromboembolic events associated with
 flow diverter (Balt Extrusion, Montmorency, France) without                          flow-diverter treatment.37
 coils due to the “potential for patient death.”13 In their meta-                         Endosaccular coiling (with or without stent assistance) is an
 analysis of flow-diverter treatment, which included the PED and                      alternative to flow-diverter therapy. A systematic review of stent-
 Silk flow-diverter devices, Brinjikji et al3 found an overall postop-                assisted coiling by McLaughlin et al38 found an intraprocedural
 erative rupture rate of 4%, with an early rupture rate of 3% with a                  complication rate of 4.0%, a postprocedural thromboembolic
 significantly higher rupture rate in large and giant aneurysms.                      event rate of 4.3%, and a delayed in-stent stenosis rate of 5.3%.
 Our study demonstrated a posttreatment rupture rate of !1%,                          These complication rates are similar to the findings of our study
 3/5 occurring among patients with giant aneurysms. While post-                       on the PED. In a study of stent-assisted coiling in patients with
 operative rupture rates are minimal in patients with small and                       subarachnoid hemorrhage, Bodily et al39 found a clinically signif-
 large aneurysms, postoperative rupture remains a real and signif-                    icant thromboembolic event rate of 6%. A meta-analysis by Sha-
 icant complication of Pipeline treatment in patients with giant                      piro et al40 found that the overall procedural complication rate
 aneurysms.                                                                           associated with stent coiling was 19%, the thromboembolic com-
     Spontaneous IPH is a poorly understood complication of                           plication rate was 10%, and the periprocedural mortality was
                                                                                                   AJNR Am J Neuroradiol ●:●        ● 2015   www.ajnr.org         5

                                                                               153
                                                                             Exhibit 9
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 133 of 155 Page ID
                                 #:1932
 2.1%. In the Neuroform stent (Stryker Neurovascular, Kalama-         CONCLUSIONS
 zoo, Michigan) experience in 284 patients, Fiorella et al41 re-      Our study suggests that the treatment of intracranial aneurysms
 ported a cumulative ischemic stroke rate of 8.8% and a 2.8%          with PED is associated with the lowest complication rates when
 neurovascular death rate. They also reported that 15.1% of the       used to treat small aneurysms of the ICA. The rates of procedural-
 cases had major recanalization requiring retreatment. Piotin et      related morbidity and mortality are not negligible. Patients with
 al42 reported results on the treatment of aneurysms with coils,      posterior circulation aneurysms and giant aneurysms are at
 with and without stents, in 1137 patients. The rate of permanent     higher risk of ischemic stroke. Patients with large or giant aneu-
 neurologic procedure-related complications was 7.4% of the           rysms are at higher risk of ischemic stroke and SAH compared
 procedures with stents versus 3.8% in the procedures without         with small aneurysms. The neurologic morbidity and mortality
 stents (P ! .64). Procedure-induced mortality occurred in            rate drops when patients with difficult-to-treat aneurysms (rup-
 4.6% of the procedures with stents versus 1.2% in the proce-         tured, dissecting, or fusiform) are excluded. The complication
 dures without stents (P ! .006). The rate of thrombotic com-         rates with PED are comparable with those of other endovascular
 plications in the stent group was 14.8%, accounting for 11.1%        treatment options such as stent-assisted coiling. These findings
 of mortalities.42 Retrospective studies comparing flow diver-        should be considered when selecting the best therapeutic option
                                                                      for intracranial aneurysms.
 sion with the PED with coiling (with and without stent assis-
 tance) have demonstrated that the PED provides higher aneu-
                                                                      Disclosures: David F. Kallmes—RELATED: Grant: ev3/Covidien,* Comments: funding
 rysm occlusion rates with similar morbidity and mortality            for enrollment in clinical trial; Consulting Fee or Honorarium: ev3/Covidien,* Com-
 rates.23,43 In our study, anterior circulation aneurysms mea-        ments: funding for Principal Investigator duties, Steering Committee and Adverse
                                                                      Event Adjudication Committee; Grants/Grants Pending:MicroVention,* ev3/Covi-
 suring "10 mm had the lowest neurologic morbidity and mor-
                                                                      dien,* SurModics,* Codman,* Sequent Medical,* Benvenue Medical,* National Insti-
 tality rates (4.8%). These findings corroborate those of a pre-      tutes of Health,* Comments: funding for preclinical research and clinical trials; Roy-
 vious study comparing the PED with stent-assisted coiling of         alties: University of Virginia Patent Foundation, Comments: spinal fusion; Other:
                                                                      Radiological Society of North America, Comments: editorial support money to in-
 patients with small, unruptured anterior circulation aneu-           stitution. Demetrius Lopes—RELATED: Board Membership: Covidien (advisory
 rysms, which demonstrated a complication rate of 5% in the           board); Consultancy: Covidien; Grant: Covidien; Payment for Lectures (including
 PED group and 3% in the stent-assisted coiling group.43 Given        service on Speakers Bureaus, papers, and teaching): Covidien; Other: Covidien
                                                                      (proctorship, advisory board). Edoardo Boccardi—RELATED: Consulting Fee or Hon-
 the wide range of treatment options available for the endovas-       orarium: Covidien; Support for Travel to Meetings for the Study or Other Purposes:
 cular treatment of intracranial aneurysms, careful study and         Covidien; UNRELATED: Consultancy: Covidien, Comments: consultation and proc-
                                                                      toring. Saruhan Cekirge—RELATED: Consulting Fee or Honorarium: Covidien;
 stratification of outcomes by aneurysm location and size are
                                                                      UNRELATED: Consultancy: MicroVention, Covidien, Sequent. Pascal Jabbour—
 recommended to determine the best treatment for each pa-             UNRELATED: Consultancy: Covidien. Cameron McDougall—RELATED: Consulting
 tient. Ultimately, further comparative studies, especially in the    Fee or Honorarium: ev3/Covidien; Fees for Participation in Review Activities such as
                                                                      Data Monitoring Boards, Statistical Analysis, Endpoint Committees, and the Like:
 case of small ICA aneurysms, are needed to determine which           ev3/Covidien (steering committee, medical advisory board); UNRELATED: Board
 subsets of intracranial aneurysms would benefit most from            Membership: ev3/Covidien; Consultancy: MicroVention/Terumo, Codman/John-
 PED placement compared with endosaccular coiling.                    son and Johnson; Personal Fees: MicroVention (principal investigator, FRED). Adnan
                                                                      Siddiqui—UNRELATED: Board Membership: Codman & Shurtleff, Covidien, Com-
                                                                      ments: advisory board; Consultancy: Codman & Shurtleff, Concentric Medical, ev3/
 Limitations                                                          Covidien, GuidePoint Global, Penumbra, Stryker, Pulsar Vascular, MicroVention,
 Our study has limitations. It was a retrospective study in which     Lazarus Effect, Blockade Medical, Comments: no consulting salary arrangements; all
                                                                      consulting is per project and/or per hour; Grants/Grants Pending: National Insti-
 sites followed their standard of practice for treating aneurysms     tutes of Health (coinvestigator: National Institute of Neurological Disorders and
 with PED, and there was a wide range of treatment regimens (eg,      Stroke 1R01NS064592-01A1, hemodynamic induction of pathologic remodeling lead-
 antiplatelet therapy) among centers. However, all study adverse      ing to intracranial aneurysms),* University at Buffalo (Research Development
                                                                      Award),* National Institutes of Health (coinvestigator: National Institute of Biomed-
 events collected were prespecified in the study protocol and were    ical Imaging and Bioengineering 5 R01 EB002873-07, Micro-Radiographic Image for
 adjudicated by the Adverse Events Review Committee to main-          Neurovascular Interventions)*; National Steering Committees: Penumbra (3D Sepa-
                                                                      rator Trial), Covidien (SWIFT PRIME Trial), MicroVention (FRED Trial); Payment for
 tain consistency in the study results. Patients who underwent
                                                                      Lectures (including service on speakers bureaus): Codman & Shurtleff; Stock/Stock
 failed embolization or who did not have follow-up were excluded      Options: Hotspur, Intratech Medical, StimSox, Valor Medical, Blockade Medical,
 per the study design. There was no systematic imaging of patients    Lazarus Effect; Other:Abbott Vascular, Penumbra, Abbott Vascular, and Codman &
                                                                      Shurtleff (for training other neurointerventionists in carotid stenting and for training
 required in this study because sites were required to follow their   physicians in endovascular stenting for aneurysms), Comments: honoraria. Henry
 standard procedures. There was no protocol regarding the mini-       Woo—RELATED: Other:Covidien,* Comments: startup costs for institutional review
 mum duration of follow-up, and follow-up timing was per stan-        board submission and payment for enrolled patients; UNRELATED: Grants/Grants
                                                                      Pending: Siemens,* Comments: grants for clinical and academic research; Royalties:
 dard of care for the treating physician and institution. Another     Codman & Shurtleff, Comments: royalties for development of intellectual property;
 limitation of the study is that the reporting of major and minor     Other: shareholder in Vascular Simulators. Britton K. Woodward—UNRELATED: Per-
                                                                      sonal Fees: Covidien, Comments: consultant for proctoring of cases. Shervin
 complications was based on the duration of symptoms, not their
                                                                      Dashti—UNRELATED: Other: proctoring fees from Covidien, MicroVention. Josser
 severity or degree of disability. Information regarding manage-      Delgado Almando—RELATED: Personal Fees: Covidien/ev3; UNRELATED: Personal
 ment of the major and minor complications was not collected. A       Fee: Terumo/MicroVention. Istvan Szikora—RELATED: Grant: Covidien; Personal Fees:
                                                                      Covidien. Elad Levy—UNRELATED: Shareholder/Ownership Interest: Intratech Medical
 broad range of aneurysm types and sizes was included in this         Ltd, Mynx Access Closure, Blockade Medical LLC. Alain Bonafé—UNRELATED: Personal
 registry (ie, saccular/blister/ruptured/fusiform/dissecting), and    Fees: Covidien (proctoring for PED). Michael Kelly—RELATED: Other: Covidien spon-
 subgroup analyses were not performed for the subset of blister/      sored the IntrePED study, and all funds were paid to University of Saskatchewan. Ray-
                                                                      mond Turner—RELATED: Grants: Covidien, MicroVention, Codman, Blockade Medical,
 fusiform/dissecting aneurysms in this study. Last, 38% of these      Reverse Medical; Personal Fees: Covidien, MicroVention, Codman, Blockade Medical,
 patients had been included in prior publications.                    Pulsar Vascular. David Fiorella—UNRELATED: Grants: Siemens, MicroVention; Personal

 6    Kallmes ● 2015    www.ajnr.org

                                                                154
                                                              Exhibit 9
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 134 of 155 Page ID
                                 #:1933
 Fees: Covidien/ev3, Cordis, Nfocus Neuromedical, Micrus Endovascular, Comments:        18. Chalouhi N, Jabbour P, Tjoumakaris S, et al. Treatment of large and
 Consultant;Royalties: Codman & Shurtleff (Revive);Ownership Interests: Vascular Sim-       giant intracranial aneurysms: cost comparison of flow diversion
 ulators LLC, TDC Technologies, CVSL. Giuseppe Lanzino—UNRELATED: Consultancy:              and traditional embolization strategies. World Neurosurg 2013 Mar
 Edge Therapeutics, Covidien/ev3, Codman. Pedro Lylyk—UNRELATED: Consultancy:
                                                                                            6. [Epub ahead of print]
 ev3, MicroVention, Covidien, Codman; Payment for Lectures (including service on
 Speakers Bureaus): Covidien, MicroVention, Codman. Ricardo Hanel—RELATED: Grant:       19. Chalouhi N, McMahon JF, Moukarzel LA, et al. Flow diversion ver-
 MicroVention;UNRELATED: Consultancy: Covidien, Codman, Stryker;Other: Blockade             sus traditional aneurysm embolization strategies: analysis of fluo-
 (shareholder). *Money paid to the institution.                                             roscopy and procedure times. J Neurointervent Surg 2014;6:291–95
                                                                                        20. Chalouhi N, Tjoumakaris S, Dumont AS, et al. Treatment of poste-
                                                                                            rior circulation aneurysms with the Pipeline embolization device.
 REFERENCES                                                                                 Neurosurgery 2013;72:883– 89
  1. Arrese I, Sarabia R, Pintado R, et al. Flow-diverter devices for intra-
                                                                                        21. Jabbour P, Chalouhi N, Tjoumakaris S, et al. The Pipeline emboliza-
     cranial aneurysms: systematic review and meta-analysis. Neurosur-
                                                                                            tion device: learning curve and predictors of complications and an-
     gery 2013;73:193–99; discussion 199 –200
                                                                                            eurysm obliteration. Neurosurgery 2013;73:113–20
  2. Briganti F, Napoli M, Tortora F, et al. Italian multicenter experience
                                                                                        22. Chitale R, Gonzalez LF, Randazzo C, et al. Single center experience
     with flow-diverter devices for intracranial unruptured aneurysm
                                                                                            with Pipeline stent: feasibility, technique, and complications. Neu-
     treatment with periprocedural complications: a retrospective data
                                                                                            rosurgery 2012;71:679 –91
     analysis. Neuroradiology 2012;54:1145–52
  3. Brinjikji W, Murad MH, Lanzino G, et al. Endovascular treatment of                 23. Chalouhi N, Tjoumakaris S, Starke RM, et al. Comparison of flow
     intracranial aneurysms with flow diverters: a meta-analysis. Stroke                    diversion and coiling in large unruptured intracranial saccular an-
     2013;44:442– 47                                                                        eurysms. Stroke 2013;44:2150 –54
  4. Yu SC, Kwok CK, Cheng PW, et al. Intracranial aneurysms: mid-                      24. O’Kelly CJ, Spears J, Chow M, et al. Canadian experience with the
     term outcome of Pipeline embolization device: a prospective study                      Pipeline embolization device for repair of unruptured intracranial
     in 143 patients with 178 aneurysms. Radiology 2012;265:893–901                         aneurysms. AJNR Am J Neuroradiol 2013;34:381– 87
  5. Chan TT, Chan KY, Pang PK, et al. Pipeline embolisation device                     25. Cruz JP, O’Kelly C, Kelly M, et al. Pipeline embolization device in
     for wide-necked internal carotid artery aneurysms in a hospital                        aneurysmal subarachnoid hemorrhage. AJNR Am J Neuroradiol
     in Hong Kong: preliminary experience. Hong Kong Med J                                  2013;34:271–76
     2011;17:398 – 404                                                                  26. Kan P, Siddiqui AH, Veznedaroglu E, et al. Early postmarket results
  6. Cirillo L, Dall’Olio M, Princiotta C, et al. The use of flow-diverting                 after treatment of intracranial aneurysms with the Pipeline embo-
     stents in the treatment of giant cerebral aneurysms: preliminary                       lization device: A US multicenter experience. Neurosurgery
     results. Neuroradiol J 2010;23:220 –24                                                 2012;71:1080 – 87
  7. Siddiqui AH, Kan P, Abla AA, et al. Complications after treatment                  27. Siddiqui AH, Abla AA, Kan P, et al. Panacea or problem: flow
     with Pipeline embolization for giant distal intracranial aneurysms                     diverters in the treatment of symptomatic large or giant fusi-
     with or without coil embolization. Neurosurgery 2012;71:E509 –13;                      form vertebrobasilar aneurysms— clinical article. J Neurosurg
     discussion E513                                                                        2012;116:1258 – 66
  8. Cruz JP, Chow M, O’Kelly C, et al. Delayed ipsilateral parenchymal                 28. de Barros Faria M, Castro RN, Lundquist J, et al. The role of the
     hemorrhage following flow diversion for the treatment of anterior                      Pipeline embolization device for the treatment of dissecting intra-
     circulation aneurysms. AJNR Am J Neuroradiol 2012;33:603– 08                           cranial aneurysms. AJNR Am J Neuroradiol 2011;32:2192–95
  9. Pierot L. Flow diverter stents in the treatment of intracranial                    29. Brinjikji W, Lanzino G, Cloft HJ, et al. Patency of the posterior com-
     aneurysms: where are we? J Neuroradiol 2011;38:40 – 46                                 municating artery after flow diversion treatment of internal carotid
 10. Darsaut TE, Rayner-Hartley E, Makoyeva A, et al. Aneurysm rupture                      artery aneurysms. Clin Neurol Neurosurg 2014;120:84 – 88
     after endovascular flow diversion: the possible role of persistent                 30. Berge J, Biondi A, Machi P, et al. Flow-diverter Silk stent for the
     flows through the transition zone associated with device deforma-                      treatment of intracranial aneurysms: 1-year follow-up in a multi-
     tion. Interv Neuroradiol 2013;19:180 – 85                                              center study. AJNR Am J Neuroradiol 2012;33:1150 –55
 11. Kuzmik GA, Williamson T, Ediriwickrema A, et al. Flow diverters                    31. Leonardi M, Cirillo L, Toni F, et al. Treatment of intracranial aneu-
     and a tale of two aneurysms. J Neurointerv Surg 2013;5:e23                             rysms using flow-diverting Silk stents (BALT): a single centre expe-
 12. Turowski B, Macht S, Kulcsar Z, et al. Early fatal hemorrhage after                    rience. Interv Neuroradiol 2011;17:306 –15
     endovascular cerebral aneurysm treatment with a flow diverter
                                                                                        32. Velioglu M, Kizilkilic O, Selcuk H, et al. Early and midterm results of
     (SILK-Stent): do we need to rethink our concepts? Neuroradiology
                                                                                            complex cerebral aneurysms treated with Silk stent. Neuroradiology
     2011;53:37– 41
                                                                                            2012;54:1355– 65
 13. Lubicz B, Collignon L, Raphaeli G, et al. Flow-diverter stent for the
                                                                                        33. Hu YC, Deshmukh VR, Albuquerque FC, et al. Histopathological
     endovascular treatment of intracranial aneurysms: a prospective
                                                                                            assessment of fatal ipsilateral intraparenchymal hemorrhages after
     study in 29 patients with 34 aneurysms. Stroke 2010;41:2247–53
                                                                                            the treatment of supraclinoid aneurysms with the Pipeline emboli-
 14. Piano M, Valvassori L, Quilici L, et al. Midterm and long-term fol-
                                                                                            zation device. J Neurosurg 2014;120:365–74
     low-up of cerebral aneurysms treated with flow diverter devices: a
     single-center experience. J Neurosurg 2013;118:408 –16                             34. Byrne JV, Beltechi R, Yarnold JA, et al. Early experience in the treat-
 15. Delgado Almandoz JE, Crandall BM, Scholz JM, et al. Pre-procedure                      ment of intra-cranial aneurysms by endovascular flow diversion: a
     P2Y12 reaction units value predicts perioperative thromboembolic                       multicentre prospective study. PLoS One 2010;5:pii: e12492
     and hemorrhagic complications in patients with cerebral aneu-                      35. McAuliffe W, Wycoco V, Rice H, et al. Immediate and midterm
     rysms treated with the Pipeline embolization device. J Neurointerv                     results following treatment of unruptured intracranial aneurysms
     Surg 2013;5(suppl 3):iii3–10                                                           with the Pipeline embolization device. AJNR Am J Neuroradiol
 16. Delgado Almandoz JE, Crandall BM, Scholz JM, et al. Last-recorded                      2012;33:164 –70
     P2Y12 reaction units value is strongly associated with thromboem-                  36. Wong GK, Kwan MC, Ng RY, et al. Flow diverters for treatment of
     bolic and hemorrhagic complications occurring up to 6 months af-                       intracranial aneurysms: current status and ongoing clinical trials.
     ter treatment in patients with cerebral aneurysms treated with the                     J Clin Neurosci 2011;18:737– 40
     Pipeline embolization device. AJNR Am J Neuroradiol                                37. Tähtinen OI, Manninen HI, Vanninen RL, et al. The Silk flow-divert-
     2014;35:128 –35                                                                        ing stent in the endovascular treatment of complex intracranial
 17. Hanel RA, Taussky P, Dixon T, et al. Safety and efficacy of ticagrelor                 aneurysms: technical aspects and midterm results in 24 consecutive
     for neuroendovascular procedures: a single center initial experi-                      patients. Neurosurgery 2012;70:617–23; discussion 623–24
     ence. J Neurointerv Surg 2014;6:320 –22                                            38. McLaughlin N, McArthur DL, Martin NA. Use of stent-assisted coil
                                                                                                     AJNR Am J Neuroradiol ●:●      ● 2015    www.ajnr.org       7

                                                                                155
                                                                              Exhibit 9
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 135 of 155 Page ID
                                 #:1934
     embolization for the treatment of wide-necked aneurysms: a sys-          sisted aneurysm treatment: evolving treatment strategies, com-
     tematic review. Surg Neurol Int 2013;4:43                                plications and results of long term follow-up. J Neurointerv Surg
 39. Bodily KD, Cloft HJ, Lanzino G, et al. Stent-assisted coiling in         2010;2:16 –22
     acutely ruptured intracranial aneurysms: a qualitative, systematic   42. Piotin M, Blanc R, Spelle L, et al. Stent-assisted coiling of intracra-
     review of the literature. AJNR Am J Neuroradiol 2011;32:1232–36          nial aneurysms: clinical and angiographic results in 216 consecu-
 40. Shapiro M, Becske T, Sahlein D, et al. Stent-supported aneurysm          tive aneurysms. Stroke 2010;41:110 –15
     coiling: a literature survey of treatment and follow-up. AJNR Am J   43. Chalouhi N, Starke RM, Yang S, et al. Extending the indications of
     Neuroradiol 2012;33:159 – 63                                             flow diversion to small, unruptured, saccular aneurysms of the an-
 41. Fiorella D, Albuquerque FC, Woo H, et al. Neuroform stent as-            terior circulation. Stroke 2014;45:54 –58




 8     Kallmes ● 2015    www.ajnr.org

                                                                    156
                                                                  Exhibit 9
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 136 of 155 Page ID
                                 #:1935




          Exhibit 10 Omitted
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 137 of 155 Page ID
                                 #:1936




               Exhibit 11




                                     160
                                   Exhibit 11
             Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 138 of 155 Page ID
                                              #:1937




                                                  REGION MEETING
                                                    FY17Q1 SALES
Exhibit 11
  161
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 139 of 155 Page ID




                                                                                 TOP 20 PERFORMANCE PIPELINE - ACCOUNTS
                                                                                                                    Sold To Name                  FY2015 Sales FY2016 Sales          YoY $ Growth YoY % Growth
                                                                                                     NY Presbyterian                                  $564,300   $1,940,380             $1,376,080       244%
                                                                                                     NYU Langone Medical Center                      $1,820,316  $1,882,700                 $62,384         3%
                                                                                                     Jefferson Hospital for Neuroscience              $978,350   $1,793,500                $815,150        83%
                                                                                                     University of Iowa Hospital                     $1,826,000   $1,401,000             ($425,000)       -23%
                                                                                                     Westchester County Medical Center                $691,840   $1,342,400               $650,560         94%
                                                                                                     Johns Hopkins Hospital                           $554,700   $1,306,400                $751,700      136%
                                                                                                     Baptist Medical Center                           $497,877   $1,086,096                $588,219       118%
                                                                                                     Emory University Hospital                        $607,387   $1,076,866               $469,479         77%
                                                                                                     Cleveland Clinic Foundation                      $687,318   $1,042,455                $355,137        52%
                                 #:1938




                                                                                                     Beth Israel Deaconess Medical Ctr                $699,400    $1,014,700               $315,300        45%
                                                                                                     Duke Hospital North                              $538,500   $1,003,734               $465,234         86%
                                                                                                     Indiana University Health Methodist              $307,200     $986,200               $679,000       221%
                                                                                                     Swedish Medical Center Cherry Hill               $766,816     $985,460                $218,644        29%
                                                                                                     Stony Brook University Medical                   $923,520     $935,100                 $11,580         1%
                                                                                                     Medical University Hospital Authori              $712,303     $931,936                $219,633        31%
                                                                                                     Abbott Northwestern Hospital                     $379,981     $885,800                $505,819      133%
                                                                                                     Johns Hopkins Bayview Medical Cente              $602,000     $873,150                $271,150        45%
                                                                                                     Kaleida Health-Buffalo General                   $645,985     $872,800                $226,815        35%
                                                                                                     Wellstar Kennestone Hospital                      $190,100    $868,100               $678,000       357%
                                                                                                     University of Maryland Medical Cent              $997,970     $833,772               ($164,198)      -16%
                                                                                                     Total                                         $14,991,863         $23,062,549     $8,070,686         54%
                                                                                 16   FY17Q1 Sales Management Kick-Off Meeting | Confidential, for Internal Use Only
                                                                                                                                                             162
                                                                                                                                                           Exhibit 11
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 140 of 155 Page ID
                                 #:1939




               Exhibit 12




                                     163
                                   Exhibit 12
                                                                                 Medtronic Pipeline Customer Hospitals with Quarterly Sales and Associated Proctors
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 141 of 155 Page ID




                                                                                                                    Pipeline Sales    Pipeline Sales
                                                                                                                    Quarter           Quarter
                         Customer Hospital                                                    Location              Ended 4/29/15     Ended 4/29/16    Likely Proctors Associated With Hospital
                         NYU Langone Medical Center                                           New York, NY          507,200           179,700          Peter Nelson, Maksim Shapiro, Tibor Becske
                         University of Iowa Hospital                                          Iowa City, IA         501,800           668,800
                         University of Maryland Medical Center                                Baltimore, MD         429,500           298,402
                         Westchester County Medical Center                                    Valhalla, NY          412,500           99,540           Michael Stiefel
                         Jefferson Hospital for Neuroscience                                  Philadelphia, PA      356,100           394,800          Luis Gonzalez, Pascal Jabbour
                         Cornell U Weill Medical College                                      New York, NY          332,200           25,000
                         Riverside Methodist Hospital                                         Columbus, OH          326,800           159,777
                         Rush University Medical Center                                       Chicago, IL           323,190           237,500          Demetrius Lopes
                         Medical University Hospital Authority                                Charleston, SC        315,200           424,450          Mohammad Chaudry, Raymond Turner
                         St Josephs Hospital and Medical                                      Phoenix, AZ           300,000           172,098          Cameron McDougall
                         Froedtert Hospital                                                   Wauwatosa, WI         276,800           363,731
                         Cleveland Clinic Foundation                                          Cleveland, OH         270,600           384,555
                         Stony Brook University Medical                                       Stony Brook, NY       269,700           195,260          David Fiorella
                                 #:1940




                         Emory University Hospital                                            Atlanta, GA           242,916           339,066
                         St Lukes Health Baylor College                                       Houston, TX           233,500           68,456           Michel Mawad, Peter Kan
                         Washington Hospital Center                                           Washington, DC        232,200           146,800          William Bank, Andrew Stemer
                         Carolinas Medical Center                                             Charlotte, NC         217,000           118,484          Joe Bernard
                         North Shore University Hospital                                      Manhasset, NY         214,300           173,194
                         Bellevue Hospital                                                    New York, NY          188,400           0
                         Swedish Medical Center Cherry Hill                                   Seattle, WA           186,200           215,410
                         Kaiser Sunnyside Medical Center                                      Sunnyside, OR         183,405           157,380          Jeremy Fields
                         Baptist Medical Center                                               Jacksonville, FL      175,875           337,288          Ricardo Hanel
                         Johns Hopkins Hospital                                               Baltimore, MD         169,900           411,900          Alexander Coon
                         Santa Barbara Cottage Hospital                                       Santa Barbara, CA     169,730           182,816
                         Barnes Jewish South Hospital                                         St. Louis, MO         163,900           242,600          Christopher Moran
                         Baptist Health Lexington                                             Lexington, KY         163,800           164,870          Curtis Given
                         VCU Health Systems                                                   Richmond, VA          158,100           113,874          John Reavey-Cantwell
                         Methodist Hospital                                                   Houston, TX           156,900           178,992          Orlando Diaz
                         Duke Hospital North                                                  Durham, NC            152,700           274,976          Luis Gonzalez
                         NY Presbyterian Hospital Columbia                                    New York, NY          150,000           183,760
                                                                                                                           164
                                                                                                                         Exhibit 12
                                                                                 Medtronic Pipeline Customer Hospitals with Quarterly Sales and Associated Proctors
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 142 of 155 Page ID




                                                                                                                    Pipeline Sales    Pipeline Sales
                                                                                                                    Quarter           Quarter
                         Customer Hospital                                                    Location              Ended 4/29/15     Ended 4/29/16    Likely Proctors Associated With Hospital
                         Nebraska Medical Center                                              Omaha, NE             150,000           64,744
                         Montefiore Medical Center Moses                                      Bronx, NY             150,000           0
                         Fort Sanders Regional Medical Center                                 Knoxville, TN         144,500           70,224           Britton Woodward
                         St Marys Hospital                                                    West Palm Beach, FL   141,900           54,416           Ali Malek
                         Lehigh Valley Hospital                                               Allentown, PA         139,200           135,720
                         University Health Care                                               Salt Lake City, UT    135,450           207,535          Philipp Taussky
                         Kaleida Health-Buffalo General                                       Buffalo, NY           135,200           339,700          Adnan Siddiqui, Elad Levy
                         University of Tennessee Hospital                                     Knoxville, TN         131,600           82,248
                         Florida Hospital Apopka                                              Apopka, FL            130,548           24,186
                         Borgess Medical Center                                               Kalamazoo, MI         129,500           155,188
                         Robert Wood Johnson University Hospital                              New Brunswick, NJ     129,000           199,720
                         Hackensack University Medical                                        Hackensack, NJ        129,000           141,600          Ciro Randazzo
                         Greenville Memorial Hospital                                         Greenville, SC        128,000           242,000
                                 #:1941




                         University of Virginia Medical                                       Charlottesville, VA   127,700           150,900          John Gaughen, Avery Evans
                         Mercy San Juan Hospital                                              Carmichael, CA        127,700           0
                         Johns Hopkins Bayview Medical Center                                 Baltimore, MD         127,200           272,300          Alexander Coon
                         UMass Memorial Health Care                                           Worcester, MA         125,000           116,775
                         Beth Israel Deaconess Medical Center                                 Boston, MA            121,000           186,200          Ajit Puri
                         Kaiser Permanente Redwood City                                       Redwood City, CA      120,000           81,609           Amon Liu
                         Baptist Hospital                                                     Miami, FL             118,800           0                Guilherme Dabus, Italo Linfante
                         University of Kentucky Hospital                                      Lexington, KY         115,200           244,386
                         UPMC Presbyterian                                                    Pittsburgh, PA        96,864            150,912
                         Hershey Medical Center                                               Hershey, PA           90,300            228,580          Kevin Cockroft
                         Hartford Hospital                                                    Hartford, CT          87,500            188,760
                         Wellstar Kennestone Hospital                                         Marietta, GA          26,600            327,000
                         UF Health Shands Hospital                                            Gainesville, FL       25,000            291,345          Spiros Blackburn
                         Integris Baptist Medical Center                                      Oklahoma City, OK     14,600            191,720
                         UCSD Medical Center Hillcrest                                        San Diego, CA         12,900            157,056          Arash Khalessi-Hosseini
                         Overlook Medical Center                                              Summit, NJ            12,500            266,100          Ciro Randazzo
                         Metropolitan Hospital                                                Wyoming, MI           12,500            168,807
                                                                                                                           165
                                                                                                                         Exhibit 12
                                                                                 Medtronic Pipeline Customer Hospitals with Quarterly Sales and Associated Proctors
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 143 of 155 Page ID




                                                                                                                    Pipeline Sales    Pipeline Sales
                                                                                                                    Quarter           Quarter
                         Customer Hospital                                                    Location              Ended 4/29/15     Ended 4/29/16 Likely Proctors Associated With Hospital
                         Tampa General Hospital                                               Tampa, FL             12,250            267,857        Peter Sunenshine
                         Florida Hospital Orlando                                             Orlando, FL           11,868            207,812
                         The Ohio State University                                            Columbus, OH          0                 360,000
                         Indiana University Health Methodist                                  Indianapolis, IN      0                 213,700
                         New York Presbyterian Hospital Cornell                               New York, NY          0                 202,160
                         Barrows Neurological Institute                                       Phoenix, AZ           0                 156,547        Cameron McDougall
                         UAB Hospital - Birmingham                                            Birmingham, AL        0                 154,960
                         Hospital names and sales figures were obtained from internal Medtronic documents.
                         Hospital locations are based on public information and geographic territory covered by Medtronic sales personnel responsible for each hospital.
                         Likely proctors associated with each hospital are based on payment information in Exhibit 1 and public information regarding hospital affiliations.
                                 #:1942
                                                                                                                           166
                                                                                                                         Exhibit 12
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 144 of 155 Page ID
                                 #:1943




                       Exhibit 13
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 145 of 155 Page ID
                           Intervent Neurol
                                      #:19442016;5:89–99
                                              DOI: 10.1159/000446503                      © 2016 S. Karger AG, Basel
                                              Received: February 26, 2016                 1664–9737/16/0052–0089$39.50/0
                                              Accepted: April 21, 2016                    www.karger.com/ine
                                              Published online: May 26, 2016




      Original Paper



      Aneurysm Study of Pipeline in an
      Observational Registry (ASPIRe)
      David F. Kallmes 1 Waleed Brinjikji 1 Edoardo Boccardi 2 Elisa Ciceri 3
      Orlando Diaz 4 Rabih Tawk 5 Henry Woo 7 Pascal Jabbour 9
      Felipe Albuquerque 11 Rene Chapot 13 Alain Bonafe 15 Shervin R. Dashti 16
      Josser E. Delgado Almandoz 17 Curtis Given II 18 Michael E. Kelly 19
      DeWitte T. Cross III 21 Gary Duckwiler 22 Nasser Razack 23 Ciaran J. Powers 24
      Sebastian Fischer 14 Demetrius Lopes 25 Mark R. Harrigan 26
      Daniel Huddle 27 Raymond Turner IV 28 Osama O. Zaidat 29 Luc Defreyne 30
      Vitor Mendes Pereira 20 Saruhan Cekirge 31 David Fiorella 8 Ricardo A. Hanel 6
      Pedro Lylyk 32 Cameron McDougall 12 Adnan Siddiqui 10 Istvan Szikora 33
      Elad Levy 10
      1 Department
                      of Radiology, Mayo Clinic, Rochester, Minn., USA; 2 Department of Neuroradiology,
      Niguarda Ca’ Granda Hospital of Milan, and 3 Department of Radiology, Istituto Neurologico
      Carlo Besta, Milan, Italy; 4 Department of Radiology, Houston Methodist Hospital, Houston, Tex.,
      5 Department of Neurosurgery, Mayo Clinic, and 6 Stroke and Cerebrovascular Surgery, Lyerly

      Neurosurgery/Baptist Neurological Institute, Jacksonville, Fla., Departments of Neurosurgery at
      7 Stony Brook University and 8 Cerebrovascular Center, Stony Brook University Medical Center,

      Stony Brook, N.Y., 9 Department of Neurosurgery, Thomas Jefferson University, Philadelphia, Pa.,
      10 Department of Neurosurgery, University at Buffalo Neurosurgery, Buffalo, N.Y., and Departments of
      11 Neurosurgery and 12 Endovascular Neurosurgery, Barrow Neurological Institute, Phoenix, Ariz.,

      USA; 13 Neurointerventional Services, Department of Interventional Neuroradiology, Alfried
      Krupp Hospital, Essen, and 14 Department of Radiology, Klinikum Stuttgart, Stuttgart, Germany;
      15 Department of Radiology, CHU Montpellier, Montpellier, France; 16 Department of Neurosurgery,

      Norton Neuroscience Institute, Norton Healthcare, Louisville, Ky., 17 Department of Radiology,
      Neuroscience Institute, Abbott Northwestern Hospital, Minneapolis, Minn., and 18 Neurointerventional
      Services, Baptist Health Lexington, Lexington, Ky., USA; 19 Division of Neurosurgery, Royal University
      Hospital, University of Saskatchewan, Saskatoon, Sask., and 20 Division of Neuroradiology, Joint
      Department of Medical Imaging and Division of Neurosurgery, Department of Surgery, University
      Health Network and Departments of Medical Imaging and Surgery, University of Toronto, Toronto,
      Ont., Canada; 21 Department of Radiology, Washington University School of Medicine, St. Louis, Mo.,
      22 Department of Neuroradiology, David Geffen School of Medicine at UCLA, Los Angeles, Calif.,
      23 Neurointerventional Associates, P.A., St. Petersburg, Fla., 24 Department of Neurological Surgery, The

      Ohio State University Wexner Medical Center, Columbus, Ohio, 25 Department of Neurological Surgery,
      Rush University Medical Center, Chicago, Ill., 26 Department of Neurosurgery, University of Alabama,
      Birmingham, Ala., 27 Swedish Medical Center/RIA Neurovascular, Englewood, Colo., 28 Department of
      Neurosurgery, Medical University of South Carolina, Charleston, S.C., and 29 Department of
      Neurology, Medical College of Wisconsin/Froedtert Hospital, Milwaukee, Wis., USA; 30 Department of
      Interventional Radiology, Ghent University Hospital, Gent, Belgium; 31 Department of Radiology, Koru
      Hospital and Bayindir Hospitals, Ankara, Turkey; 32 Department of Neurosurgery, Clinica La Sagrada
      Familia, ENERI, Buenos Aires, Argentina; 33 Department of Neurointerventional Services, National
      Institute of Clinical Neurosciences, Budapest , Hungary




                                              Waleed Brinjikji, MD
                                              Department of Radiology, Mayo Clinic
                                              200 1st Street SW
                                              Rochester, MN 55905 (USA)
                                              E-Mail Brinjikji.waleed @ mayo.edu
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 146 of 155 Page90ID
                           Intervent Neurol 2016;5:89–99
                                        #:1945
                                        DOI: 10.1159/000446503                            © 2016 S. Karger AG, Basel
                                                                                          www.karger.com/ine
                                        Kallmes et al.: Aneurysm Study of Pipeline in an Observational Registry (ASPIRe)



       Key Words
       Intracranial aneurysm · Flow diverter · Neurological morbidity and mortality

       Abstract
       Background and Objective: Few prospective studies exist evaluating the safety and efficacy
       of the Pipeline Embolization Device (PED) in the treatment of intracranial aneurysms. The An-
       eurysm Study of Pipeline In an observational Registry (ASPIRe) study prospectively analyzed
       rates of complete aneurysm occlusion and neurologic adverse events following PED treatment
       of intracranial aneurysms. Materials and Methods: We performed a multicenter study pro-
       spectively evaluating patients with unruptured intracranial aneurysms treated with PED. Pri-
       mary outcomes included (1) spontaneous rupture of the Pipeline-treated aneurysm; (2) spon-
       taneous nonaneurysmal intracranial hemorrhage (ICH); (3) acute ischemic stroke; (4) parent
       artery stenosis, and (5) permanent cranial neuropathy. Secondary endpoints were (1) treatment
       success and (2) morbidity and mortality at the 6-month follow-up. Vascular imaging was eval-
       uated at an independent core laboratory. Results: One hundred and ninety-one patients with
       207 treated aneurysms were included in this registry. The mean aneurysm size was 14.5 ± 6.9
       mm, and the median imaging follow-up was 7.8 months. Twenty-four aneurysms (11.6%) were
       small, 162 (78.3%) were large and 21 (10.1%) were giant. The median clinical follow-up time was
       6.2 months. The neurological morbidity rate was 6.8% (13/191), and the neurological mortal-
       ity rate was 1.6% (3/191). The combined neurological morbidity/mortality rate was 6.8%
       (13/191). The most common adverse events were ischemic stroke (4.7%, 9/191) and spontane-
       ous ICH (3.7%, 7/191). The complete occlusion rate at the last follow-up was 74.8% (77/103).
       Conclusions: Our prospective postmarket study confirms that PED treatment of aneurysms in
       a heterogeneous patient population is safe with low rates of neurological morbidity and mor-
       tality. Patients with angiographic follow-up had complete occlusion rates of 75% at 8 months.
                                                                                                   © 2016 S. Karger AG, Basel




           Introduction

            Treatment of intracranial aneurysms with the Pipeline Embolization Device (PED) is
       widely accepted as an excellent option for the treatment of intracranial aneurysms [1–4].
       Flow diverter devices such as the PED were initially developed for the treatment of wide-
       necked and large and giant aneurysms, aneurysms which are typically difficult to treat with
       endosaccular coiling. High rates of complete aneurysm occlusion have been reported in a
       number of studies, even in large and giant aneurysms [1–7].
            Important questions remain regarding the safety and efficacy of flow diverter therapy.
       Even though numerous previous studies have reported overall rates of adverse events similar
       to those of other endovascular procedures, several studies documenting severe and ‘unex-
       pected’ adverse events such as spontaneous intraparenchymal hemorrhage, spontaneous
       aneurysm rupture and postoperative strokes have raised questions about the safety of these
       devices [1, 3, 8–13].
            The majority of existing literature on flow diversion therapy is comprised of single-center
       retrospective or prospective case series. Such literature has substantial biases, including
       selection and publication biases, which may affect apparent rates of angiographic occlusion
       and severe, unexpected adverse events. These biases may be diminished through the devel-
       opment of a prospective clinical registry. The purpose of the Aneurysm Study of Pipeline In
       an observational Registry (ASPIRe) study was to prospectively determine the rates of
       complete aneurysm occlusion and neurologic adverse events following the treatment of
       intracranial aneurysms with PED and validate results from previous clinical trials.
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 147 of 155 Page91ID
                           Intervent Neurol 2016;5:89–99
                                        #:1946
                                             DOI: 10.1159/000446503                            © 2016 S. Karger AG, Basel
                                                                                               www.karger.com/ine
                                             Kallmes et al.: Aneurysm Study of Pipeline in an Observational Registry (ASPIRe)



            Materials and Methods

            Study Design and Participants
            ASPIRe is a prospective, single-arm, multi-center postmarket registry of patients undergoing PED
       treatment of intracranial aneurysms. We prospectively evaluated all patients who were consented and
       treated with PED over a 3-year period in 28 centers in 7 countries experienced in PED use. Physicians who
       contributed data to this study were neurointerventionalists trained in endovascular techniques. As this was
       a multicenter registry, the following items varied across centers: selection of patients eligible for the
       treatment with the PED versus other treatment modalities, procedural details and periprocedural patient
       management. All centers used a common study protocol, which specified the data to be collected, study
       endpoints, events of interest and statistical analysis.
            Patients were eligible for enrollment in the study if they: (1) consented to being included in the registry;
       (2) met the requirements for PED treatment per the instructions for use approved for the country in which
       they were treated, and (3) were willing and able to comply with follow-up visits. Patients were excluded if
       they (1) had an active bacterial infection; (2) had a contraindication to dual antiplatelet therapy or did not
       receive preoperative dual antiplatelet therapy; (3) had a preexisting stent in the parent artery at the target
       aneurysm location; (4) had a severe pre- or postaneurysmal narrowing, or (5) if the target aneurysm was
       acutely ruptured.

            Data Collection and Outcomes
            The baseline characteristics studied included medical history, demographic characteristics, presenting
       aneurysm location/size/type/rupture status, prior aneurysm treatment, concomitant medication use and
       presurgical imaging data. The operative characteristics studied included number and size of PEDs used, how
       PEDs were used (overlapping, multiple layers, etc.), side branch coverage, concomitant coiling, procedure
       duration and use of ancillary devices.
            The primary study endpoint was comprised of the following: (1) spontaneous rupture of the Pipeline-
       treated aneurysm; (2) spontaneous nonaneurysmal intracranial hemorrhage (ICH) ipsilateral or contra-
       lateral to the treated aneurysm; (3) acute ischemic stroke; (4) symptomatic or asymptomatic parent artery
       stenosis, and (5) permanent cranial neuropathy. The secondary endpoints were (1) treatment success
       defined as complete occlusion of the Pipeline-treated aneurysm at the last follow-up and (2) morbidity and
       mortality at the 6-month follow-up. All vascular imaging was evaluated at an independent core laboratory
       for assessment of aneurysm occlusion and parent artery stenosis. Aneurysm occlusion was assessed using
       the scale of Roy and Raymond.
            All adverse events were collected using a standard case report form. An adverse event was defined as
       any decline of the patient’s baseline neurological status. Adverse events were defined as minor if the clinical
       sequelae of the complication resolved within 7 days and as major if the patient experienced a clinical deficit
       for >7 days. The relationship of the primary-endpoint adverse events and deaths to the procedure and device
       was established by an independent Clinical Events Committee.
            Clinical and imaging follow-up time points were at the discretion of the operator. Clinical follow-up
       intervals were defined as follows: (1) baseline (before surgery); (2) surgery (at the time of surgery); (3) soon
       after surgery (up to 30 days after the procedure); (4) long after surgery (31–100 days after the procedure);
       (5) mid-term follow-up (101–250 days after the procedure), and (6) long-term follow-up (250 days or
       longer). Imaging follow-up intervals were defined as follows: 6 months (–20/+42 days after the procedure)
       and 1 year (±42 days after the procedure).

            Loss to Follow-Up and Subject Withdrawal
            Subjects were considered lost to follow-up if they could not be reached after 3 attempts to contact the
       subjects at least 1 week apart. The final documented attempt was to be made with a registered letter. All
       enrolled subjects had the right to withdraw their consent. All data up to the time of withdrawal could be used
       for analysis. Any patients with a protocol deviation in data reporting, inclusion/exclusion criteria and
       informed consent were to be excluded from the analysis. No patients were excluded from our study due to
       protocol deviations as there were no inclusion/exclusion criteria violations and all informed consent devia-
       tions were minor and administrative in nature.
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 148 of 155 Page92ID
                           Intervent Neurol 2016;5:89–99
                                        #:1947
                                            DOI: 10.1159/000446503                            © 2016 S. Karger AG, Basel
                                                                                              www.karger.com/ine
                                            Kallmes et al.: Aneurysm Study of Pipeline in an Observational Registry (ASPIRe)



       Table 1. Patient characteristics
                                            Age, years
                                               Mean ± SD                                                59.9 ± 12.5 (191)
                                               Median (min, max)                                        60.0 (25.0, 89.0)
                                            Gender
                                               Male                                                     16.2 (31/191)
                                               Female                                                   83.8 (160/191)
                                            Race
                                               White                                                    86.7 (157/181)
                                               Black or African American                                 7.2 (13/181)
                                               Asian                                                     1.7 (3/181)
                                               American Indian or Alaska Native                          0.6 (1/181)
                                               Native Hawaiian or other Pacific Islander                 0.6 (1/181)
                                               Other                                                     3.3 (6/181)
                                            Ethnicity
                                               Hispanic or Latino                                       17.5 (28/160)
                                            Hypertension
                                               Yes                                                      53.9 (103/191)
                                                  Controlled                                            93.2 (96/103)
                                               No                                                       41.9 (80/191)
                                               Unknown                                                   4.2 (8/191)
                                            Current or previous smoker                                  43.7 (80/183)

                                            Values are expressed as percentages with numbers in parentheses,
                                            unless otherwise indicated.




             Statistical Analysis
             All statistical analyses were performed using Statistical Analysis System (SAS) for Windows (version
       9.2; SAS Institute Inc. Cary, N.C., USA). In general, data for all study subjects combined are presented. Data
       analysis is based on the subject level, except for aneurysm characteristics, which were based on the number
       of aneurysms.
             Descriptive statistics are used to present the data and to summarize the results. Discrete variables are
       presented using frequency distributions and cross tabulations. Continuous variables are summarized by
       presenting the number of observations, mean, standard deviation, median, minimum and maximum values.

             Statement of Ethics
             Local institutional review boards or ethics committees approved the study and the use of the patients’
       data. Written informed consent was obtained from all study participants using a form approved by the local
       institutional review board or ethics committee.



            Results

            Baseline Patient and Aneurysm Characteristics
            A total of 191 patients with 207 treated aneurysms were included in this registry. No
       patients were lost to clinical follow-up. The mean patient age was 59.9 ± 12.5 years. 160
       patients (83.8%) were female. Hypertension was present in 53.9% (103/191 patients), and
       43.7% (80/183 patients) were current or previous smokers. The mean aneurysm size was
       14.5 ± 6.9 mm (range 0.9–41.0). Twenty-four aneurysms (11.6%) were small, 162 (78.3%)
       were large and 21 (10.1%) were giant. The mean aneurysm neck size was 7.1 ± 4.2 mm. 81.6%
       of the aneurysms (169/207) were saccular. In terms of aneurysm location, 95.2% (197/207)
       were located in the anterior circulation, with 89.4% (185/207) located on the internal carotid
       artery (ICA; 185/207). All treated aneurysms were unruptured. Median clinical follow-up
       time was 6.2 months (range 0.0–27.2). These data are summarized in tables 1 and 2.
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 149 of 155 Page93ID
                           Intervent Neurol 2016;5:89–99
                                        #:1948
                                      DOI: 10.1159/000446503                            © 2016 S. Karger AG, Basel
                                                                                        www.karger.com/ine
                                      Kallmes et al.: Aneurysm Study of Pipeline in an Observational Registry (ASPIRe)



       Table 2. Aneurysm
       characteristics                Aneurysm size, mm
                                        Mean ± SD                                           14.5 ± 6.9 (207)
                                        Median (min, max)                                   12.0 (0.9, 41.0)
                                      Aneurysm neck, mm
                                        Mean ± SD                                            7.1 ± 4.2
                                        Median (min, max)                                    6.0 (0.0, 32.0)
                                      Aneurysm size
                                        Small                                               11.6 (24/207)
                                        Large                                               78.3 (162/207)
                                        Giant                                               10.1 (21/207)
                                      Aneurysm type
                                        Saccular                                            81.6 (169/207)
                                        Fusiform                                            15.5 (32/207)
                                        Dissecting                                           2.9 (6/207)
                                      Aneurysm side
                                        Left                                                54.1 (112/207)
                                        Midline                                              5.3 (11/207)
                                        Right                                               40.6 (84/207)
                                      Aneurysm location
                                        ICA                                                 90.8 (188/207)
                                        Anterior cerebral artery                             0.5 (1/207)
                                        Middle cerebral artery                               1.4 (3/207)
                                        Posterior cerebral artery                            0.5 (1/207)
                                        Basilar artery                                       2.9 (6/207)
                                        Vertebral artery                                     1.4 (3/207)
                                        Anterior communicating artery                        2.4 (5/207)
                                      Aneurysm status
                                        Ruptured                                            0.0 (0/207)
                                        Unruptured                                        100.0 (207/207)

                                      Values are expressed as percentages with numbers in parentheses,
                                      unless otherwise indicated.




           Procedure Characteristics
           Mean procedure time was 112.9 ± 54.9 min. 97.9% of the patients (187/191) were on
       anticoagulation/antiplatelet therapy. 66.5% of the patients (127/191) were treated with the
       PED alone. In 18.8% of the cases (39/207), multiple PEDs were used. Side branches were
       covered by the PED in 50.7% of the cases (104/205). Immediate post-treatment angiograms
       evaluated by the core laboratory demonstrated residual filling of the aneurysm in 86.9% of
       the cases (166/191) and a neck remnant in 8.4% of the cases (16/191). These data are
       summarized in table 3.

           Clinical and Imaging Outcomes
           Major adverse events occurred in 6.8% of the patients (13/191), and minor adverse
       events occurred in 4.7% of the patients (9/191). Thirteen patients with major adverse events
       suffered neurological morbidity, 3 of whom suffered neurological mortality. Thus, the
       6-month major neurological morbidity rate was 6.8% (13/191), the neurological mortality
       rate was 1.6% (3/191) and the combined neurological morbidity/mortality rate was 6.8%
       (13/191). There were no additional cases of neurological morbidity and mortality beyond 6
       months. In patients with saccular aneurysms (excluding dissecting and fusiform aneurysms),
       the neurological morbidity and mortality rate was 5.8% (9/156), and in patients with
       dissecting or fusiform aneurysms, the neurological morbidity and mortality rate was 10.8%
       (4/37).
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 150 of 155 Page94ID
                           Intervent Neurol 2016;5:89–99
                                        #:1949
                                        DOI: 10.1159/000446503                            © 2016 S. Karger AG, Basel
                                                                                          www.karger.com/ine
                                        Kallmes et al.: Aneurysm Study of Pipeline in an Observational Registry (ASPIRe)



       Table 3. Procedure
       characteristics                  Procedure time, min
                                            Mean ± SD                                               112.9 ± 54.9 (190)
                                            Median (min, max)                                       107.0 (0.0, 369.0)
                                        Anticoagulation/antiplatelet therapy                         97.9 (187/191)
                                        Platelet aggregation assay                                   61.3 (117/191)
                                        Heparin during procedure                                     87.4 (167/191)
                                        If yes, was heparin reversed?                                16.2 (27/167)
                                        Intraoperative imaging
                                            Magnetic resonance angiography                             2.1 (4/191)
                                            Magnetic resonance imaging                                 2.1 (4/191)
                                            Computed tomography                                        9.4 (18/191)
                                            Computed tomography angiography                           12.0 (23/191)
                                            Angiogram                                                 98.4 (188/191)
                                            Other                                                      6.3 (12/191)
                                        Level of occlusion (Core Laboratory reported)
                                            100% occlusion                                             1.0 (2/191)
                                            Neck remnant                                               8.4 (16/191)
                                            Residual filling                                          86.9 (166/191)
                                            Indeterminate or not available                             3.7 (7/191)
                                        Device characteristics
                                        Type of treatment
                                           PED alone                                                  66.5 (127/191)
                                           PED with coils                                             17.3 (33/191)
                                           PED with balloons                                          10.5(20/191)
                                           Other                                                       5.8 (11/191)
                                        Number of PEDs utilized
                                           Mean ± SD                                                   1.2 ± 0.6 (207)
                                           Median (min, max)                                           1.0 (0.0, 5.0)
                                           Multiple PEDs utilized                                     18.8 (39/207)
                                           Multiple PEDs preplanned                                    6.4 (13/202)
                                        Multiple PEDs, method of use
                                           Additional length                                          35.9 (14/39)
                                           Multiple layers                                            51.3 (20/39)
                                           Stabilization                                              12.8 (5/39)
                                           Entire neck covered by PEDs                                94.2 (194/206)
                                           Side branch covered by PEDs                                50.7 (104/205)
                                        Size of side branch from aneurysm sac, mm
                                           Mean ± SD                                                   0.9 ± 0.6 (70)
                                           Median (min, max)                                           1.0 (0.0, 3.0)

                                           Values are expressed as percentages with numbers in parentheses,
                                        unless otherwise indicated.




            The most common adverse event was ischemic stroke, which occurred in 4.7% of the
       patients (9/191) with stroke, resulting in major morbidity in only 1.6% of the patients (3/191).
       The timing of ischemic stroke was surgical/early postoperative in 7 patients, late postoperative
       in 2 patients, and during mid-term follow-up in 1 patient. The time range for acute ischemic
       stroke was 0–238 days after the procedure. One patient suffered two ischemic strokes. The
       acute ischemic stroke rate was 0% (0/10) in subjects with aneurysms in the posterior circu-
       lation and 1.7% (3/181) in subjects with aneurysms in the anterior circulation (p = 1.00).
            Spontaneous ICH occurred in 3.7% of the patients (7/191). There were a total of nine
       ICHs in these 7 patients. ICH resulted in major morbidity in all 7 patients. The timing of ICH
       ranged from 0–103 days and was in the surgical/early postoperative period for 7 events in 6
       patients, in the late postoperative period for 1 event in 1 patient and during mid-term follow-
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 151 of 155 Page95ID
                           Intervent Neurol 2016;5:89–99
                                        #:1950
                                             DOI: 10.1159/000446503                            © 2016 S. Karger AG, Basel
                                                                                               www.karger.com/ine
                                             Kallmes et al.: Aneurysm Study of Pipeline in an Observational Registry (ASPIRe)



       Table 4. Adverse events

       Adverse events of interest                                Major                              Minor

       Ischemic stroke                                           1.6 (3/191)                        3.1 (6/191)
       ICH                                                       3.7 (7/191)                        0.0 (0/191)
          Ipsilateral ICH                                        3.1 (6/191)                        0.0 (0/191)
          Contralateral ICH                                      0.5 (1/191)                        0.0 (0/191)
       Asymptomatic parent artery stenosis                       0.0 (0/191)                        1.6 (3/191)
       Symptomatic parent artery stenosis                        0.0 (0/191)                        0.0 (0/191)
       Spontaneous rupture                                       1.6 (3/191)                        0.0 (0/191)
       Permanent cranial neuropathy                              0.0 (0/191)                        0.0 (0/191)
       Total events, n                                           15                                   9
       Total subjects                                            6.8 (13/191)                       4.7 (9/191)

          Values are presented as percentages with numbers in parentheses. Percentages are reported on a
       per-patient basis. There were a total of 9 ICHs in 7 subjects: 1 subject experienced two major ICHs on different
       days; 1 subject had two ICHs, one was major and one could not be categorized as ‘major’ or ‘minor’.




       Table 5. Timing of major adverse events

       Major adverse events of interest          <3 days               3 – 30 days          >30 days             Total

       Ischemic stroke                           1.0 (2/191)           0.5 (1/191)            0 (0/191)          1.6 (3/191)
       ICH                                       2.6 (5/191)           0.5 (1/191)          0.5 (1/191)          3.7 (7/191)
       Asymptomatic parent artery stenosis       0.0 (0/191)           0.0 (0/191)          0.0 (0/191)          0.0 (0/191)
       Symptomatic parent artery stenosis        0.0 (0/191)           0.0 (0/191)          0.0 (0/191)          0.0 (0/191)
       Spontaneous rupture                       0.5 (1/191)           1.0 (2/191)            0 (0/191)          1.6 (3/191)
       Permanent cranial neuropathy              0.0 (0/191)           0.0 (0/191)          0.0 (0/191)          0.0 (0/191)
       Neurologic morbidity                      4.2 (8/191)           2.1 (4/191)          0.5 (1/191)          6.8 (13/191)
       Neurologic mortality                        0 (0/191)           1.0 (2/191)          0.5 (1/191)          1.6 (3/191)
       Neurologic morbidity and mortality        4.2 (8/191)           2.1 (4/191)          0.5 (1/191)          6.8 (13/191)

       Values are expressed as percentages with numbers in parentheses.




       up for 1 event in the same patient. Among the 7 subjects with ICH, 6 had hemorrhage occurring
       ipsilateral to the PED, and 1 had a contralateral hemorrhage. Spontaneous rupture occurred
       in 1.6% of the patients (3/191), resulting in major morbidity in all cases. All cases of sponta-
       neous rupture occurred within 4 days of the procedure. One of these patients was concomi-
       tantly coiled, and none were previously coiled.
            There were 3 cases of minor asymptomatic parent artery stenosis (1.6%) and no cases of
       permanent cranial neuropathy (0.0%). Twenty-one of the 25 primary adverse events (84%)
       were determined to be device- or procedure-related by the Clinical Events Committee. These
       data are summarized in tables 4 and 5.
            There were no statistically significant differences in the rates of acute ischemic stroke,
       ICH or spontaneous aneurysm rupture between subjects who underwent different technical
       aspects of the procedure including: use of single or multiple PEDs, whether side branches
       were covered, whether the entire neck of the aneurysm was covered and whether the PED
       landed in the intended location. There were significant differences in the rates of acute
       ischemic stroke, spontaneous aneurysm rupture and neurological death based on aneurysm
       size. Subjects with giant aneurysms (≥25 mm) had significantly higher rates of acute ischemic
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 152 of 155 Page96ID
                           Intervent Neurol 2016;5:89–99
                                        #:1951
                                       DOI: 10.1159/000446503                            © 2016 S. Karger AG, Basel
                                                                                         www.karger.com/ine
                                       Kallmes et al.: Aneurysm Study of Pipeline in an Observational Registry (ASPIRe)



       stroke (p = 0.03), spontaneous aneurysm rupture (p = 0.03) and neurological death (p = 0.03)
       compared to subjects with small and large aneurysms. There was no significant difference in
       the rate of ICH between subjects with giant aneurysms and those with small and large aneu-
       rysms. Further, there was no significant difference in the rates of acute ischemic stroke, ICH,
       spontaneous aneurysm rupture or neurological death between subjects with small aneu-
       rysms and those with large aneurysms.
            Imaging follow-up of at least 6 months was obtained in 103 subjects (54%). The complete
       occlusion rate at the last follow-up, which occurred at a median time of 7.8 months (mean 9.7
       ± 4.2) after the procedure, was 74.8% (77/103). Among patients who had their last imaging
       follow-up at 6 months, the complete occlusion rate was 78.6% (33/42), and among patients
       who had their last imaging follow-up at 1 year, the complete occlusion rate was 79.0%
       (15/19). Eleven (5.8%) patients required retreatment.


           Discussion

            Our study demonstrated that the treatment of unruptured intracranial aneurysms with
       the PED in a broad postmarket setting is safe. The complete occlusion rates were nearly 75%
       for patients with angiographic follow-up, with a median of 7.8 months of follow-up. Major
       adverse events occurred in <7% of the patients with ICH, and the stroke rates were <4 and
       2%. Spontaneous rupture was rare, occurring in 1.6% of the patients. Approximately 80% of
       the major adverse events, particularly hemorrhages and spontaneous ruptures, occurred in
       the early postoperative period. These findings are important as they provide further data
       regarding the incidence of severe adverse events associated with flow diversion in a real-
       world setting with a broad range of aneurysm sizes and locations.
            Our safety findings corroborate the findings of other large multicenter studies and meta-
       analyses including the International Retrospective Study of Pipeline Embolization Device
       registry (IntrePED) and the Pipeline for Uncoilable or Failed Aneurysms study (PUFS) [13,
       14]. Long-term neurological morbidity and mortality rates were 8.4% in the IntrePED and
       5.6% in the PUFS compared to 6.8% in our study. When patients with ruptured, dissecting or
       fusiform aneurysms were excluded in IntrePED, the overall neurological morbidity and
       mortality rate in IntrePED dropped down to 5.7%, similar to our study [13]. Two large meta-
       analyses of flow diverter treatment demonstrated morbidity rates of 5.0–7.3% and mortality
       rates of 2.8–4.0% [1, 3].
            The rate of spontaneous rupture was slightly higher in our study when compared to
       IntrePED (1.6 vs. 0.6%) but was substantially lower than the 3% rate reported in the meta-
       analysis performed by Brinjikji et al. [3]. Similar to our study, PUFS reported a spontaneous
       aneurysm rupture rate of 1.9% [14]. The rate of ICH in ASPIRe was slightly higher than the rate
       in IntrePED (3.7 vs. 2.5%) but lower than that reported in PUFS (4.7%). Similar to both PUFS
       and IntrePED, a majority of spontaneous ICHs occurred in the early postoperative period.
            Nearly 75% of the aneurysms in our study were large aneurysms of the ICA. Prior studies
       have demonstrated high angiographic cure rates when treating large ICA aneurysms with
       flow diverters such as the PED. Complete occlusion rates in studies reporting 6-to-12-month
       follow-ups typically range from 70 to 93% [14–19]. One large meta-analysis of nearly 1,500
       patients with 1,700 aneurysms treated with flow diverters found complete occlusion rates of
       76% at the last follow-up. One series of 38 aneurysms with medium-term follow-up reported
       complete occlusion of all 27 ICA aneurysms by 18 months with progressively increased
       occlusion between 3–18 months of follow-up [20]. In their study of 251 large and giant aneu-
       rysms undergoing PED treatment, Saatci et al. [21] reported a 91.2% complete occlusion rate
       at 6 months and a 94.6% complete occlusion rate at 1–2 years after the treatment.
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 153 of 155 Page97ID
                           Intervent Neurol 2016;5:89–99
                                        #:1952
                                         DOI: 10.1159/000446503                            © 2016 S. Karger AG, Basel
                                                                                           www.karger.com/ine
                                         Kallmes et al.: Aneurysm Study of Pipeline in an Observational Registry (ASPIRe)



            Other endovascular treatments available for the treatment of wide-necked large and
       giant ICA aneurysms include stent-assisted endosaccular coiling as well as endovascular
       parent artery occlusion (PAO). In a series of 56 consecutive patients receiving PAO for the
       treatment of large/giant aneurysms of the carotid siphon, Labeyrie et al. [22] demonstrated
       an aneurysm retraction rate of 91% and a procedure-related permanent morbidity rate of
       5%. Twenty-six percent of the patients in the Labeyrie series [22] suffered ischemic events,
       with symptoms resolving in most patients. Other series report ischemic stroke rates of 5–15%
       for PAO of ICA aneurysms with permanent occlusion rates of 90–100% [23–25]. While the
       rates of permanent aneurysm occlusion and procedure-related morbidity rates in the above
       series are similar to those of large and giant aneurysms in PUFS, it is important to emphasize
       that PAO techniques can only be used in patients who can tolerate occlusion of the carotid
       artery. By preserving parent artery flow, flow diverters such as the PED can be used in the
       treatment of patients in both the presence and absence of collateral flow [22].
            Like flow diverter treatment, endosaccular and stent-assisted coiling allow for preser-
       vation of the parent artery flow. However, one major disadvantage of endosaccular coiling is
       the high rates of recanalization, especially when stent assistance is not used. In our study,
       there was a low rate of retreatment. In a meta-analysis of treatment of cavernous carotid
       artery aneurysms with endosaccular coiling and PAO, Turfe et al. [26] found long-term
       aneurysm complete occlusion rates of just 45.0% with non-stent-assisted endosaccular
       coiling and retreatment rates of 20.0%. Stent-assisted coiling resulted in a 56.0% complete
       occlusion rate and a retreatment rate of 22% [26]. Procedure-related morbidity and mortality
       were <5% for patients undergoing coiling. A meta-analysis of patients undergoing stent-
       assisted coiling versus coiling only found that stent-assisted coiling recurrence rates were
       16.2% compared to 34.4% in non-stent-assisted coiling. Complication rates were not negli-
       gible with mortality rates ranging from 3–9% and permanent morbidity rates ranging from
       4–6% [27]. In a series of over 150 large and giant ICA aneurysms treated with coil emboli-
       zation, Chalouhi et al. [28] noted a 12% complication rate with recurrence and retreatment
       rates >30%. D’Urso et al. [29] demonstrated a complete occlusion rate of just 62% for ICA
       aneurysms treated with coil embolization and a 5% complication rate. When compared to the
       results of the PUFS trial, it is clear that despite their ability to preserve parent artery flow and
       low complication rates, coiling techniques with and without stent assistance have lower rates
       of angiographic occlusion and higher rates of recurrence and retreatment when compared to
       PED placement alone [14].

            Limitations
            Our study has limitations. This study was a prospective multicenter registry in which
       sites followed their standard of practice for treating aneurysms with PED and there was a
       wide range of treatment regimens (i.e. platelet testing and antiplatelet therapy) between
       centers. However, all study adverse events collected were prespecified and evaluated by an
       independent Clinical Events Committee to maintain consistency. As study eligibility was
       limited to the approved indication in the country of treatment, this registry did not capture
       use of the PED in patients treated off-label. Another potential limitation of this study is the
       fact that the indications for treatment varied from country to country, which can result in a
       degree of selection bias. Although there was a core laboratory for standardization of image
       reads, there was no protocol regarding the minimum angiographic follow-up as this was left
       to the discretion of the operator. Thus, there is substantial heterogeneity in the timing of the
       last imaging follow-ups with just over 50% of the patients having angiographic imaging
       follow-up at 6 months or later, thus limiting our evaluation of occlusion outcomes. However,
       unlike many other previously published studies, all patients included in our study had clinical
       follow-up, and no patients were lost to follow-up.
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 154 of 155 Page98ID
                           Intervent Neurol 2016;5:89–99
                                        #:1953
                                                DOI: 10.1159/000446503                            © 2016 S. Karger AG, Basel
                                                                                                  www.karger.com/ine
                                                Kallmes et al.: Aneurysm Study of Pipeline in an Observational Registry (ASPIRe)



            Conclusions

            Our postmarket study of PED treatment of a broad range of intracranial aneurysm sizes
       and locations confirms that the treatment of intracranial aneurysms with the PED is both safe
       and effective with complete occlusion rates of approximately 75% at 7.8 months and low
       rates of neurological morbidity and mortality. The neurological morbidity and mortality rate
       drops further when patients with difficult-to-treat aneurysms (dissecting or fusiform) are
       excluded. These findings should be considered when determining the best therapeutic option
       for intracranial aneurysms.


            Acknowledgments

            This observational registry was funded and supported by Covidien, with scientific oversight of the study
       steering committee members. This study was funded by Medtronic, and D.F.K. receives research funding
       from Medtronic.


            Disclosure Statement

            The authors declare that there are no conflicts of interest to disclose.




            References
        1   Arrese I, Sarabia R, Pintado R, et al: Flow-diverter devices for intracranial aneurysms: systematic review and
            meta-analysis. Neurosurgery 2013;73:193–200.
        2   Briganti F, Napoli M, Tortora F, et al: Italian multicenter experience with flow-diverter devices for intracranial
            unruptured aneurysm treatment with periprocedural complications – a retrospective data analysis. Neurora-
            diology 2012;54:1145–1152.
        3   Brinjikji W, Murad MH, Lanzino G, et al: Endovascular treatment of intracranial aneurysms with flow diverters:
            a meta-analysis. Stroke 2013;44:442–447.
        4   Yu SC, Kwok CK, Cheng PW, et al: Intracranial aneurysms: midterm outcome of pipeline embolization device
            – a prospective study in 143 patients with 178 aneurysms. Radiology 2012;265:893–901.
        5   Chan TT, Chan KY, Pang PK, et al: Pipeline embolisation device for wide-necked internal carotid artery aneu-
            rysms in a hospital in Hong Kong: preliminary experience. Hong Kong Med J 2011;17:398–404.
        6   Cirillo L, Dall’olio M, Princiotta C, et al: The use of flow-diverting stents in the treatment of giant cerebral aneu-
            rysms: preliminary results. Neuroradiol J 2010;23:220–224.
        7   Siddiqui AH, Kan P, Abla AA, et al: Complications after treatment with pipeline embolization for giant distal
            intracranial aneurysms with or without coil embolization. Neurosurgery 2012; 71:E509–E513; discussion
            E13.
        8   Cruz JP, Chow M, O’Kelly C, et al: Delayed ipsilateral parenchymal hemorrhage following flow diversion for the
            treatment of anterior circulation aneurysms. AJNR Am J Neuroradiol 2012;33:603–608.
        9   Pierot L: Flow diverter stents in the treatment of intracranial aneurysms: where are we? J Neuroradiol 2011;
            38:40–46.
       10   Darsaut TE, Rayner-Hartley E, Makoyeva A, et al: Aneurysm rupture after endovascular flow diversion: the
            possible role of persistent flows through the transition zone associated with device deformation. Interv
            Neuroradiol 2013;19:180–185.
       11   Kuzmik GA, Williamson T, Ediriwickrema A, et al: Flow diverters and a tale of two aneurysms. J Neurointerv
            Surg 2013;5:e23.
       12   Turowski B, Macht S, Kulcsar Z, et al: Early fatal hemorrhage after endovascular cerebral aneurysm treatment
            with a flow diverter (SILK-Stent): do we need to rethink our concepts? Neuroradiology 2011;53:37–41.
       13   Kallmes DF, Hanel R, Lopes D, et al: International retrospective study of the pipeline embolization device: a
            multicenter aneurysm treatment study. AJNR Am J Neuroradiol 2015;36:108–115.
       14   Becske T, Kallmes DF, Saatci I, et al: Pipeline for uncoilable or failed aneurysms: results from a multicenter
            clinical trial. Radiology 2013;267:858–868.
       15   Puffer RC, Piano M, Lanzino G, et al: Treatment of cavernous sinus aneurysms with flow diversion: results in
            44 patients. AJNR Am J Neuroradiol 2014;35:948–951.
Case 2:17-cv-01903-ODW-MRW Document 102 Filed 06/29/21 Page 155 of 155 Page99ID
                           Intervent Neurol 2016;5:89–99
                                        #:1954
                                               DOI: 10.1159/000446503                            © 2016 S. Karger AG, Basel
                                                                                                 www.karger.com/ine
                                               Kallmes et al.: Aneurysm Study of Pipeline in an Observational Registry (ASPIRe)



       16   Moon K, Albuquerque FC, Ducruet AF, et al: Resolution of cranial neuropathies following treatment of intra-
            cranial aneurysms with the Pipeline Embolization Device. J Neurosurg 2014;121:1085–1092.
       17   Szikora I, Berentei Z, Kulcsar Z, et al: Treatment of intracranial aneurysms by functional reconstruction of the
            parent artery: the Budapest experience with the pipeline embolization device. AJNR Am J Neuroradiol 2010;
            31:1139–1147.
       18   Lylyk P, Miranda C, Ceratto R, et al: Curative endovascular reconstruction of cerebral aneurysms with the
            pipeline embolization device: the Buenos Aires experience. Neurosurgery 2009; 64: 632–642; discussion
            42–43; quiz N6.
       19   Nelson PK, Lylyk P, Szikora I, et al: The pipeline embolization device for the intracranial treatment of aneu-
            rysms trial. AJNR Am J Neuroradiol 2011;32:34–40.
       20   Briganti F, Napoli M, Leone G, et al: Treatment of intracranial aneurysms by flow diverter devices: long-term
            results from a single center. Eur J Radiol 2014;83:1683–1690.
       21   Saatci I, Yavuz K, Ozer C, et al: Treatment of intracranial aneurysms using the pipeline flow-diverter emboli-
            zation device: a single-center experience with long-term follow-up results. AJNR Am J Neuroradiol 2012;33:
            1436–1446.
       22   Labeyrie MA, Lenck S, Bresson D, et al: Parent artery occlusion in large, giant, or fusiform aneurysms of the
            carotid siphon: clinical and imaging results. AJNR Am J Neuroradiol 2015;36:140–145.
       23   Clarencon F, Bonneville F, Boch AL, et al: Parent artery occlusion is not obsolete in giant aneurysms of the ICA.
            Experience with very-long-term follow-up. Neuroradiology 2011;53:973–982.
       24   van der Schaaf IC, Brilstra EH, et al: Endovascular treatment of aneurysms in the cavernous sinus: a systematic
            review on balloon occlusion of the parent vessel and embolization with coils. Stroke 2002;33:313–318.
       25   van Rooij WJ: Endovascular treatment of cavernous sinus aneurysms. AJNR Am J Neuroradiol 2012;33:323–
            326.
       26   Turfe ZA, Brinjikji W, Murad MH, et al: Endovascular coiling versus parent artery occlusion for treatment of
            cavernous carotid aneurysms: a meta-analysis. J Neurointerv Surg 2015;7:250–255.
       27   Hong Y, Wang YJ, Deng Z, et al: Stent-assisted coiling versus coiling in treatment of intracranial aneurysm: a
            systematic review and meta-analysis. PLoS One 2014;9:e82311.
       28   Chalouhi N, Tjoumakaris S, Gonzalez LF, et al: Coiling of large and giant aneurysms: complications and long-
            term results of 334 cases. AJNR Am J Neuroradiol 2014;35:546–552.
       29   D’Urso PI, Karadeli HH, Kallmes DF, et al: Coiling for paraclinoid aneurysms: time to make way for flow
            diverters? AJNR Am J Neuroradiol 2012;33:1470–1474.
